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                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

LEAGUE OF WOMEN VOTERS
OF FLORIDA, INC., et al.,

              Plaintiffs,

v.                                                 Case No.: 4:21cv186-MW/MAF
                                                             4:21cv187-MW/MAF
LAUREL M. LEE, in her ofﬁcial                                4:21cv201-MW/MJF
capacity as Florida Secretary of                             4:21cv242-MW/MAF
State, et al.,

              Defendants,

and

NATIONAL REPUBLICAN
SENATORIAL COMMITTEE and
REPUBLICAN NATIONAL
COMMITTEE,

          Intervenor-Defendants.
___________________________________/

                 FINAL ORDER FOLLOWING BENCH TRIAL

        This case is about our sacred right to vote—won at great cost in blood and

treasure. 1 Courts have long recognized that, because “the right to exercise the

franchise in a free and unimpaired manner is preservative of other basic civil and



        1
         The current war in Ukraine, in which the Ukrainian people are fighting and dying to
maintain the freedoms we take for granted—namely, the right to have a voice and not to be ruled
by a despot—provides a poignant reminder of both the value and fragility of democracy.
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political rights, any alleged infringement of the right of citizens to vote must be

carefully and meticulously scrutinized.” Reynolds v. Sims, 377 U.S. 533, 561–62

(1964). Applying that maxim, this Court must rule on the legality of Florida Senate

Bill 90—a sweeping package of amendments to the Florida Election Code—that

Plaintiffs challenge under the First, Fourteenth, and Fifteenth Amendments, the

Americans with Disabilities Act (ADA), and the Voting Rights Act (VRA).

       Defendants argue that SB 90 makes minor prophylactic changes to the

election code. Plaintiffs2, on the other hand, allege that SB 90 runs roughshod over

the right to vote, unnecessarily making voting harder for all eligible Floridians,

unduly burdening disabled voters, and intentionally targeting minority voters—all

to improve the electoral prospects of the party in power. This Court has received

thousands of pages of evidence—plus thousands more pages of briefing—and has

heard two weeks’ worth of testimony from 42 witnesses, ranging from state senators

to statisticians.3 Having reviewed all the evidence, this Court finds that, for the most




       2
          This case is really four consolidated cases. When the distinction is material, this Court
refers to the Plaintiffs from Case No. 4:21cv186 as the League Plaintiffs, the Plaintiffs from Case
No. 4:21cv187 as the NAACP Plaintiffs, the Plaintiffs from Case No. 4:21cv201 as the Florida
Rising Plaintiffs, and the Plaintiffs from 4:21cv242 as the HTFF Plaintiffs.
       3
         This Court has worked to issue this Order as expeditiously as possible. Altogether, setting
the thousands of pages of exhibits aside, this Court has considered 3,632 pages of transcripts and
1,224 pages of post-trial briefing and attachments. At the same time, this Court has presided over
a criminal trial and a major multi-week products liability trial. All this to say that this Court
recognizes the urgency of this case and has done its best to issue this Order on an expedited basis.
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part, Plaintiffs are right. Thus, as explained in detail below, this Court enjoins

Defendants from enforcing most of SB 90’s challenged provisions.

      In so ruling, this Court recognizes that the right to vote, and the VRA

particularly, are under siege. See, e.g., Ark. State Conf. NAACP v. Ark. Bd. of

Apportionment, No. 4:21-cv-01239-LPR, 2022 WL 496908, at *2 (E.D. Ark. Feb.

17, 2022) (dismissing a “strong merits case” that Arkansas had, to the detriment of

Black voters, racially gerrymandered seats in the Arkansas House of Representatives

under the theory that no private right of action is available under section 2 of the

VRA); Merrill v. Milligan, 142 S. Ct. 879 (2022) (staying, without explanation, order

enjoining racially gerrymandered congressional maps); Brnovich v. Democratic

Nat’l Comm., 141 S. Ct. 2321, 2351 (2021) (Kagan, J., dissenting) (“Today, the

Court undermines Section 2 [of the VRA] and the right it provides.”); Shelby Cnty.,

Ala. v. Holder, 570 U.S. 529 (2013) (gutting the VRA’s preclearance regime).

      Federal courts must not lose sight of the spirit that spurred the VRA’s passage.

In June 1965, Martin Luther King Jr. wrote a letter to the New York Amsterdam News

urging Congress to pass the VRA. In it, he wrote that “to deny a person the right to

exercise his political freedom at the polls is no less a dastardly act as to deny a

Christian the right to petition God in prayer.” Martin Luther King Jr., Let My People

Vote, The Atlantic, https://tinyurl.com/2sfx63u4 (last visited Mar. 22, 2022). Federal




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courts would not countenance a law denying Christians their sacred right to prayer,

and they should not countenance a law denying Floridians their sacred right to vote.

                                            I

      At the outset, this Court notes that the parties have vastly different views on

how this Court should approach this case. To hear Plaintiffs tell it, Florida wears a

constitutional straitjacket any time it revises its election code. To hear Defendants

tell it, Florida holds a constitutional blank check. Neither is true.

      States enjoy considerable discretion in regulating their elections. Article I of

the Constitution tasks states with enacting laws governing “[t]he Times, Places and

Manner of holding Elections for Senators and Representatives.” U.S. Const. art. I,

§ 4, cl. 1. But the states’ discretion is not limitless. The states must comply with acts

of Congress, such as the VRA. See id. (“[B]ut the Congress may at any time by Law

make or alter such Regulations.”). They must also comply with the Constitution. For

example, election regulations cannot “deny to any person . . . the equal protection of

the laws.” U.S. Const. amend. XIV. And states cannot deny the right to vote based

on race, sex, or failure to pay a tax. U.S. Const. amend. XV, § 1; U.S. Const. amend.

XIX; U.S. Const. amend. XXIV. Nor, for citizens older than 18, can states deny the

right to vote based on age. U.S. Const. amend. XXVI.

      The bottom line is that, when called to examine the Florida Election Code’s

fidelity to federal law, this Court must use a gentle touch, recognizing the State’s

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prerogative to make such laws while also safeguarding the Constitution’s guarantees

to the people of Florida.

      Recognizing this truth, this Court has long deferred to the State when

evaluating its election regulations. See, e.g., Democratic Senatorial Campaign

Comm. v. Detzner, 347 F. Supp. 3d 1033, 1036 (N.D. Fla. 2018) (declining to enjoin

enforcement of Florida’s standards for determining “voter intent when the voter has

not properly filled out their ballot”); Votevets Action Fund v. Detzner, No.

4:18cv524-MW/MJF, 2018 WL 11254567, at *1 (N.D. Fla. Nov. 16, 2018)

(declining to enjoin enforcement of Florida law distinguishing between domestic

and overseas absentee voters); Democratic Senatorial Campaign Comm. v. Detzner,

No. 4:18cv528-MW/CAS, slip op. at 1–6 (N.D. Fla. Nov. 15, 2018) (declining to

enjoin enforcement of laws permitting extension of the election returns reporting

deadline only in an “emergency”); Namphy v. DeSantis, 493 F. Supp. 3d 1130, 1145

(N.D. Fla. 2020) (recognizing “Florida’s interest in preventing chaos” in its elections

and declining to extend voter registration deadline after Florida had taken some steps

to remedy the issue in that case).

      Sometimes, however, Florida goes too far. See, e.g., Fla. Democratic Party v.

Scott, 215 F. Supp. 3d 1250, 1254 (N.D. Fla. 2016) (granting temporary injunction

extending voter registration deadline in the wake of Hurricane Matthew); Madera v.

Detzner, 325 F. Supp. 3d 1269, 1273 (N.D. Fla. 2018) (ordering Florida officials to

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provide language assistance to Puerto Rican voters); League of Women Voters of

Fla., Inc., v. Detzner, 314 F. Supp. 3d 1205, 1210 (N.D. Fla. 2018) (enjoining

categorical bar on early voting on any university or college campus).

      But even then, Florida has often accepted this Court’s ruling and endeavored

to fix the deficiency. See, e.g., Fla. Democratic Party v. Scott, No. 4:16cv626-

MW/CAS, 2016 WL 6080225, at *1 (N.D. Fla. Oct. 12, 2016) (noting that

“Defendants took no position” on the entry of a preliminary injunction further

extending voter registration deadline). Compare also Fla. Democratic Party v.

Detzner, No. 4:16cv607-MW/CAS, 2016 WL 6090943, at *1 (N.D. Fla. Oct. 16,

2016) (enjoining enforcement of § 101.68, Fla. Stat. (2016), which allowed voters

who did not sign an absentee ballot an opportunity to cure but denied that

opportunity to voters whose signature did not match signature on file), with Ch.

2017-45, § 1, at 1–5 (amending § 101.68, Fla. Stat. (2016) to fix the problems

identified by this Court); compare Democratic Exec. Comm. of Fla. v. Detzner, 347

F. Supp. 3d 1017, 1022 (N.D. Fla. 2018) (again holding unconstitutional § 101.68,

Fla. Stat. (2017) as to mismatched signatures on vote-by-mail and provisional

ballots), with Ch. 2019-162, § 8, at 6–10, Laws of Fla. (again amending § 101.68,

Fla. Stat. to fix the problems identified by this Court); compare Namphy, 493 F.

Supp. 3d at 1146 (criticizing Florida’s failure to maintain its online voter registration

system after the system crashed on the last day of registration), with Ch. 2021-11,

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§ 9, at 5, Law of Fla. (requiring “[l]oad testing and stress testing to ensure that the

online voter registration system has sufficient capacity to accommodate foreseeable

use, including [during] . . . the week immediately preceding the book-closing

deadline for an election”).4

       In sum, this Court must scrutinize the challenged laws. But it must also stay

mindful—as it always has—that the question is not whether this Court thinks those

laws are good policy; the question is whether they violate federal law.

                                                 II

       At trial, following the close of Plaintiffs’ evidence, Defendants moved for

judgment on partial findings pursuant to Federal Rule of Civil Procedure 52(c),

arguing that Plaintiffs had failed to set forth sufficient evidence to support their




       4
          All told, I have heard 17 cases related to voting in Florida. I ruled against Florida in six
of those 17 cases. Fla. Democratic Party v. Scott, 2016 WL 6080225, at *1; Fla. Democratic Party
v. Scott, 215 F. Supp. 3d at 1254; Madera, 325 F. Supp. 3d at 1273; League of Women Voters, 314
F. Supp. 3d at 1210; Democratic Exec. Comm. of Fla., 347 F. Supp. 3d at 1022; Jacobson v. Lee,
411 F. Supp. 3d 1249, 1255 (N.D. Fla. 2019). Of those six, Florida appealed two. For one, a
motions panel denied a motion to stay this Court’s order, Democratic Exec. Comm. of Fla. v. Lee,
915 F.3d 1312, 1315 (11th Cir. 2019), and a superseding change in the law then rendered the case
moot, Democratic Exec. Comm. of Fla. v. Nat’l Republican Senatorial Comm., 950 F.3d 790, 792
(11th Cir. 2020). On the other, the Eleventh Circuit reversed. Jacobson v. Fla. Sec’y of State, 974
F.3d 1236, 1241 (11th Cir. 2020). As for the other four, Florida did not appeal and changed the
law to conform with this Court’s orders: Florida gave Puerto Rican voters Spanish-language
ballots, see Fla. Admin. Code R. 1S-2.032, allowed students to vote on campus, did not object to
an emergency extension of the registration deadline after Hurricane Matthew—during which more
than 108,000 people registered to vote, Steven Bousquet, Surge of post-Hurricane Matthew Voters
Breaks 100,000 Mark, Tampa Bay Times (Oct. 24, 2016), https://tinyurl.com/2p8efhd5—and
amended its signature match statute. Of the remaining 11 cases in which this Court ruled for the
state, only one was appealed, and eventually affirmed. Indep. Party of Fla. v. Sec’y, State of Fla.,
967 F.3d 1277, 1279 (11th Cir. 2020).
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claims. After a party has been fully heard on an issue during a bench trial, Rule 52(c)

permits a court to enter judgment on a claim or defense that “can be maintained or

defeated only with a favorable finding on that issue.” Fed. R. Civ. P. 52(c); see also

JDI Holdings, LLC v. Jet Mgmt., Inc., 732 F. Supp. 2d 1205, 1209 (N.D. Fla. 2010).

When facing a Rule 52(c) motion, “the court does not view the evidence in the light

most favorable to the nonmoving party, as it would in passing on a Rule 56 motion

for summary judgment or a Rule 50(a) motion for judgment as a matter of law;

instead, it exercises its role as factfinder.” United States v. $242,484.00, 389 F.3d

1149, 1172 (11th Cir. 2004); see also Chris Berg, Inc. v. Acme Mining Co., 893 F.2d

1235, 1238 n.2 (11th Cir. 1990) (“[T]he court must weigh the evidence and may

consider the witnesses’ credibility.”). Any “judgment on partial findings must be

supported by findings of fact and conclusions of law as required by Rule 52(a), but

the court may “decline to render any judgment until the close of the evidence.” Fed.

R. Civ. P. 52(c). Here, this Court declined to render judgment on the Rule 52(c)

motions until the close of evidence.

      This Court now considers the claims against Defendants. In rendering

judgment following a nonjury trial, Rule 52(a) requires a court to “find the facts

specially and state its conclusions of law separately.” Fed. R. Civ. P. 52(a). “Findings

of fact must be sufficient to allow the reviewing court ‘an opportunity to engage in

meaningful appellate review.’ ” FTC v. On Point Cap. Partners, LLC, 17 F.4th 1066,

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1080 (11th Cir. 2021) (quoting Danley v. Allen, 480 F.3d 1090, 1091 (11th Cir.

2007)). Although Rule 52(a) “requires specific findings of fact, it does not require a

finding on every contention raised by the parties.” Feazell v. Tropicana Prods., Inc.,

819 F.2d 1036, 1042 (11th Cir. 1987). “A ‘judge need only make brief, definite,

pertinent findings and conclusions upon the contested matters; there is no necessity

for overelaboration of detail or particularization of facts.’ ” On Point Cap. Partners,

17 F.4th at 1081 (quoting Stock Equip. Co. v. Tenn. Valley Auth., 906 F.2d 583, 592

(11th Cir. 1990)). “So long as there is ‘sufficient record evidence to support the

findings, [district courts] need not state the evidence or any of the reasoning upon

the evidence.’ ” Id. (alteration in original) (quoting Stock Equip. Co., 906 F.2d at

592).5 Thus, having heard and considered all the testimony, evidence, and arguments




       5
           In conclusory fashion, Supervisor White asserts this Court cannot rely on Plaintiffs’
evidence in their rebuttal case for purposes of making this Court’s findings of fact and conclusions
of law with respect to ruling on the Rule 52 motion. See ECF No. 651 at 12 n.5. Supervisor White
provides no authority to support such a limitation on this Court’s consideration of the trial record
in ruling on the deferred Rule 52 motion, nor does this Court rely on Plaintiffs’ rebuttal evidence
in making its findings and conclusions. Indeed, had this Court considered only the evidence
introduced in Plaintiffs’ case in chief, this Court would have ruled the same. Moreover, this Court
is permitted to defer ruling on the Rule 52 motion and consider the entire trial record in distilling
its findings of fact and conclusions of law. See, e.g., In re Oberdick, 490 B.R. 687, 697 (Bankr.
W.D. Pa. 2013) (deciding Rule 52 motions based on state of the record at close of all evidence and
not on the state of the record as it existed when the motion was originally made); cf. Duval v.
Midwest Auto City, Inc., 578 F.2d 721, 724 (8th Cir. 1978) (“If a defendant, after moving for
involuntary dismissal at the close of the plaintiff’s case, introduces evidence in his own behalf, his
right to a judgment of dismissal is thereby waived.”).

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presented at trial, this Court now enters the following findings of fact and

conclusions of law pursuant to Rule 52(a).6

                                                  III

        First, this Court turns to Plaintiffs’ intentional discrimination claims. The

Florida Rising and NAACP Plaintiffs challenge the vote-by-mail (VBM) request

provision,7 the VBM request identification provision, the drop-box provisions, the


        6
          In so doing, it bears mentioning that this Court’s conclusions of law are subject to de novo
review, but its “findings of fact—including determinations of the credibility of witnesses and
weight of the evidence—will not be set aside unless they are clearly erroneous.” Sidman v.
Travelers Cas. & Sur., 841 F.3d 1197, 1201 (11th Cir. 2016) (quoting Fischer v. S/Y Neraida, 508
F.3d 586, 592 (11th Cir. 2007)). “In a case in which the evidence is largely testimonial, like this
one, the district court has the advantage of observing the witnesses and evaluating their credibility
firsthand . . . .” Id. (quoting Fischer, 508 F.3d at 592). Thus, when “fact findings are based on
credibility determinations [the reviewing court] must give ‘even greater deference to the trial
court’s findings; for only the trial judge can be aware of the variations in demeanor and tone of
voice that bear so heavily on the listener’s understanding of and belief in what is said.’ ” Jemison
v. Simmons, 518 F. App’x 882, 888 (11th Cir. 2013) (quoting Anderson v. City of Bessemer, 470
U.S. 564, 575 (1985)). Accordingly, as the Eleventh Circuit has recognized, “[i]n a bench trial, the
district court judge . . . is itself the finder of fact, and we owe to it the same deference in assessing
the credibility of . . . testimony that we would owe to a jury.” Bellitto v. Snipes, 935 F.3d 1192,
1209 (11th Cir. 2019).
        7
         SB 90’s provisions have gone by many names during this litigation. For example, the
NAACP Plaintiffs refer to section 101.62(1)(a), Florida Statutes, which halves the lifespan of
standing VBM requests, as the vote-by-mail application restrictions. ECF No. 45 ¶ 75c, in Case
No. 4:21cv187. But the Florida Rising Plaintiffs refer to section 101.62(1)(b), Florida Statutes,
which requires identification to request a VBM ballot, as the vote-by-mail application restrictions.
ECF No. 59 ¶ 16, in Case No. 4:21cv201. Accordingly, to avoid confusion, this Court adopts the
terminology used by the parties in the joint pretrial stipulation, ECF No. 402.

        Inexplicably, the State-Level Defendants and Intervenor-Defendants have started calling
the solicitation definition the “safe-space provision” in their post-trial brief, notwithstanding the
parties’ stipulation regarding terminology. This shift in language is not lost on this Court, but this
Court will only note that this sort of gamesmanship is unhelpful. Likewise, Plaintiffs in Case Nos.
4:21cv187 and 4:21cv201 refer to the provision as the “Line Relief Provision” throughout their
joint post-trial brief. Again, for the sake of consistency, this Court refers to the provision according
to the parties’ stipulation.
                                                  10
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registration delivery provision, and the solicitation definition, alleging that the

Legislature enacted them with the intent to discriminate against Black and Latino8

voters. See ECF No. 45 ¶¶ 186–223, in Case No. 4:21cv187; ECF No. 59 ¶¶ 165–

82, in Case No. 4:21cv201.

       Taking the challenged provisions in the order set out above, the VBM request

provision reduces the duration of a voter’s VBM ballot request from two election

cycles to one general election cycle—or put another way, from four years to two

years. § 101.62(1)(a), Fla. Stat. (2021).

       The VBM request identification provision requires any voter seeking to vote

by mail to provide their Florida driver’s license number, Florida identification card

number, or the last four digits of their social security number with their VBM

request. It also requires the Supervisors to verify that the identification number the

voter provides matches the identification number in the county’s voter registration

records. § 101.62(1)(b), Fla. Stat. (2021).

       The drop-box provisions require an employee of each Supervisor of Elections’

office to continuously monitor any secure drop box at the Supervisor’s office when



       8
         This Court uses the terms Hispanic and Latino interchangeably because that is how they
have been used throughout this case. See also Mark Hugo Lopez, Jens Manuel Krogstad, & Jeffrey
S. Passel, Who is Hispanic?, Pew Research Center (Sept. 23, 2021) https://tinyurl.com/55j4prd6
(“The terms ‘Hispanic’ and ‘Latino’ are pan-ethnic terms meant to describe—and summarize—
the population of people living in the U.S. of that ethnic background. In practice, the Census
Bureau most often uses the term ‘Hispanic,’ while Pew Research Center uses the terms ‘Hispanic’
and ‘Latino’ interchangeably when describing this population.”).
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the drop box is accessible for deposit of ballots. They also reduce the availability of

drop boxes outside of early voting hours and impose a $25,000 civil penalty on the

Supervisor if any drop box is left accessible for ballot receipt other than as

authorized. § 101.69, Fla. Stat. (2021).

      The registration delivery provision requires third-party voter registration

organizations (3PVROs) to deliver voter registration applications to the Division of

Elections or the Supervisor of Elections in the county in which the applicant resides

within 14 days after the applicant completes the application, but not after registration

closes for the next election (previously 3PVROs could return applications to any

Supervisor no matter where in Florida the applicant lived). § 97.0575(3)(a), Fla. Stat.

(2021).

      The solicitation definition prohibits anyone from “engaging in any activity

with the intent to influence or effect of influencing a voter” inside a polling place or

within 150 feet of a drop box or the entrance to any polling place. § 102.031(4)(a)–

(b), Fla. Stat. (2021). The solicitation definition can be read to prohibit “line

warming” activities. Line warming refers generally to the non-partisan provision of

aid to voters waiting in line to vote, such as giving out water, fans, snacks, chairs,

ponchos, and umbrellas. Tr. at 1954–55.

      Other provisions—though not challenged as discriminatorily motivated—are

also relevant to Plaintiffs’ claims. For example, the registration disclaimer provision

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works alongside the registration delivery provision by requiring 3PVROs to deliver

a set of state-mandated warnings every time they collect a registration application.

§ 97.0575(3)(a), Fla. Stat. (2021). Thus, this Court considers this provision below as

well.9

                                                 A

         Before this Court addresses Plaintiffs’ claims, it must ensure that Plaintiffs

have standing to challenge each of the provisions. See CAMP Legal Def. Fund, Inc.

v. City of Atlanta, 451 F.3d 1257, 1273 (11th Cir. 2006) (emphasizing that courts

have an “independent obligation . . . to ensure a case or controversy exists as to each

challenged provision”). 10 The standing requirement is satisfied as long as a single

plaintiff has standing. Rumsfeld v. FAIR, 547 U.S. 47, 53 (2006) (“[T]he presence of

one party with standing is sufficient to satisfy Article III’s case-or-controversy

requirement.”). But in applying that principle, this Court must evaluate each



         9
         This Court recognizes that, at the time of this writing, new legislation amending Florida’s
Election Code to remove this compelled speech requirement awaits Governor DeSantis’s
signature.
         10
          This Court imposed no page limit on the parties’ post-trial briefing. Yet Defendants
devote only about six and a half pages to applying the law of standing to the facts of this case. See
ECF No. 648 at 47–53. Worse still, Defendants do not specifically discuss any Plaintiff, asserting
broadly that Plaintiffs have not carried their burden to establish standing and offering only
generalized reasons why that is so. Id. Based on past experience, this Court harbors little doubt
that Defendants will crystalize their standing arguments before the Eleventh Circuit—likely into a
form never addressed by this Court. And it is no answer to say that this Court has repeatedly
rejected Defendants’ standing arguments; this Court has proven itself more than willing to dismiss
claims and parties for lack of standing, as evidenced by this Court’s rulings on the motions to
dismiss. See, e.g., ECF No. 274 at 24.
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consolidated case separately. See Hall v. Hall, 138 S. Ct. 1118, 1127–29 (2018)

(“[C]onsolidation is permitted as a matter of convenience and economy in

administration, but does not merge the suits into a single cause, or change the rights

of the parties, or make those who are parties in one suit parties in another.” (quoting

Johnson v. Manhattan Ry. Co., 289 U.S. 479, 496–97 (1933))).

      It is useful to start with the standing doctrine’s purpose. The Constitution

limits federal judicial power to “Cases” and “Controversies.” U.S. Const. art. III, §

2, cl. 1. Standing doctrine—“rooted in the traditional understanding of a case or

controversy”—ensures that courts stay true to that limitation. Spokeo, Inc. v. Robins,

578 U.S. 330, 338 (2016). Standing doctrine thus ensures that federal courts do not

“intrude upon the powers given to the other branches” by offering an advisory

opinion. Id. at 337.

      The Supreme Court has long held that an actual controversy exists when the

parties have “such a personal stake in the outcome of the controversy as to assure

that concrete adverseness which sharpens the presentation of issues.” Baker v. Carr,

369 U.S. 186, 204 (1962); see also Valley Forge Christian Coll. v. Americans United

for Separation of Church & State, Inc., 454 U.S. 464, 472 (1982) (explaining that

standing doctrine “tends to assure that the legal questions presented to the court will

be resolved, not in the rarified atmosphere of a debating society, but in a concrete

factual context conducive to a realistic appreciation of the consequences of judicial

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action”). “This is the gist of the question of standing.” Carr, 369 U.S. at 204. So

when it comes to standing, the ultimate question is whether “concrete adverseness”

exists between the parties.

      Over time, the Supreme Court has developed a three-part test for determining

when such adverseness exists. Under that test, a plaintiff must show (1) that they

have suffered an injury-in-fact that is (2) traceable to the defendant and that (3) can

likely be redressed by a favorable ruling. See Lujan v. Defs. of Wildlife, 504 U.S.

555, 560–61 (1992).

      For the individual Plaintiffs, this inquiry is straightforward. But for the

organizational Plaintiffs, the issue is more complex. The organizational Plaintiffs

proceed under two theories; namely, organizational standing and associational

standing.

      Organizational standing allows an organization to assert claims based on

injuries to the organization itself. See Fla. Democratic Party v. Hood, 342 F. Supp.

2d 1073, 1079 (N.D. Fla. 2004) (“An organization has standing to challenge conduct

that impedes its ability to attract members, to raise revenues, or to fulfill its

purposes.” (citing Havens Realty Corp. v. Coleman, 455 U.S. 363, 379 (1982))).

Here, Plaintiffs proceed under a diversion-of-resources theory. “Under the diversion-

of-resources theory, an organization has standing to sue when a defendant’s illegal

acts impair the organization’s ability to engage in its own projects by forcing the

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organization to divert resources in response.” Arcia v. Fla. Sec’y of State, 772 F.3d

1335, 1341 (11th Cir. 2014). “[T]he fact that the added cost [to the organization] has

not been estimated and may be slight does not affect standing . . . .” Fla. State Conf.

of NAACP v. Browning, 522 F.3d 1153, 1165 (11th Cir. 2008) (quoting Crawford v.

Marion Cnty. Election Bd., 472 F.3d 949, 951 (7th Cir. 2007)).

      On the other hand, associational standing allows an organization to sue on its

members’ behalf “when: (a) its members would otherwise have standing to sue in

their own right; (b) the interests it seeks to protect are germane to the organization’s

purpose; and (c) neither the claim asserted nor the relief requested requires the

participation of individual members in the lawsuit.” Greater Birmingham Ministries

v. Sec’y of State of Ala., 992 F.3d 1299, 1316 (11th Cir. 2021) (GBM). To establish

associational standing, Plaintiffs must “make specific allegations establishing that at

least one identified member has suffered or will suffer harm.” Ga. Republican Party

v. Sec. & Exch. Comm’n, 888 F.3d 1198, 1203 (11th Cir. 2018) (cleaned up).

      With these principles in mind, this Court first considers whether at least one

Plaintiff from each of the relevant consolidated cases has standing to challenge the

above-listed provisions.




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                                           1

                                           a

      Taking the provisions in the order set out above, this Court begins with the

NAACP Plaintiffs, and finds that the Florida NAACP has associational standing to

challenge the VBM request provision.

      First, Florida NAACP members have standing to sue in their own right. Ms.

Scoon is a member of the Bay County branch of the NAACP. Tr. at 33. When SB 90

took effect, she had a standing VBM request. Id. at 87. She testified that requesting

a VBM ballot every election cycle burdens her because it doubles the number of

VBM ballot requests she must submit—thus doubling the amount of effort it takes

to vote by mail—and increases the chance that she will forget to request her ballot.

Id. at 89. This Court credits Ms. Scoon’s testimony on these points.

      On cross, Defendants responded to this testimony by asking Ms. Scoon why

she “couldn’t . . . just . . . put a reminder in [her] calendar” to request a VBM ballot

“every time it needs to be done?” Id. at 136. Defendants’ blithe suggestion misses

the point. “For purposes of standing, a denial of equal treatment is an actual injury

even when the complainant is able to overcome the challenged barrier.” Common

Cause/Ga. v. Billups, 554 F.3d 1340, 1351 (11th Cir. 2009). Plus, “[t]he slightness

of the[] burden . . . is not dispositive.” Id. Just as a law that merely requires a voter

to present identification before voting inflicts an Article III injury, the VBM request

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provision injures Ms. Scoon by forcing her to request a VBM ballot every election

instead of every other election. See id. at 1351–52. And that injury is traceable to

Supervisor Andersen. Florida law tasks the Supervisors with implementing the law

governing VBM requests. See § 101.62(1)(a), Fla. Stat. (2021). And finally, an

injunction ordering Supervisor Andersen to accept requests for VBM ballots for two

general election cycles, as he had previously done, would redress Ms. Scoon’s injury.

See § 101.6(1)(2), Fla. Stat. (2019). Ms. Scoon therefore has standing to challenge

the VBM request provision.

      The interests the Florida NAACP seeks to protect are also germane to the

organization’s purpose. As Mr. Brown—president of the Indian River County branch

of the NAACP—testified, the Florida NAACP promotes civic participation. Tr. at

510. It does so through many outlets, such as voter registration, training, and

education. Id. The Florida NAACP also engages in get out the vote activities,

encouraging voters to “exercise their most precious and priceless right.” Id. at 513.

Plus, it would strain credulity to suggest that fighting race-based barriers to the

franchise is not germane to the Florida NAACP’s mission. To the contrary, this Court

could almost take judicial notice that this suit is germane to the Florida NAACP’s

purpose. Plainly, the second associational standing factor is satisfied.

      Finally, neither the claim asserted nor the relief requested require the Florida

NAACP’s individual members to participate. As this Court has already noted,

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“prospective relief weigh[s] in favor of finding that associational standing exists.”

GBM, 992 F.3d at 1317 n.29. So Plaintiffs’ claims fit neatly within associational

standing’s parameters. Thus, at least one NAACP Plaintiff has standing to challenge

the VBM request provision.

                                          b

      Turning to the Florida Rising Plaintiffs, this Court finds that they too have

standing to challenge the VBM request provision. For example, this Court heard

from Plaintiff Equal Ground Education Fund’s founder, Jasmine Burney-Clark. Tr.

at 380. She testified that Equal Ground distributes voter-education materials. Id. at

404. These materials include information about the deadline for VBM requests and

submissions. Id. During the 2020 election cycle, Equal Ground spent roughly

$1,000,000 on such materials. Id. But due to the changes SB 90 has wrought, Equal

Ground anticipates spending $2,000,000 in 2022. Id. at 405. This is because Equal

Ground has determined the voters are largely unaware of SB 90 and the changes it

has made to the election code. Id. at 407. To conduct this added education, Equal

Ground will have to reach into its reserves. Id.

      Equal Ground has also decided to hire a political director in response to SB

90. Id. at 391, 409. This will cost Equal Ground over $55,000 a year. Id. at 409. To

fund this position, Equal Ground must take funds from its Souls to the Polls and

voter registration program. Id. It has also been forced to forgo hiring an internal

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communications manager, digital organizer, and internal graphic designer. Id. at

409–10. Equal Ground prioritized hiring a political director because the director has

the skills to interpret SB 90—including the VBM request provision—and “translate”

it to the community. Id. at 410. This Court credits Ms. Burney-Clark’s testimony on

these points.

      Ms. Burney-Clark’s testimony establishes a diversion-of-resources injury.

Tellingly, on cross Defendants asked whether, even if SB 90 had not passed, Equal

Ground would educate voters about the locations of drop boxes and the hours of

polling places. Id. at 418. But Defendants did not ask the same question about the

VBM request provision. Equal Ground would not have to educate voters about the

VBM request provision absent SB 90 because it was not an issue before SB 90. In

short, Equal Ground has diverted resources from hiring for various positions and

from its Souls to the Polls and voter registration programs to educate voters about

SB 90—including the VBM request provision. Equal Ground conducts this work in

its “core counties”—Orange, Pinellas, Seminole, and Volusia. Tr. at 384. That is

enough to establish standing against Defendant Supervisors for Orange, Pinellas,

Seminole, and Volusia Counties.

      The same is true for Hispanic Federation. For Hispanic Federation, this Court

heard from its national director of civic engagement, Mr. Vélez Burgos. Id. at 716.

Mr. Vélez Burgos testified that Hispanic Federation’s get out the vote efforts center

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on VBM and drop boxes. Id. at 735–36. This work reaches all 67 counties in Florida.

Id. at 722–23. Now, because of SB 90, Hispanic Federation must “start following up

with voters that might think that they’re still on the rolls [until] 2024 or 2026.” Id.

at 757. It also plans to spend more money on “TV and radio” to explain the VBM

request provision. Id. The VBM request provision also forces Hispanic Federation

to conduct more outreach to “SuperVoters”—someone who has voted in each of the

past four election cycles—to alert them to the need to renew their VBM requests. Id.

at 759. Each text message Hispanic Federation sends to a voter to convey this

information costs 6 cents. Id. at 760. And each phone call costs staff time and payroll

for canvassers. Id. These added costs have prevented Hispanic Federation from

hiring more administrative staff and opening satellite offices. Id. at 761–62. Hispanic

Federation has also been forced to reduce its communication budget. Id. This Court

credits Mr. Vélez Burgos’s testimony.

      In sum, Hispanic Federation must spend time and resources countering the

VBM request provision’s effects throughout the state. This impacts Hispanic

Federation by forcing it to forgo opening satellite offices or consolidate existing

ones, and by forcing it to hire fewer staff. Thus, Hispanic Federation has standing to

challenge the VBM request provision against all 67 Supervisors of Elections.




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      Having determined that at least one Plaintiff from each consolidated case has

standing to challenge the VBM request provision, this Court turns to the VBM

request identification provision.

                                         2

      Next, this Court considers whether Plaintiffs have established standing to

challenge the VBM request identification provision.

                                         a

      First, this Court again finds that the Florida NAACP has associational

standing through Ms. Scoon. Ms. Scoon testified that she registered to vote over 40

years ago and cannot remember if she used her driver’s license or social security

number to do so. Id. at 87. But whether she knows which form of identification she

used or not is immaterial. Just as a law requiring voters to present identification

before voting injures all voters subject to that requirement, a law requiring Ms.

Scoon to present identification to request a VBM ballot injures Ms. Scoon. See

Billups, 554 F.3d at 1351–52. Plus, the Supervisors enforce the VBM request

identification provision. § 101.62(b), Fla. Stat. (2021). And an injunction ordering

Supervisor Andersen to accept VBM requests without accompanying identification

would redress Ms. Scoon’s injury. So Ms. Scoon has standing to challenge the VBM

request identification provision herself. And, as explained above, the other

associational standing requirements are met. Accordingly, the Florida NAACP has

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associational standing to challenge the VBM request identification provision with

respect to Supervisor Andersen.

      Because the Florida NAACP has standing to challenge the VBM request

identification provision, this Court need not consider whether the other NAACP

Plaintiffs have standing to challenge the provision.

                                            b

      As for the Florida Rising Plaintiffs, this Court also finds that at least one

Plaintiff has standing to challenge the VBM request identification provision.

      Mr. Vélez Burgos testified that Hispanic Federation will “have to create new

signs, new postings, new voter education materials and resources to alert voters to

the fact that they will have . . . to provide” identification to register to vote by mail.

Tr. at 757. Plus, part of Hispanic Federation’s canvassing work includes signing

people up to vote by mail. Id. at 757. Explaining to registrants that Hispanic

Federation needs their identification information to request VBM ballots on their

behalf will both lengthen the average interaction per voter—thus reducing overall

production—and deter voters from signing up to vote by mail. Id. at 758. As a result,

Hispanic Federation must hire more canvassers. Id. at 761. It also has to pay all

canvassers for more hours spent canvassing. Id. Just as with the VBM request

identification provision, these added costs have prevented Hispanic Federation from

hiring more administrative staff and opening satellite offices. Id. at 761–62. It has

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also reduced Hispanic Federation’s communication budget. Id. Again, this Court

credits Mr. Vélez Burgos’s testimony.

      The VBM request identification provision imposes additional costs on

Hispanic Federation by forcing it to spend resources educating voters about the new

requirements. It also makes canvassing more expensive. As a result, Hispanic

Federation must hire fewer administrative staff and maintain fewer offices. Hispanic

Federation therefore has standing to challenge the VBM request identification

provision.

                                          3

      Next this Court addresses the drop-box provisions. This Court finds that both

sets of Plaintiffs have standing to challenge the drop-box provisions.

                                          a

      As to the NAACP Plaintiffs, this Court finds that the Florida NAACP has

associational standing to challenge the drop-box provisions. First, Ms. Scoon has

standing to challenge the drop-box provisions. As she testified, she had used an

unmanned drop box outside the Bay County Supervisor of Election’s office “for

many years” and “for many reasons.” Id. at 78. Now, however, the Bay County

Supervisor has removed the drop box. Id. at 82. Indeed, in a press release, Supervisor

Andersen announced that “[t]he Vote By Mail Drop Box outside the Supervisor of

Elections office has been removed . . . [d]ue to Florida Senate Bill 90.” ECF No.

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608-84 at 2. Ms. Scoon testified that she will now have to alter the way she votes, to

her great inconvenience. Tr. at 86–87. This is enough to confer standing on Ms.

Scoon. Without minimizing the harm Ms. Scoon has testified to suffering, this Court

notes that even “an identifiable trifle is enough” to satisfy Article III’s injury

requirement. United States v. Students Challenging Regul. Agency Procs., 412 U.S.

669, 689 n.14 (1973).

      Ms. Scoon’s injury is also traceable to Defendant Lee and redressable by an

injunction against her. Defendant Lee’s Division of Elections has the authority to

impose a $25,000 civil penalty against any Supervisor of Elections who leaves a

drop box “accessible for ballot receipt other than as authorized by this section.”

§ 101.69(3), Fla. Stat. (2021). This deters Supervisors who would otherwise offer

drop box options beyond the statutorily required drop boxes at the Supervisors’ main

office, permanent branch office, and early voting sites. See § 101.69(2)(a), Fla. Stat.

(2021) (“Secure drop boxes shall be placed at the main office of the supervisor, at

each permanent branch office of the supervisor, and at each early voting site. Secure

drop boxes may also be placed at any other site that would otherwise qualify as an

early voting site under s. 101.657(1).” (emphasis added)). Indeed, this is exactly

what happened with the drop box Ms. Scoon has historically used, which had been

outside the SOE office, unmanned, and available 24/7. ECF No. 608-84 at 2. An

injunction precluding Defendant Lee from imposing a $25,000 penalty on the

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Supervisors would provide Ms. Scoon meaningful relief from the challenged drop

box provision because it would allow Supervisor Andersen to replace the drop box

that Ms. Scoon wishes to use without fear of incurring a $25,000 penalty. And he

would likely do so, given that the drop box was in place for many years. Tr. at 78.

Recall that Article III requires only that redressability be “likely.” Sprint Commc’ns

Co., L.P. v. APCC Servs., Inc., 554 U.S. 269, 287 (2008). This Court credits

Plaintiffs’ evidence on these points. Ms. Scoon has standing to challenge the drop-

box provisions.

      Further, just as above, challenging an allegedly racially motivated restriction

on a form of voting is obviously germane to the Florida NAACP’s organizational

purpose and this action does not require participation by individual NAACP

members. So the Florida NAACP has associational standing to challenge the drop-

box provisions. Because the Florida NAACP has standing, this Court need not

consider whether the remaining NAACP Plaintiffs also have standing.

                                          b

      This Court also finds that at least one Florida Rising Plaintiff has standing to

challenge the drop-box provisions under a diversion-of-resources theory. For

Plaintiff Poder Latinx, this Court heard from Mr. Garces, its coexecutive director

and cofounder. Tr. at 186. Poder Latinx’s mission is “to empower [the] Latinx

community via the electoral process.” Id. at 187.

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      Mr. Garces testified that drop boxes are very convenient for those in the Latino

community Id. at 216. Because SB 90 reduced drop boxes’ availability, there will be

longer lines on election day in Latino neighborhoods. Id. at 217. Poder Latinx cannot

change that, but it can help transport voters who would have otherwise used drop

boxes to the polls to vote. Id. Poder Latinx has so far set aside $15,000 for its

transportation program. Id. at 217–18. Plus, now that drop boxes are no longer

available 24/7, Poder Latinx will have to research the particular hours each

Supervisor will make drop boxes available and then train canvassers to convey that

information. Id. at 217. Poder Latinx’s voter turnout and voter education programs

operate in Orange, Osceola, Seminole, Lake, Polk, Lee, Palm Beach, and Volusia

Counties. Id. at 193. If Poder Latinx was not forced to spend additional time and

resources combating SB 90—including the drop-box provisions—it would hire

additional staff. And its inability to do so will hamper its ability to register voters,

educate voters, and encourage voter turnout. Id. at 224. This Court credits Mr.

Garces’s testimony on these points.

      In short, Poder Latinx will have to spend additional time and money

countering the drop-box provisions in Orange, Osceola, Seminole, Lake, Polk, Lee,

Palm Beach, and Volusia Counties. It would otherwise use those resources to hire

additional staff. And finally, the lack of additional staff hampers Poder Latinx’s

mission. Thus, Poder Latinx has standing to challenge the drop-box provisions.

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                                          4

      Turning to the registration delivery provision, only the Florida Rising

Plaintiffs challenge this provision, and thus this Court need not discuss the NAACP

Plaintiffs. Further, this Court finds that the Florida Rising Plaintiffs have standing

to challenge the provision.

      Returning to Poder Latinx, Mr. Garces testified that the registration delivery

provision has placed many additional burdens on Poder Latinx. Now, Poder Latinx’s

quality control workers must google each street address on each registration to

ensure that the street address matches the county the voter specified on the form. Id.

at 208. Further, Poder Latinx must now sort all registration applications by county

to ensure that they are submitted to the correct supervisor. Id. Poder Latinx did not

implement these added measures based on abstract fears; one Supervisor has already

threatened to fine Poder Latinx for submitting forms from another county. Id. at 209.

      Plus, besides the quality control costs, Poder Latinx must now spend extra

time or money driving registrations to the correct Supervisor or, if the Supervisor is

too far away, mailing the registrations by certified mail. Id. at 208. And though, as

suggested by Defendants’ questions on cross-examination, Poder Latinx could

deliver unsorted registrations to the Division of Elections, see id. at 241, that would

also entail added costs in postage or time and gas for hand delivery.




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      In 2021, it cost Poder Latinx over $4,500 to comply with SB 90’s delivery

restriction—$476 in mail costs and $4,100 in staff time. Id. at 210. Poder Latinx

further predicts that it will cost between $40,000 and $50,000 to comply in 2022. Id.

at 210–11. These added costs contribute to Poder Latinx’s inability to hire additional

staff as discussed above. Thus, Poder Latinx has standing to challenge the

registration delivery provision under a diversion-of-resources theory.

                                            5

      Finally, this Court addresses the solicitation definition. This Court finds that

both sets of Plaintiffs have standing to challenge the solicitation definition.

                                            a

      As to the Florida NAACP, this Court heard testimony from Ms. Cynthia Slater,

the president of the Volusia County-Daytona Beach Branch of the NAACP, Tr. at

1948, as well as Mr. Anthony Brown, the president of the Indian River County

branch of the NAACP and third vice president for the Florida State Conference of

the NAACP, id. at 506–07. With respect to both witnesses, I find their testimony

credible.

      First, the Florida NAACP has proved it is injured in Volusia County with

respect to the solicitation definition. At trial, Ms. Slater testified at length regarding

her branch’s “line warming” activities before SB 90 was enacted. Tr. at 1956–60.

Specifically, the Volusia County branch of the NAACP has engaged in “line

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warming” activities within the 150-foot buffer zone as recently as 2020 and as early

as 2004. Id.11 Moreover, Ms. Slater testified that she has personally worked to

provide such support to voters at polling places in every election since 2004 through

2020. Id. at 1956. However, because of the solicitation definition, her branch no

longer “plans to provide any relief or support to volunteers[.]” Id. at 1963. She

testified that after SB 90 was enacted, her local Supervisor of Elections, Defendant

Lisa Lewis, met with her branch of the NAACP to explain the changes in the law,

including the expanded solicitation definition. Id. at 1962. Ms. Lewis apparently

warned the Florida NAACP members that they could no longer conduct their “line

warming” activities because “there could be fines and penalties if [they] are doing

that[.]” Id. Accordingly, Ms. Slater and the Volusia County branch of the NAACP

are self-censoring for fear of such penalties because of the challenged provision and

are thus suffering an injury in fact.

       Second, Ms. Slater and the Volusia County branch of the NAACP can trace

their injury to Defendant Lewis. Here, there is no dispute that Florida law grants


       11
           Ms. Slater also testified that while serving in the statewide position as civic engagement
chair for the Florida State Conference of the NAACP from 2003 to 2018, she oversaw the “line
warming” activities of up to 55 local branches of the NAACP throughout Florida. Tr. at 1949–50,
1960. According to Ms. Slater, all of these local “units” of the NAACP provided relief to voters
who were waiting in lines at the polls between 2003 to 2018. Id. However, Ms. Slater did not
testify that every county in Florida was home to one of these 55 branches or that the line relief that
the branch members provided included assistance provided within the 100- or 150-foot buffer
zone. Nor did Ms. Slater identify in which counties these 55 local “units” of the NAACP operated.
Accordingly, Ms. Slater’s testimony is insufficient to establish an injury with respect to any county
aside from Volusia County.
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Defendant Lewis authority to maintain good order at the polls, including defining

the area in which solicitation is unlawful and directing law enforcement to remove

people within the 150-foot zone, in which Ms. Slater’s and the Florida NAACP’s

line warming activities are arguably now banned. §§ 102.031(1), (2), (4)(a)–(c), Fla.

Stat. (2021). Moreover, this Court heard uncontradicted testimony from Ms. Slater

that Defendant Lewis has already interpreted the challenged provision to include the

“line warming” activities that were previously conducted in Volusia County since at

least 2004 and warned the Florida NAACP that their conduct may now be subject to

fines and penalties. Accordingly, given that Supervisor Lewis has authority to

interpret and enforce the challenged solicitation ban—and, apparently, has already

done so to prohibit the Florida NAACP’s “line warming” activities that were

permitted before SB 90—Ms. Slater’s and the Florida NAACP’s injury is traceable

to Defendant Lewis.

      Third, Ms. Slater’s and the Florida NAACP’s injury is redressable by an order

prohibiting Defendant Lewis from enforcing the solicitation definition to prohibit

their “line warming” activities in Volusia County.

      As to Defendants’ arguments to the contrary, it is no answer that the Florida

NAACP’s asserted injury is not redressable because another provision of Florida law

makes it a crime to solicit voters who need assistance in casting their ballots by

reason of blindness, disability, or inability to read or write. See § 101.051(2), Fla.

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Stat. (2021) (outlawing voter-assistance solicitation within 150-foot buffer zone

pursuant to provision that permits blind, disabled, or illiterate voters to have the

person of their choice assist them in reading and casting their ballot); see also ECF

No. 648 at 52–53. Section 101.051(2) is part of a separate statutory scheme that

allows certain voters to receive assistance in casting their ballots. This provision

creates a first-degree misdemeanor to engage in a more specific form of

“solicitation”—namely, approaching voters to offer to help them cast their ballots if

they are blind, disabled, or illiterate. See §§ 101.051(1)–(2), Fla. Stat. Such specific

conduct would remain illegal in the event Supervisor Lewis is enjoined from

enforcing the broader definition of “solicitation” under a separate provision of

Florida’s Election Code, but members of the Florida NAACP would no longer fear

prosecution for providing other kinds of direct assistance to voters waiting in long

lines at polling places and drop boxes in Volusia County.12

       It is also no answer that the Florida NAACP’s injury is not redressable because

some Supervisors of Elections imposed stricter policies for their 150-foot buffer

zones before SB 90 was enacted. First, this Court heard no evidence that Supervisor



       12
           Moreover, section 101.051(2) only applies to ban voter-assistance solicitation of blind,
disabled, or illiterate voters. To the extent a reviewing court concludes this section overlaps with
sections 102.031(4)(a)–(b), an injunction prohibiting Supervisor Lewis from enforcing the
expanded solicitation definition under section 102.031(4)(b) would still provide partial redress to
the Florida NAACP’s injury because, without running afoul of section 101.051(2), its members
could continue offering sighted, able, and literate voters direct assistance while they wait in line at
the polls in Volusia County.
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Lewis imposed a strict no-contact policy within her no-solicitation zones prior to SB

90’s passage. Indeed, the undisputed evidence points to the contrary—namely, that

Ms. Slater, who testified to having a direct line of communication and cooperation

with Supervisor Lewis, and the Florida NAACP, regularly provided direct assistance

to voters within the 150-foot zone prior to SB 90.

      Moreover, the undisputed fact that Supervisor Lewis already had statutory

authority to command law enforcement to remove disruptive or unruly persons from

the 150-foot zone before SB 90 was enacted does not change this Court’s findings

or conclusion as to the Florida NAACP’s standing. See §§ 102.031(1), (2), (4)(c),

Fla. Stat. The Eleventh Circuit has held that when a requested injunction does

nothing to remove the same penalty imposed by other, unchallenged statutes, then

the requested relief does not satisfy the redressability requirement for Article III

standing. See Fla. Fam. Pol’y Council v. Freeman, 561 F.3d 1246, 1257–58 (11th

Cir. 2009); see also KH Outdoor, L.L.C. v. Clay Cnty., Fla., 482 F.3d 1299, 1304

(11th Cir. 2007). But here, the unchallenged provisions authorizing Supervisor

Lewis to maintain order at the polls do not carry the same penalty as the expanded

solicitation ban, which makes it a first-degree misdemeanor to “engag[e] in any

activity with the intent to influence or effect of influencing a voter,” within the 150-

foot buffer zone. In short, the unchallenged provisions under section 102.031 do not




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arguably criminalize “line warming”—instead, they simply authorize government

actors, including the Supervisors of Elections, to maintain order at the polls.

      For example, prior to SB 90, a person did not commit a crime for handing out

food or water to voters within the 150-foot buffer zone, and thus, they were not

subject to arrest if the Supervisor of Elections or sheriff’s deputy assigned to that

polling place saw them do it. Instead, the Supervisor of Elections could command

the deputy to tell that person to leave the 150-foot zone and only then, if the person

refused, would they potentially be subject to arrest for committing a different

crime—i.e., trespass or resisting without violence. Now, however, section 104.41

designates a violation of the solicitation ban to be a first-degree misdemeanor, so if

a Supervisor of Elections or sheriff’s deputy sees someone handing out water in the

150-foot zone and interprets such conduct as solicitation under section

102.031(4)(b), that person is subject to immediate arrest for committing a first-

degree misdemeanor in the presence of a law enforcement officer. See § 901.15(1),

Fla. Stat. (“A law enforcement officer may arrest a person without a warrant when

[t]he person has committed a felony or misdemeanor . . . in the presence of the

officer. An arrest for the commission of a misdemeanor . . . shall be made

immediately or in fresh pursuit.”). Accordingly, an injunction prohibiting

enforcement of the solicitation definition—which expands the potential for criminal

liability to include “engaging in any activity with the intent to influence or effect of

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influencing a voter” within the 150-foot buffer zone—would redress the Florida

NAACP’s self-censorship injury.

      Finally, it is no answer to say the Florida NAACP lacks standing because its

injury is not redressable by an injunction against all 67 Supervisors of Elections.

Specifically, Defendants Lee, Moody, and Defendant-Intervenors assert, without

citation, that “to demonstrate standing, Plaintiffs needed to show that their challenge

to the [solicitation definition] is redressable in each of the sixty-seven counties of

Florida.” ECF No. 648 at 51. With respect to the Florida NAACP, this is true with

respect to its vagueness and overbreadth claims, discussed in more detail below, only

to the extent that it seeks an injunction against all 67 Supervisors. The Florida

NAACP would have to show that it is injured in each county in Florida, that its injury

is traceable to the relevant county Supervisor of Elections, and that such injury

would be redressed by an injunction prohibiting the relevant county Supervisor of

Elections from enforcing the challenged statute. But here, for purposes of its

intentional discrimination claims, the Florida NAACP has proved that it has standing

to sue the Volusia County Supervisor of Elections. Accordingly, the Florida NAACP

has standing to challenge the solicitation definition provision.

                                          b

      Finally, this Court turns to the Florida Rising Plaintiffs. Florida Rising

Together, Poder Latinx, Equal Ground Education Fund, and Hispanic Federation

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each assert standing to challenge the solicitation definition under theories of

associational and organizational standing. This Court finds that at least one Florida

Rising Plaintiff has standing to challenge the solicitation definition under a

diversion-of-resources theory.

      Specifically, this Court heard from Ms. Andrea Mercado, the executive

director of Florida Rising Together, who testified that Florida Rising Together’s

predecessor organization provided “line warming” to voters waiting in line at polling

places in Miami-Dade, Broward, Palm Beach, Duval, Orange, Osceola,

Hillsborough, and Pinellas counties during the 2020 election. Tr. at 2045–47.

Specifically, though, Ms. Mercado testified that such “line warming” was conducted

within the 150-foot buffer zone only in Broward, Palm Beach, and Duval counties.

Id. at 2046. Now, however, Ms. Mercado testified that Florida Rising Together will

not provide such relief within the 150-foot buffer zone and instead will use its

resources to invest in larger and more visible tents and signage that are outside of

the buffer zone. Id. at 2047. Ms. Mercado further testified that the resources Florida

Rising Together is diverting to address the challenged portions of SB 90 would

otherwise have been used to fund the organization’s vaccine education canvass,

support families facing eviction, fund the organization’s climate emergency

programming, and fund other civic engagement work in Florida. Id. at 2051–52.

Accordingly, based on Ms. Mercado’s testimony, which I find credible, Florida

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Rising Together has demonstrated an injury in fact for the same reasons as the

Florida NAACP. Namely, because of the expanded solicitation definition, Florida

Rising Together is self-censoring in Broward, Palm Beach, and Duval counties and

diverting resources from identifiable programs to continue providing some relief

outside of the 150-foot buffer zone.

      As discussed at length above, Florida Rising Together’s injury is traceable to

the Defendant Supervisors of Elections in Broward, Palm Beach, and Duval counties

due to their enforcement authority with respect to the challenged statute. In addition,

an injunction prohibiting these Supervisors of Elections from enforcing the

expanded definition is likely to redress Florida Rising Together’s injuries by

eliminating the potential for criminal liability for violating the expanded solicitation

ban. Accordingly, Florida Rising Together has standing to challenge the solicitation

definition with respect to Defendant Supervisors of Elections for Broward, Palm

Beach, and Duval counties.

                                           B

      Having determined that Plaintiffs have standing to challenge each provision,

this Court turns to the merits of Plaintiffs’ intentional discrimination claims. The

Fourteenth Amendment, the Fifteenth Amendment, and section 2 of the VRA all

prohibit intentional race discrimination in voting. And although SB 90 is racially

neutral on its face, Plaintiffs assert that the Legislature passed it with the intent to

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discriminate against Black and Latino voters. If Plaintiffs are right, SB 90 is “just as

abhorrent, and [unlawful], as laws that expressly discriminate on the basis of race.”

N.C. State Conf. of NAACP v. McCrory, 831 F.3d 204, 220 (4th Cir. 2016).

As explained below, this Court finds that the Legislature enacted some of SB 90’s

provisions with the intent to discriminate against Black voters, but that Plaintiffs

have not met their burden to show that the Legislature intended to discriminate

against Latino voters.

                                            1

       One point before this Court delves into the evidence. While reading this Order,

a lay reader may find themselves asking why such a wide-reaching analysis is

necessary. For two reasons, it is. First, there is no jury in this case; this Court acts as

the jury, finding facts based on the evidence before it. But unlike a jury, this Court

must explain the evidence it considered and the conclusions it drew from that

evidence. See Fed. R. Civ. P. 52(a)(1).

       Second, in this day and age, few would be so foolish as to openly admit their

racial motivations—knowing that any such statement would provide fodder for a

law’s opponents. Instead, this Court must rely on circumstantial evidence. In other

words, this Court must infer the Legislature’s intent from all of the circumstances

surrounding SB 90’s passage.




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       Think of it like viewing a pointillist painting, such as Georges Seurat’s A

Sunday Afternoon on the Island of La Grande Jatte. One dot of paint on the canvas

is meaningless, but when thousands of dots are viewed together, they create

something recognizable.13 So too here, one piece of evidence says little, but when

all of the evidence is viewed together, a coherent picture emerges.

                                               2

       This Court begins with the applicable standard. Both Plaintiffs’ constitutional

claims and their statutory claim require this Court to apply the multifactor test set

out in Arlington Heights v. Metropolitan Housing Development Corp., 429 U.S. 252

(1977). In this Circuit, however, there are a few important differences between

Plaintiffs’ constitutional claims and their statutory claim.

       First, under the Fourteenth and Fifteenth Amendments, Plaintiffs must show

that SB 90 has both a discriminatory impact and that the Legislature passed it with

discriminatory intent. GBM, 992 F.3d at 1321. To make out a section 2 claim,

Plaintiffs need only show a “discriminatory purpose.” Askew v. City of Rome, 127

F.3d 1355, 1373 (11th Cir. 1997). Thus, Plaintiffs can succeed under section 2 of the




       13
          See Emma Taggert, How the Pioneers of Pointillism Continue to Influence Artists Today,
My Modern Met (Jan. 18, 2018), https://tinyurl.com/ybux3r5s; see also Ferris Bueller’s Day Off
– Art Institute of Chicago scene, YouTube (Nov. 21, 2011), https://tinyurl.com/2ce925m9,

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VRA by showing only that the Legislature passed the challenged provisions with a

discriminatory intent.

      Second, under the Fourteenth and Fifteenth Amendments, if Plaintiffs show

that SB 90 has a discriminatory impact, and that racial discrimination was a

“substantial” or “motivating” factor in its passage, the burden shifts to Defendants

to show that the Legislature would have passed the law anyway. Hunter v.

Underwood, 471 U.S. 222, 228 (1985). But under section 2, “[o]nce intent is shown,

it is not a defense . . . that the same action would have been taken regardless of the

racial motive.” Askew, 127 F.3d at 1373; see also McCrory, 831 F.3d at 233 n.10

(“We note that at least one of our sister circuits has rejected the second step of this

inquiry as inappropriate for intent claims under § 2.”).

      Either way, the starting point for each of these claims is the test set out in

Arlington Heights. The Arlington Heights factors are (1) the challenged law’s

impact; (2) the law’s historical background; (3) “the specific sequence of events

leading up” to the law’s passage, which includes “(4) procedural and substantive

departure; and (5) the contemporary statements and actions of key legislators.”

GBM, 992 F.3d at 1322. This “list has been supplemented” with another three

factors: “(6) the foreseeability of the disparate impact; (7) knowledge of that impact,

and (8) the availability of less discriminatory alternatives.” Id.




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      While these factors inform the discriminatory purpose inquiry, they are “non-

exhaustive.” Cooper v. Harris, 137 S. Ct. 1455, 1479 (2017). And thus this Court

cannot ignore other relevant evidence of intent just because it does not fit neatly

under a particular factor. This Court must also remember that “an invidious

discriminatory purpose may often be inferred from the totality of the relevant facts,”

Washington v. Davis, 426 U.S. 229, 242 (1976) (emphasis added), and thus this Court

must be careful not to focus on each fact in isolation, thereby “miss[ing] the forest

in carefully surveying the many trees,” McCrory, 831 F.3d at 214; see also Perkins

v. West Helena, 675 F.2d 201, 209 (8th Cir. 1982) (“In determining whether a

discriminatory purpose existed, no set of factors, including those suggested in . . .

Arlington Heights, is dispositive of the question of intent.”). In short, “[t]he

Arlington Heights factors require a fact intensive examination of the record”—there

is no easy substitute. GBM, 992 F.3d at 1322 n.33.

      Finally, this Court emphasizes an important point that it fears has been lost in

the chaos of this consolidated action. “Under Arlington Heights, . . . the issue is not

just whether there was racial animus in any legislator’s heart, nor whether there were

other reasons, in addition to race, for a legislature’s action. To establish a prima facie

case, a plaintiff need only show that race was a motivating factor in adoption of a

challenged provision.” Jones v. DeSantis, 462 F. Supp. 3d 1196, 1235 (N.D. Fla.

2020). Put another way, the question before this Court is not whether the Florida

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Legislature is racist. Nor is the question whether SB 90’s sponsors are racists. Rather,

the question is whether race was a motivating factor in SB 90’s adoption. Thus, if

the Legislature’s motive “was to favor Republicans over Democrats, and the only

reason the legislators thought [SB 90] would accomplish that result was that a

disproportionate share of affected [voters] were African American [or Latino],

prohibited racial motivation has been shown.” Id. at 1237; see also Cooper, 137 S.

Ct. at 1473 (“[T]he sorting of voters on the grounds of their race remains suspect

even if race is meant to function as a proxy for other (including political)

characteristics.”).

         With the appropriate standard in mind, this Court turns to the Arlington

Heights factors. And while discriminatory impact—being a prerequisite to any

constitutional claim—is sequentially the first Arlington Heights factor, this Court

finds the historical background a more appropriate starting point, and thus begins

there.

                                            3

                                            a

         Florida has a grotesque history of racial discrimination. For example,

Professor Austin, whom this Court accepted as an expert on Florida elections and

Black and Latino political participation, Tr. at 838, testified that Florida’s first post-

Civil War constitution never took effect because it extended the franchise to White

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males only, id. at 852. 14 And even when Congress forced Florida to extend the

franchise to Black men, Florida did everything it could to prevent those citizens from

voting. As Dr. Kousser—an expert in American politics, southern politics, and

minority voting rights testified—during the post-Reconstruction period, Florida took

incremental steps to limit the franchise. Id. at 1694–96. First, Florida altered its

constitution to allow the governor to appoint all statewide officeholders, ensuring

White domination of the executive branch. Id. at 1696. In 1887, the Florida

Legislature enacted a proto-identification requirement, under which registration

certificates were required to vote. Id. at 1697. In 1888, the Legislature passed the

“Eight Box Law”—which “worked as a de facto literacy test”—and a poll tax. Id. at

1699. These measures—all facially neutral—had their desired effect; “Black voting

dropped from 62 percent in 1888 to 11 percent in 1892.” Id. at 855, 1699.




       14
          This Court has made plain where it accepts experts’ testimony and where it rejects it.
For example, as explained below, this Court accepts some of Dr. Smith’s opinions and rejects
others. And as one could guess, anywhere this Court relies on an expert’s report or testimony, this
Court accepts that opinion.

        A brief word is also in order about Defendants’ expert, Dr. Kidd. Although Plaintiffs’
motion presented a close call, this Court did not strike Dr. Kidd’s testimony. But nobody should
confuse this Court’s attempts to be polite with an inability to separate wheat from the chaff.
Excepting Dr. Kidd’s opinion that different states have different laws governing their elections,
this Court rejects Dr. Kidd’s testimony. While the methodology Dr. Kidd used is accepted in
theory, the way he applied it is not. And thus, his conclusions are not reliable. This should surprise
no one. Indeed, Defendants do not bother citing Dr. Kidd’s testimony at all in their post-trial brief.
In short, Dr. Kidd’s suggestion that Florida is on the forefront of ballot accessibility in the United
States is not supported by his haphazard approach.
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      Florida’s White majority also used terrorism to suppress the Black vote, as Dr.

Burch, an expert in—among other things—discriminatory barriers to voting,

testified. In 1920 in Ocoee, Florida, “a man was lynched and 30 to 60 people were

killed and nearly all of the Black homes and churches were burned after a Black man

tried to vote in an election that day.” Id. at 935.

      Restrictive voting laws and racial violence made a brutally effective pair. As

late as 1960, only seven Black voters were registered in Gadsden County, even

though Gadsden County had a voting-age Black population of over 12,000. Id. at

861–62. And there were no Black congressional representatives from Florida

between 1877 and 1992. Id. at 869, 1705.

      Similarly, Latinos seeking to vote in Florida have long faced discrimination.

While there were some Latino legislators in the Florida Legislature as early as the

late 1960s, there was only one Latino representative in 1980. Id. at 856. Further,

Latinos have historically been disadvantaged by language discrimination. Id. at 859.

Municipalities have also exploited racially polarized voting environments, using at-

large elections to prevent Latinos from winning office. Id.

      What is this Court to make of this history? To be sure, there are those who

suggest that we live in a post-racial society. See Shelby Cnty., 570 U.S. at 557. But

that is simply not so. Still, this Court is mindful of the Eleventh Circuit’s admonition

that Florida’s racist history cannot ban “its legislature from ever enacting otherwise

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constitutional laws about voting.” GBM, 992 F.3d at 1299. Of course, today’s

legislators did not draft the 1865 constitution or the Eight Box Law. And, at times,

the Legislature has acknowledged Florida’s deeply disturbing racial history and

alluded to systemic racism’s lingering effects. See Ch. 2020-88, §§ 1–4, at 1–2, Laws

of Fla. (requiring the Board of Education “to examine ways in which the history of

the 1920 Ocoee Election Day Riots will be included in instruction on African-

American history,” directing the Secretary of State to “determine how the Museum

of Florida History . . . will promote the history of the 1920 Ocoee Election Day

Riots,” and directing investigation into naming state parks and schools after victims

of the massacre).15 But Florida’s painful history remains relevant; it echoes into the

present and sets the stage for SB 90.

                                            b

      One way in which Florida’s past remains relevant is through the

socioeconomic disparities that it has created between racial groups. On this point,

Plaintiffs presented Mr. Cooper, an expert in demographics and socioeconomic data.

Tr. at 588. Mr. Cooper testified that non-Hispanic White Floridians “outpace




      15
         The undersigned was born and raised in Winter Garden, Florida, Ocoee’s neighboring
town. The Ocoee Massacre was an ugly secret that everyone knew about, but nobody discussed.

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African-Americans and Latinos in Florida across almost all key variables of

socioeconomic status.” Id. at 598.16

       Take voter registration. Over 90% of Florida’s White voting age citizens are

registered to vote. Id. at 607; ECF No. 467-10 at 7. But only 83% of its Black and

77% of its Latino voting age citizenry are registered. ECF No. 467-10 at 7. And the

vast majority (about 80%) of Black and Latino voters are also concentrated in 12

highly populated counties. ECF No. 467-10 at 7; Tr. at 609.

       In terms of economic well-being, 5.4% of White family households are below

the poverty line, but 15.8% of Black and 17.7% of Latino family households are

below the poverty line. Tr. at 613. Further, the White population has a poverty rate

of 9.2%, but the Black population has an overall poverty rate of 19.5%, and the

Latino population has a poverty rate of 15.7%. Id. at 614. This pattern largely holds

true for working age Floridians and for Floridians over 65. Id. at 615; ECF No. 467-

10 at 10. It also bears noting that the median White household income ($65,149) is

46.7% higher than the Black median household income ($44,412) and about a

quarter higher than the Latino median household income ($52,497). Tr. at 616–17;

ECF No. 467-10 at 10. And when it comes to per capita income, the White per capita

income ($40,938) is almost twice the Black per capita income ($20,989) and almost


       16
          The data Plaintiffs have introduced—for example, socioeconomic data, registration data,
and statistical data showing patterns of use by race for different modalities of voting—is largely
undisputed; however, the parties vigorously dispute the import of the data.
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three quarters higher than the Latino per capita income ($23,905). Tr. at 618; ECF

No. 467-10 at 10. Black and Latino Floridians also rely on food stamps in vastly

higher numbers than White Floridians. Tr. at 618; ECF No. 467-10 at 10.

      These patterns repeat themselves in the realm of education. For example, 6.9%

of the White population have not finished high school, but 15.3% of the Black

population and 20.4% of the Latino population lack a high school degree. Tr. at 619.

And 31.5% of the White population have a bachelor’s degree or higher, compared to

19.6% of the Black population and 25.7% of the Latino population. Id. at 620. Plus,

only 1.7% of the White population does not speak English well. Id. at 10. But 5.9%

of Black Floridians and over a third (35.6%) of Latino Floridians do not speak

English well. ECF No. 467-10 at 10–11; Tr. at 611.

      Turning to other metrics, the unemployment rate is more mixed, Black

Floridians have a slightly higher unemployment rate (7.2%), while White and Latino

Floridians are close to even (4.1% and 3.8% respectively). And when Floridians do

find jobs, White Floridians are comparatively more likely to work in the professional

sector or in management positions. Tr. at 622. On the other hand, Black and Latino

Floridians are overrepresented in the service sector. Id.

      Beyond the workforce, the disparities are just as stark. While 80.1% of Black

households and 84.7% of Latino households have access to broadband internet,

88.8% of White households have such access. Id. at 623. Further, while 4.8% of

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White households lack access to a vehicle, 7.3% of Latino households and 10.4% of

Black households lack such access. Id. at 629. Unsurprisingly then, Black and Latino

Floridians use public transportation at higher rates than White Floridians—4% and

1.8% versus 0.7% respectively. Id. at 630. Black and Latino Floridians also face

longer commutes, with 4.9% of Black Floridians, 6.6% of Latino Floridians, and 4%

of White Floridians traveling two or more hours to get to and from work. Id. at 631.

      These are not small disparities. And they are far too consistent to be

coincidental. Rather, these disparities are the stark results of a political system that,

for well over a century, has overrepresented White Floridians and underrepresented

Black and Latino Floridians. This Court will return to these disparities when it

addresses SB 90’s impact on Black and Latino voters.

                                           c

      The present effects of Florida’s past are also relevant in other ways. As the

Supreme Court has recognized, “racial identification is highly correlated with

political affiliation.” Cooper, 137 S. Ct. at 1473 (quoting Easley v. Cromartie, 532

U.S. 234, 243 (2001)). That has long been true in Florida.

      As Dr. Kousser testified, “race and partisanship are inextricably intertwined;

and that has been so in Florida throughout its history one way or another.” Tr. at

1688. For example, Dr. Kousser described that in Reconstruction Florida,

Republicans were commonly called “Black Republicans,” both because of a

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negative connotation associated with the color black and because the Florida

Republican Party’s core constituency was Black.Tr. at 1688.

      Today, Black voters are a key constituency for the Florida Democratic Party.

Between 2004 and 2020, Black voters favored Democratic presidential and

gubernatorial candidates at rates between 86% and 96%, or an average of roughly

89.7%. See id. at 1788. Latino voters have generally favored Democratic candidates,

but the correlation is much less pronounced. For Latinos, the range of support for

Democratic candidates in the same period is between 44% and 62%, with an average

of roughly 54%. See id. at 1788–89. By contrast, White voters heavily favor

Republican candidates, giving Democrats between 42% and 32% of their vote

between 2004 and 2020, with an average of roughly 38.6%. See id.

      Defendant Lee’s records, of which this Court took judicial notice, ECF No.

569, paint a similar picture. First, 78.75% of Black voters are registered Democrats.

See ECF No. 568-1. On the other hand, only 3.53% of Black voters are registered

Republicans. Id. Similarly, 47.46% of White voters are registered Republicans (and

almost 82% of Republicans are White), and only 27.4% of White voters are

registered Democrats. Id. Finally, Latino voters are roughly split, with 37.92%

registering as Democrats and 25.60% registering as Republicans. Id. As for Non-

Party Affiliates, 16.38% of Black voters are not affiliated with a party, 35.20% of




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Latino voters are not affiliated with a party, and 23.46% of White voters are not

affiliated with a party. Id.

       For Latino voters, Defendants’ expert Dr. Moreno largely corroborated the

information set out above, testifying that “the best way to understand Hispanics is

as swing voters.” Tr. at 3330. In other words, between 1980 and 2004, Latino voters

favored Republican candidates, between 2008 and 2018 they largely favored

Democratic candidates, and now they may be swinging back toward Republicans.

Id. at 3331. This Court credits Dr. Moreno’s testimony on this point.17

       Based on the evidence above, this Court finds that White Floridians are likely

to vote for the Republican Party, Black Floridians are extremely likely to vote for

the Democratic Party, and Latino Floridians are not particularly affiliated with either

party. Put another way, for White and Black voters in Florida, separating race from

politics only works in science fiction.

       That’s a dangerous mix; one racial group is so affiliated with the minority

party that roughly nine in ten members of that group typically support that party.


       17
          This Court does not rule out the possibility that different ethnic groups that make up
what this Court refers to as “Latino” voters may, in fact, favor a certain party. Indeed, as Dr.
Moreno testified, Latino voters are not a monolith. For example, “Cuban-Americans in Miami-
Dade have high registration and voting rates compared to other Hispanic voters in Florida.” Tr. at
3349. This Court also recognizes the possibility that the Legislature enacted SB 90 with the intent
to discriminate against a subset of Latinos—such as Puerto Ricans. But that was not the claim
presented to this Court, and so this Court offers no opinion on whether the Legislature enacted SB
90 with the intent to discriminate against any subgroup that falls within the broader “Latino”
category (and, in fairness to Plaintiffs, such a claim would be very hard to prove, as the Division
of Elections does not keep records on such subgroups).
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Indeed, one witness testified that Black voters are so closely associated with the

Democratic Party that Supervisors’ employees have told persons engaged in line

warming that they cannot wear shirts bearing the words “Black Voters Matter”

because that is a “partisan” statement. Tr. at 1987–88. As “[t]he Supreme Court has

explained,” such “polarization renders minority voters uniquely vulnerable to the

inevitable tendency of elected officials to entrench themselves by targeting groups

unlikely to vote for them.” McCrory, 831 F.3d at 214 (citing Thornburg v. Gingles,

478 U.S. 30 (1986)). Indeed, as Defendants’ expert conceded, “it would provide a

political advantage to the Republican Party in Florida if voting were to decrease

among African-Americans.” Tr. at 3362.

      Making it even more tempting for Florida’s Legislature to give in to that

“inevitable tendency,” Florida’s elections are very close. For example, in the last

decade, the margin of victory in gubernatorial and presidential races in Florida has

hovered between roughly 3% and 0.5%. See Fla. Dep’t of State, Div. of Elections,

Election Results, https://tinyurl.com/mr4ffu88 (last visited Mar. 23, 2022).

Suppressing even a few thousand votes could swing an election. Indeed, in 2018, the

margin of victory in Florida’s gubernatorial race was only 32,463 votes. See id. As

of the date of this Order, there are 1,938,191 Black registered voters in Florida.

Suppressing just 1% of Black voters—or 19,381 voters—would, on average,

suppress 17,443 Democratic votes, and thus could easily swing an election. So it is

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easy to see how Republican legislators who harbor no racial animus could be

tempted to secure their own position by enacting laws targeting Black voters.

       Sadly, the record before this Court suggests that, in the past 20 years, Florida’s

legislators and cabinet officials have given into that temptation several times—

targeting Black voters because of their affiliation with the Democratic party. It is to

that history that this Court now turns.

                                                   d

       To start, Florida has a history of maintaining its voter rolls in a discriminatory

manner. Since 2000, Florida has repeatedly purged or sought to purge its voter rolls.

These purges and attempted purges have consistently and disproportionately

affected, or threatened to affect, Black voters.

       Multiple experts testified that “[i]t’s well known nationally that” Florida

conducted “a large [voting-roll] purge in 2000.” Tr. at 1712. The purge used an

algorithm so obviously flawed that 20 Supervisors refused to implement it. ECF No.

467-13 ¶ 44.18 But the remaining 47 did, to tragic effect. In a later report, the U.S.

Commission on Civil Rights found that the purge’s effects fell overwhelmingly on

minority voters. Tr. at 1712. Indeed, “Black voters were ten times as likely to have

their ballots rejected as White voters.” Id. at 1713. In Miami-Dade County, Black


       18
          In their joint pretrial stipulation, the parties stipulated to the admission of “the disclosed
expert reports (and figures and tables therein) of experts who appear to testify at trial.” ECF No.
402 at 19 n.11.
                                                  52
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voters made up only 20% of the population, but 65% of those purged from the voter

rolls were Black. Id. at 870. Unsurprisingly, then, the Commission found “strong and

credible evidence of violations of Section 2 of the Voting Rights Act and

disenfranchisement of people of color” during Florida’s 2000 election. ECF No. 518-

7 at 1.

          In response to the chaotic 2000 election, the Legislature passed the Florida

Election Reform Act of 2001. ECF No. 467-12 ¶ 54. Among other things, the Act

included “[a] voter list maintenance section that had a standardless ex-felon

identification procedure, was more likely to erroneously identify minorities as ex-

felons,” and put the onus on the voter to prove they belonged on the rolls. Id. ¶ 56.

Voters quickly challenged several of the Act’s provisions in the Southern District of

Florida. Id. ¶ 59. And the Legislature, recognizing the inevitable, soon repealed the

challenged provisions. Id.

          But by 2004 Florida was back at it, questioning the “eligibility of more than

40,000 registered voters based on felon status.” Gilda R. Daniels, A Vote Delayed is

a Vote Denied: A Preemptive Approach to Eliminating Election Administration

Legislation That Disenfranchises Unwanted Voters, 47 U. Louisville L. Rev. 57, 88

(2008); Tr. at 1713. 19



          19
           This Court has considered some secondary sources which broadly confirm Plaintiffs’
experts’ testimony on these points. Namely, for ease of reference, this Court looked to law review
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       In spring 2004, CNN made a public records request for copies of “the list of

registered Florida voters who are suspected felons.” CNN v. Fla. Dep’t of State,

2004-CA-001259, 2004 WL 5138312 (Fla. Cir. Ct. July 1, 2004). Citing section

98.0979(1)(a), Florida Statutes, which allowed only a limited group of persons to

make copies of “voter registration information,” the Florida Department of State

offered to allow CNN to view the list, but not to copy it. Id. CNN sued, and the

Circuit Court for Second Judicial Circuit held that section 98.0979 violated the

Florida Constitution. Id. Accordingly, the court ordered the Division of Elections “to

immediately open the suspected felons list for public inspection” and to allow CNN

“to copy and photograph the list.” Id.

       In the wake of that ruling, “advocacy groups and the media revealed that the

list included persons who were eligible to vote—a disproportionate number of whom

were African-Americans (22,000)—while exempting a large number of Hispanics.”

Daniels supra, at 88–89. “State officials [then] admitted that the list was racially

discriminatory,” but disclaimed any partisan motive. Id. at 89 n.154; Ford Fessenden,

Florida List for Purge Proves Flawed, New York Times (July 10, 2004),

https://tinyurl.com/mrrbkxbw. Chastened, Florida abandoned the purge.




articles for numbers contained in Defendant Lee’s records, and a news article for statements made
by Defendant Lee’s office. Surely, no party could contest the accuracy of either.
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      Undeterred by a decade of debacles, Florida again moved to purge its voter

rolls in late 2011 to early 2012. Tr. at 1714. In May 2012, then Florida Secretary of

State Ken Detzner “sent a list of 2,700 possible non-citizen voters to county election

officials for eligibility verification.” Michael Ellement, Blocking the Ballot: Why

Florida’s New Voting Restrictions Demonstrate a Need for Continued Enforcement

of the Voting Rights Act Preclearance Requirement, 62 Cath. U. L. Rev. 541, 560

(2013); Tr. at 1714 (explaining that Florida began with a list of 180,000 names that

eventually dropped to 2,700). Yet again, “[t]he names on the potential non-citizen

list included a disproportionately high number of minority voters.” Ellement supra,

at 560.

      Florida’s newest proposed purge provoked a wave of lawsuits. Claiming that

Florida’s purge “erroneously targeted lawfully-registered voters, including a

disproportionate share of racial and language minorities,” some organizations sued

seeking to force Florida to preclear its purge plans under section 5 of the VRA. Mi

Familia Vota Educ. Fund. v. Detzner, 891 F. Supp. 2d 1326, 1330 (M.D. Fla. 2012).

Ultimately, however, this suit was dismissed after the Supreme Court decided Shelby

County.

      The Department of Justice also sued Florida under the National Voter

Registration Act (NVRA). Accordingly, a brief word about that statute is in order

here. Congress enacted the NVRA because it recognized that, while the VRA

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“eliminated the more obvious impediments to registration,” it “left a complicated

maze of local laws and procedures . . . through which eligible citizens had to

navigate in order to exercise their right to vote.” H.R. Rep. 103-9, at 3 (1993).

Congress also recognized that “discriminatory and unfair registration laws and

procedures can . . . disproportionately harm voter participation by . . . racial

minorities.” Id. And Congress was particularly concerned about discriminatory voter

roll purges. So it enacted section 8 of the NVRA, which it designed “to prohibit

selective or discriminatory purge programs.” Id. at 15.

      Returning to Florida’s 2012 voter purge, this Court found that the purge

probably violated some of section 8’s provisions. United States v. Florida, 870 F.

Supp. 2d 1346, 1350 (N.D. Fla. 2012). This was so because “[t]he Secretary’s

methodology made it likely that the properly registered citizens who would be

required to respond and provide documentation would be primarily newly

naturalized citizens” and thus “[t]he program was likely to have a discriminatory

impact on these new citizens.” Id. But because, by that time, Florida had abandoned

its purge, this Court declined to grant injunctive relief. Id. at 1351.

      Around the same time, a district court in South Florida was also considering

whether to enjoin Florida’s voter roll purge under another of section 8’s provisions—

its 90-day provision. See Arcia v. Detzner, 908 F. Supp. 2d 1276, 1279–80 (S.D. Fla.

2012). That provision requires states to “complete, not later than 90 days prior to the

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date of a[n] . . . election for Federal office, any program the purpose of which is to

systematically remove names of ineligible voters from the official list of eligible

voters.” Id. Relying, in part, on the canon of constitutional avoidance, the district

court held that the voter roll purge was “not subject to the 90-day provision.” Id. at

1284.

        Amid this legal firestorm, and as alluded to above, Florida ultimately

abandoned its purge—although “without sending notice to county Supervisors of

Elections.” ECF No. 467-13 ¶ 45. But the Eleventh Circuit had the final word.

Concluding that the issue was capable of repetition yet evading review, it reversed

the Southern District of Florida, holding that the 90-day provision applied to

Florida’s voter roll purge and that the purge therefore violated the NVRA. Arcia, 772

F.3d at 1343–48.

        More recently, as Dr. Burch reported, “[t]he evidence suggests that canceled

voter registrations still disproportionately affect African Americans, including the

thousands purged between 2018 and 2019.” ECF No. 467-6 at 16–17.

        In sum, Florida has a history of purging or seeking to purge its voter rolls.

Because Florida often uses flawed methodologies to identify felons, noncitizens, or

others who are ineligible to vote, Florida’s purges affect many qualified voters. And




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for the past 20 years, those voters have disproportionately been Black. 20 This “series

of purges, one after another, . . . is an indication of continued problems with voting

discrimination differentially affecting minority groups in Florida.” Tr. at 1714.

            Florida also has a tortured relationship with early voting. In 2004, Florida

expanded early in-person voting. Id. at 1727–28. And in the 2004 election, Black

usage of early in-person voting “substantially exceeded White usage.” Florida v.

United States, 885 F. Supp. 2d 299, 322 (D.D.C. 2012). In 2005, the Legislature

quickly walked back that expansion, over the opposition of Florida’s Black Caucus,

restricting early voting to government buildings and eight hours per day on

weekdays and eight hours total on weekends. Tr. at 1728.

        Still, in 2008, the Obama campaign stressed early voting. Id. As a result, 52%

of early voting ballots were cast by Democrats and over “half of the Black votes in

Florida were cast early in person.” Id. at 1729. In total, Black voters used early voting

at twice the rate of White voters. Florida, 885 F. Supp. 2d at 322.

       In 2010, the Black “usage rate” for early voting “still exceeded the white rate

by a factor of about one-third.” Id. at 323. The Legislature was quick to act. In 2011,

then-Representative Dennis Baxley introduced HB 1355, which decreased the

number of early in-person voting days. As a federal court later explained, the



       20
          As explained below, besides making it harder for Black voters to stay on the rolls, Florida
also has a history of making it tougher for them to get on to the rolls in the first place.
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Legislature enacted HB 1355 “without clearly identifying why the law needed to be

changed, without creating much of a legislative record to document its reasons for

the change, and against the advice of the Florida State Association of Supervisors of

Elections.” Brown v. Detzner, 895 F. Supp. 2d 1236, 1239 (M.D. Fla. 2012).

      Before HB 1355, early voting in Florida began on “the 15th day before an

election” and ended “on the 2nd day before the election.” Florida, 885 F. Supp. 2d

at 308 (quoting § 101.657(d), Fla. Stat. (2010)). HB 1355 altered that scheme by

mandating that the early voting period begin “on the 10th day before an election and

end on the 3rd day before an election.” Id. at 309 (quoting § 101.657(d), Fla. Stat.

(2011)) (alteration deleted).

      By changing the end of the early voting period from the second day before an

election to the third day before an election, HB 1355 effectively banned early voting

on the Sunday before election day. Previously, Black churches had widely

encouraged their congregants to vote on the Sunday before election day in so-called

“Souls to the Polls” events. Tr. at 1730; see also Florida, 885 F. Supp. 2d at 335

(“[M]any African-American churches organize ‘souls to the polls’ drives to transport

their congregants to early voting sites on that Sunday.”). But even setting the Sunday

before the election aside, Black voters “disproportionately used the first five days of

the benchmark early voting period.” Florida, 885 F. Supp. 2d at 323. Indeed, Black

voters “used the repealed days of early voting at rates nearly double those of White

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voters in 2008.” Id. at 324. In other words, HB 1355 surgically removed only those

early voting days used disproportionately by Black voters.

        Ultimately, a three-judge panel in the District Court for the District of

Columbia declined to preclear HB 1355’s changes to the early voting period under

section 5 of the VRA because Florida did not meet “its burden” to establish “that its

statewide early voting changes will have a nonretrogressive effect” on minority voter

participation. Id. at 337. Because Florida could not show that its changes would have

a nonretrogressive effect, the court did not reach whether the Legislature enacted HB

1355’s early voting provisions with the intent to discriminate based on race. Id. at

351. A month later, the Middle District of Florida ruled on a similar issue and found

that HB 1355 did not violate the Constitution or the VRA. Brown, F. Supp. 2d at

1239.

        First, the court in Brown found that the Legislature did not enact HB 1355

with the intent to discriminate based on race. In doing so, the court acknowledged

that HB 1355’s amendments to early voting would “have a disproportionate effect

on minority voters.” Id. at 1246. It also acknowledged testimony that the Legislature

made amendments to HB 1355 in an “unusual” manner, that the Legislature limited

public testimony to three minutes, and that legislators used a “strike-all” amendment

to alter the law the day before the Senate Rules Committee considered it. Id. at 1247.

Next, the court noted that a senator had made racially charged statements on the

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senate floor that “could be considered evidence of discriminatory purpose.” Id.

(quoting Florida, 885 F. Supp. 2d at 354). And the court conceded that the former

chairman of the Florida Republican Party had, in an unrelated case, testified to

participating in meetings “in which ‘not letting blacks vote’ and ‘suppressing black

voters in Florida’ was discussed.” Id. at 1248. Even so, the court determined that the

plaintiffs were unlikely to succeed on their intentional discrimination claim. Finally,

the court also rejected the plaintiffs’ discriminatory results claim, concluding that

HB 1355 would not “result in a denial or abridgement of the right to vote on account

of race.” Id. at 1255.

      Besides changing Florida’s early voting rules, HB 1355 also altered Florida’s

scheme regulating 3PVROs—which, as explained below, overwhelmingly serve

minority communities. Before HB 1355, “Florida law required an organization, upon

receipt of a voter-registration application, to ‘promptly’ deliver it to a voter-

registration office.” League of Women Voters of Fla. v. Browning, 863 F. Supp. 2d

1155, 1159 (N.D. Fla. 2012). HB 1355 changed that by requiring “voter-registration

organization[s] to deliver a voter-registration application to the Division of Elections

or the local supervisor of elections ‘within 48 hours after the applicant completes it

or the next business day if the appropriate office is closed for that 48-hour period.’ ”

Id. at 1160 (quoting § 97.0575(3)(a), Fla. Stat. (2011)).




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       HB 1355 also required 3PVROs to disclose to the Division of Elections the

name of every volunteer who helps the organization register voters. Id. at 1163. It

also required the 3PVRO to report any change in this information within 10 days.

Id. Even more, the law required “registration agents”—anyone who helped register

voters—to file a sworn statement that the agent “will obey all state laws and rules

regarding the registration of voters.” Id. at 1164 (quoting § 97.0575(1)(d), Fla. Stat.

(2011)). And “[t]he statement ‘must be on a form containing notice of applicable

penalties for false registration.’ ” Id. (quoting § 97.0575(1)(d), Fla. Stat. (2011)).

Plus, as this Court noted, the Secretary of State had promulgated a form that falsely

suggested “that a registration agent commits a felony and could be imprisoned for

five years for sending in a voter-registration application that includes false

information, even if the registration agent does not know or have reason to believe

the information is false.” Id.

      HB 1355 also imposed various other onerous restrictions on 3PVROs that, for

the sake of brevity, this Court will not discuss here. Unsurprisingly, this Court

enjoined much of HB 1355’s restrictions on 3PVROs as violative of the First

Amendment and the NVRA. Id. at 1168. Accordingly, when other courts ruled on

HB 1355’s racial effects, they did not address its 3PVRO restrictions. See Florida,

885 F. Supp. 2d at 307.




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      In the next election cycle, HB 1355 had a predictable effect on Florida

elections: “voters stood in line for as long as six to eight hours for [early in-person

voting] or election day voting in Florida during the 2012 election.” Tr. at 1739. These

“long lines helped to reduce [early in-person] voting by 225,000” and “election day

voting by 250,000 between 2008 and 2012.” Id. at 1740. After a public uproar, the

Legislature restored the pre-2011 early voting hours. Id.

      Finally, a more recent piece of Florida legislation also merits discussion. In

2018, Florida voters overwhelmingly approved “Amendment 4, which restored

voting rights to former felons who had served their time.” Id. at 899. In response to

Amendment 4, the Legislature passed SB 7066, which required felons to pay all fees

they owed to the state before their voting rights could be restored. Id. As Dr. Austin

testified, SB 7066 “had more of an impact on African-Americans,” while 6% of the

non-Black population was disenfranchised by Florida’s prior regime, 15% of the

Black voting-age population was affected. Id.

      In Jones v. DeSantis, 462 F. Supp. 3d 1196 (2020), this Court considered

whether the Legislature enacted SB 7066 with the intent to discriminate based on

race. Summarizing the plaintiffs’ evidence, this Court explained that “the plaintiffs’

race claim draws substantial support from the inference—in line with the testimony

of the State’s own expert—that a motive was to support Republicans over

Democrats, coupled with the legislators’ knowledge that SB7066 would have a

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disparate impact on African Americans, who vote for Democrats more often than for

Republicans.” Id. at 1238. But given “other explanations for these SB7066

provisions, as well as evidence inconsistent with the inference of racial motivation”

this Court found that, “[o]n balance, . . . SB7066 was not motivated by race.” Id.

Still, this Court noted that “the issue is close and could reasonably be decided either

way.” Id. at 1235.

      Once is an accident, twice is a coincidence, three times is a pattern. Skilled

and well-respected judges from multiple courts examined the provisions discussed

above, and they all found that the Florida Legislature did not enact them with the

intent to discriminate based on race. But in all cases, the court acknowledged that

the law had discriminatory effects. This case is different because this Court now has

20 years of legislation before it. At some point, when the Florida Legislature passes

law after law disproportionately burdening Black voters, this Court can no longer

accept that the effect is incidental. Based on the indisputable pattern set out above,

this Court finds that, in the past 20 years, Florida has repeatedly sought to make

voting tougher for Black voters because of their propensity to favor Democratic

candidates.

      In summation, Florida has a horrendous history of racial discrimination in

voting. As a result, Florida has long had a government that is not responsive to the

needs of racial minorities. Because Florida’s government has historically been

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unresponsive to minorities, White Floridians outpace minorities by almost every

socioeconomic metric. Further, because of Florida’s racially charged past, race is

closely correlated with politics in modern-day Florida. Over two-thirds of registered

Republicans are White; roughly two-thirds of all Black voters are Democrats. And

Latino voters are split. Plus, almost all Florida elections are decided by razor-thin

margins. The toxic mixture of racially polarized voting and close elections amplifies

the risk that Florida’s elected officials will target voters based on their race. In the

past 20 years, that is what has happened. Florida has purged its voter rolls, the effects

of which fell disproportionately on Black voters. And when Black voters tended to

favor a form of voting, or when a change in the law opened more opportunities for

Black Floridians to vote, the Legislature has acted to restrict those opportunities.

This factor weighs in Plaintiffs’ favor.

        With this background in mind, this Court turns to the 2020 election, which

immediately preceded SB 90’s passage.

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        This Court next looks at the specific sequence of events leading to SB 90’s

passage. SB 90 has its genesis in the 2020 election, which was unique for many

reasons. In Florida, the 2020 election differed from past elections in two important

ways.

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      First, SB 90 saw a major shift in VBM usage, both in how many voters voted

by mail and in who voted by mail. Since 2014, voters have cast about 19.6 million

VBM ballots in Florida. Tr. at 2179. Put another way, VBM ballots make up about

39% of all ballots cast in Florida since 2014. Id. Across elections, VBM ballot use

has hovered around 30%. Id. at 2181. Historically, VBM use has not been distributed

evenly across racial groups.

      Looking at general elections, White and Latino voters have generally used

vote by mail in greater percentages than Black voters. Id. at 2184; ECF No. 467-5 at

36–37. For example, between 2014 and 2020, Black VBM use hovered around 20%.

Tr. at 2184. By contrast, during the same period, White VBM use hovered around

31% to 32%. Id. at 2185. In 2020, however, Black VBM use doubled to around 40%.

Id. at 2185; see also id. at 2580 (explaining that the 2020 election saw “100 percent

increase in [Black] usage” of VBM). On the other hand, White VBM use jumped to

45%. Id. at 2185. So while White VBM use remained greater, the gap between White

and Black VBM use shrunk from roughly 11% to 5%. Id.

      Turning to party affiliation, between 2014 and 2020, Democrats used VBM at

a rate of roughly 35.5%. See ECF No. 467-5 at 38. Republicans used VBM during

the same period at a rate of roughly 40%. See id. In 2020, however, Democrats used

VBM at a rate nearly 20% greater than Republicans (roughly 61% to 42%). See id.




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       As one of Plaintiffs’ experts testified, the ongoing pandemic contributed to

this surge in VBM usage. Id. at 2414. But that does not mean that the increase in

VBM use among Black voters and Democrats is a transient change. Instead, once

voters become habituated to using more convenient forms of voting—such as

VBM—we should expect many voters to continue using that form of voting. Tr. at

2413–18; see also id. at 2605 (testimony by Supervisor Earley that, in 2020, “people

that hadn’t been introduced to vote-by-mail saw that it was easy and secure and

something they felt comfortable doing”); id. at 1169 (testimony by Supervisor Scott

that people “plan to continue voting by mail in the future because they’ve discovered

how convenient it is”).

       Second, besides seeing a surge in VBM, the 2020 election saw a surge in

turnout generally. In 2016, Florida had a turnout rate of 74.5%; in 2020 the rate was

77.2%. To put this in perspective, 1,565,612 more voters voted in 2020 than in

2016. 21 That’s more than the entire population of Maine (1,372,247 people). U.S.

Census Bureau Quickfacts: Maine, United States Census Bureau (July 1, 2021),

https://tinyurl.com/2p8yzsfe.




       21
           Using Defendant Lee’s book closing reports, we know that there were 12,863,773
registered voters in Florida in 2016. So roughly 9,583,510 Floridians voted in 2016. In 2020, there
were 14,441,869 registered voters. So roughly 11,149,122 Floridians voted in 2020.

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      Despite the pandemic, the resulting shifts in VBM ballot use, and the massive

increase in turnout, Florida’s 2020 election went relatively well, as the Stanford-MIT

Healthy Elections Project explained:

             Overall, the 2020 general election went smoothly in Florida, and
      administrators successfully overcame the hurdles the pandemic erected.
      Canvassing boards counted absentee ballots earlier than in previous
      years, ensuring that election results were promptly available on election
      night. Both absentee voting and in-person voting went well with
      comparatively low absentee ballot rejection rates, few lines at polling
      places, except at the start of early voting, sufficient poll workers, and
      high compliance with mask-wearing requirements for in-person voting.
      The state experienced challenges as well, including a last-minute crash
      of the voter registration website, confusion surrounding a state law that
      permits former felons to vote after paying court fines and fees,
      ambiguity regarding the interpretation of rules pertaining to absentee
      ballot box drop boxes, instances of voter intimidation and polling place
      durations, and misinformation regarding voting processes.

Tr. at 1748. Unsurprisingly, Florida officials praised Florida’s election performance.

This included praise from Governor DeSantis, the Florida Supervisors of Elections,

Senator Baxley22 (SB 90’s Senate sponsor), Representative Ingoglia (SB 90’s House

sponsor), and Defendant Lee. Id. at 1752–53, 60; id. at 965.

      While Florida’s election went smoothly, this Court cannot ignore reality. The

2020 election and its aftermath, on a national scale, was chaotic, though scant

evidence was presented on this issue. Between the 2020 election and SB 90’s

introduction, then-President Trump refused to acknowledge that he had lost the


      22
           Recall that Senator Baxley also sponsored HB 1355.

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election, causing an escalating crisis that culminated in a mob storming the United

States Capitol on January 6, 2021. 23 This is not determinative, but this Court cannot

evaluate the Legislature’s actions without at least acknowledging these events.

Indeed, the Supervisors’ lobbyist, David Ramba, testified that considering “all of the

things that were on the national news and who stole what and everything else, we

knew that somebody was going to come up with a piece of legislation.” Tr. at 3101.

       As Mr. Ramba expected, in the first legislative session after the 2020 election,

the Legislature, through SB 90, made a sweeping set of changes to Florida’s election

code, with a specific focus on VBM.24 For context, between 2013 and 2020 the

Legislature made no changes to VBM. Id. at 1722. And the exact justification for SB

90 as a whole, and for its constituent parts, is difficult to pin down, with sponsors

and supporters offering conflicting or nonsensical rationales. Indeed, as Senator

Farmer testified, the rationale for SB 90 “was perhaps the most [elusive] answer we

faced.” Id. at 1517.




       23
            See Timeline: 2020 Election and Aftermath, Voice of America (Jan. 5, 2022),
https://tinyurl.com/yc4kcbyw. Indeed, some in the Legislature saw the connection. Representative
Hardy remarked that “[w]e’re not here because we have a problem with our elections. We are here
because the Republican former president lost his reelection in November. Rather than admitting
his defeat, he spun a web of lies.” ECF No. 462-29 at 19.
       24
          While Mr. Ramba testified that election bills often follow statewide elections, he
conceded that they are usually “less comprehensive” than SB 90. Tr. at 3101.

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       Upon an exhaustive review of relevant legislative materials, Plaintiffs’ expert,

Dr. Burch, testified that “in general” SB 90’s stated purpose was to proactively

“instill . . . voter confidence by ensuring election integrity and security.” Id. at 970.

This rationale is suspect for two reasons. First, in 2020, there was “high confidence

in the election outcome among Floridians.” Id. at 980. Indeed, Floridians were

“among the highest in the nation in terms of . . . voter confidence.” Id. at 981. To be

fair, however, these surveys came before some of the most troubling events of late

2020 and early 2021. That brings this Court to the second reason the voter confidence

rationale is suspect. In 2018, then-Governor Scott and then-President Trump alleged

election fraud in Florida. Id. 986–89, 1007. While those statements demonstrably

harmed voter confidence, the Legislature did not make any changes to the election

code in response. Id.

       Nor was there any evidence before the Legislature that fraud is even a

marginal issue in Florida elections. 25 Defendant Lee testified before the Legislature

that she was not personally aware of any instance in which a person received another

person’s VBM ballot and used it. Id. at 1762–63. And Senator Baxley explained that



       25
          This Court notes that there have been new allegations of voter fraud since the Legislature
considered SB 90, see ECF No. 454, and that the Legislature has voted to create a new “Office of
Election Crimes and Security,” see Fla. CS for SB 524, § 3 (2022) (creating § 97.022, Fla. Stat.).
But post hoc justifications say nothing about the Legislature’s intent at the time it passed SB 90.
Similarly, the creation of a voter fraud office cannot create a safe harbor for otherwise
discriminatory laws. To rule otherwise is akin to claiming the creation of a ghost hunting team
proves the existence of ghosts.
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he did not have any evidence of fraud involving drop boxes or any evidence of

widespread fraud involving VBM ballots. Id. at 1763–64. That concession was borne

out by the evidence in this case. Representative Thompson testified that, with one

exception discussed below, when the Legislature considered SB 90, “there was no

evidence of voter fraud” before it. Id. at 1456; see also id. at 1518 (“There was no

evidence whatsoever presented of any voter fraud problems in the 2020 election.”).

      Adding to the confusion, Senator Baxley sometimes denied that he intended

SB 90 to address election fraud at all. For example, Senator Baxley responded to a

question about VBM fraud by stating “[t]hat’s not the purpose of our bill.” Id. at

1765. Senator Baxley also responded to a similar question by stating that he was not

“trying to build a case on” election fraud. Id. at 1766.

      Similarly, Representative Ingoglia explained in response to a question about

the solicitation definition, “we’ve never said that any non-profit organization is

trying to influence votes.” ECF No. 462-31 at 30. In sum, upon evaluating the

legislative record, Dr. Kousser explained that “[w]hen specifically challenged about

whether there was fraud that SB 90 responded to, the authors of the bill repeatedly

said there was not; that’s not the purpose of the bill.” Tr. at 1767.

      Further undercutting the fraud rationale, when asked about fraud that actually

occurred during the 2020 election—“sham candidates” bribed by a former

Republican member of the Florida Senate to run in close South Florida elections and

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syphon votes from other, legitimate candidates—Representative Ingoglia candidly

admitted that “[t]here is nothing currently in this bill addressing that.” ECF No. 462-

9 at 52; see also Tr. at 976. Eventually, a provision was included that prohibited a

candidate from changing their party affiliation just before registering to run, which

aimed to address this issue. Tr. at 1545; see Ch. 2021-11, § 12, at 12, Laws of Fla.

(requiring that any person seeking to qualify as a candidate with no party affiliation

must swear in writing that “he or she is registered without any party affiliation and

that he or she has not been a registered member of any political party for 365 days

before the beginning of qualifying preceding the general election for which the

person seeks to qualify”). But other amendments that would have criminalized such

activity were rejected. Tr. at 1871–74.

      Finally, to the extent that legislators claimed that SB 90 prophylactically

prevents fraud that has yet to occur, Senator Farmer testified that the Legislature was

never presented with an example of any type of VBM fraud that SB 90 might

prevent. See id. at 1557.

      Beyond prophylactically responding to fraud or concerns of fraud, Legislators

offered alternative rationales for the legislation. Representative Ingoglia, for

example, explained that he saw no issues with election integrity, and that SB 90 was

really about consistency in election administration. ECF No. 462-9 at 43. But see

ECF No. 461-34 at 24 (testimony by Supervisor Hays to the Legislature that he had

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“yet to see anybody who can give us concrete evidence that that rule [requiring that

drop boxes be continuously monitored] was violated”). Generally, SB 90’s sponsors

struggled to identify a specific problem they were seeking to address. Tr. at 972.

      That said, specific provisions did have proffered justifications, although many

were just as questionable as SB 90’s overarching justifications. The VBM request

provision had two apparent justifications: (1) that it would make the voter file more

accurate by forcing people to update their address with the Supervisors by forcing

them to request VBM ballots more often, id. at 1009, and (2) “that people needed

[the ability] to choose . . . whether they would vote by mail or in person every year.”

Id. at 1009; see also ECF No. 461-37 at 16–17.

      While the first explanation is perhaps plausible, the second is not. Elaborating

on his reasoning, Senator Baxley stated that he wanted to give voters “the

opportunity to vote however they want to.” ECF No. 461-37 at 110–11. This

rationale is nonsensical. The Florida Election Code already addresses this issue by

permitting voters to vote in person even if they have also requested a VBM ballot.

§ 101.69(1), Fla. Stat. (“The provisions of this code shall not be construed to prohibit

any elector from voting in person at the elector’s precinct on the day of an election

or at an early voting site, notwithstanding that the elector has requested a vote-by-

mail ballot for that election.”). Senators raised this discrepancy on the Senate floor.

Tr. at 1013.

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       As for the VBM request identification provision, Senator Hutson explained

that “what we want to make sure is nobody can just get online or call the supervisor

with the irrelevant information and just change people’s vote-by-mail ballots.” ECF

No. 461-98 at 93. This rationale is also questionable, as Senator Jones recognized, a

voter can change their registration without any of the forms of identification the

VBM request identification provision requires. Id. at 94. Overall, though, this

justification is at least plausible.

       As for the drop-box provisions, the given justifications were threefold: (1)

without more restrictions, people may tamper with drop boxes, Tr. at 1015, (2) the

Supervisors were not using drop boxes properly, id., and (3) “the provision was

necessary to ensure the chain of custody of the ballot,” id.

       On the first point, Senator Baxley said that drop box tampering “is a regular

phenomenon that happens.” Id. at 1017. But at other times, Senator Baxley said he

had “never made the case against box tampering.” Id. at 1020. No evidence was

presented to the Legislature that drop box tampering actually occurs. Id. at 1021.

       The second justification has more merit. Mr. Ramba testified that the

Supervisors would have liked to see “some smaller clarifications” related to the rules

surrounding drop boxes. Id. at 3105.

       The third point, however, is nonsensical. Most VBM ballots are still deposited

through mailboxes, and for those ballots there will be no “chain of custody.” This

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issue was discussed repeatedly before the Legislature. For example, Supervisor Hays

asked legislators, “Who’s going to monitor the U.S. Postal Service boxes? You know,

I’m sorry, but there’s a dichotomy here that I personally cannot deal with. They’re—

you’re not going to pay for a cop to stand at the post office box, are you?” ECF No.

461-34 at 24. Similarly, Mr. Ramba described this discrepancy as “ridiculous.” Tr.

at 3105.

      For the solicitation provision, the justification appeared to be respect for

privacy. Tr. at 1025. Or perhaps to prohibit political solicitation. But as other senators

pointed out, Florida law already bans solicitation. Id. at 1026. Moreover, as Dr.

Kousser explained, voting is “very often a communitarian act”—especially in the

Black community. Id. at 1812–13.

      Finally, for the restrictions on 3PVROs, Senator Baxley falsely claimed that a

federal court order required SB 90’s changes. Id. at 1567. Senator Baxley was not

the only one to make this claim. In the House, Representative Gregory claimed that

“[t]his is a good commonsense regulation which, by the way, is absolutely required

by court ruling. It isn’t even as if we have a choice to do it.” ECF No. 462-29 at 45–

46. These claims, simply put, are false. As explained above, the last court ruling in

Florida addressing restrictions on 3PVROs, League of Women Voters of Florida v.

Browning, struck down a set of restrictions proposed by Senator Baxley. See 863 F.

Supp. 2d at 1159.

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      This Court knows that Senator Baxley and Representative Gregory were

alluding to Browning because the senate bill analysis for SB 90 refers to this Court’s

order entering a permanent injunction in 2012 following its decision in Browning,

and notes that the Department of State had already revised its rules to comply with

the injunction. See Fla. S. Comm. on Rules, SB 90 (2021) Post-Meeting Analysis

(April 20, 2021), https://tinyurl.com/mtuzzcx2; see also League of Women Voters v.

Detzner, Case No. 4:11cv628-RH/WCS, 2012 WL 12810507 (Aug. 30, 2012)

(permanent injunction and order for entry of judgment). To reiterate, nothing in the

injunction compelled the Legislature to require 3PVROs to return voter registration

applications in the county where the applicant resided. To the extent the legislators

suggested that this Court ordered this change in the permanent injunction following

Browning, that is simply not true.

      As with HB 1355, the Supervisors opposed SB 90. Indeed, Senator Farmer

remarked that, before SB 90, he had “never seen 67 different counties’ elected

officials agree on anything,” but, he remarked, the Supervisors were united in their

opposition to SB 90—a least until the very end when one Supervisor stated that they

did not “oppose” SB 90. Tr. at 1521. As Supervisor Hays told the Senate

Governmental Oversight and Accountability Committee, “nothing in this bill is on

our list of suggestions, with the exception of that one section giving us the

authorization to begin canvassing the vote-by-mail ballots after the logic and

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accuracy testing is completed. That’s the only thing that we are in favor of in this

bill.” Id. at 1028. Supervisor Earley likewise testified that “on balance we are against

this bill vehemently.” Id. at 1028. And Senator Brandes—a Republican—stated that

“to my knowledge, not one Republican supervisor has stood up and . . . said they

support this piece of legislation.” ECF No. 461-39 at 9. Even Representative

Ingoglia conceded that the Supervisors had not requested SB 90 and had reported no

issues related to election integrity or election fraud. See ECF No. 462-9 at 42–43.

      That said, it does appear the Legislature was somewhat receptive to the

Supervisors’ input. Mr. Ramba testified that 75% to 80% of the alterations to SB 90

during its trip through the Florida Legislature were based on his recommendations.

Tr. at 3101–02. As Mr. Ramba testified, the Supervisors were against many proposed

provisions that did not become law. These provisions would have cancelled all

requests for 2022 VBM ballots, banned drop boxes, and added signature match

provisions. Id. at 3117–19. On the other hand, some of the Supervisors’ priorities

made it into the final bill. For example, the Supervisors supported the registration

delivery provision and matching the 150-foot non-solicitation zone to the 150-foot

non-harassment zone provided for in a different section of the election code. Id. at




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3121. 26 But on the whole, the Supervisors would have preferred a much more limited

law. Id. at 3105.

      Despite the Legislature accepting some input, the Florida Supervisors never

issued a statement supporting SB 90. Id. at 3129. Supervisor Corley was blunter: “I

have so much I want to say about the motives, intent and content of this election bill

but, to be honest, beyond disillusioned, so I’ll keep my pie hole shut.” Id. Tellingly,

the Supervisors’ legislative priorities moving forward largely involve repealing some

of SB 90’s provisions. Id. at 3130–31. In summation, the Supervisors did not ask for

SB 90, did not want SB 90, and did not like SB 90. They were, however, able to

persuade the Legislature to back down on some points. But this hardly makes SB 90

a triumph for the Supervisors. Put another way, convincing someone to smash your

windows in place of burning down your house is a victory, but it doesn’t mean you

wanted your windows smashed.

                                            b

      As part of this Court’s consideration of the sequence of events running up to

SB 90’s passage, this Court also considers whether SB 90’s consideration in the

Legislature was marked by any procedural or substantive departures.




      26
           To be clear, however, the Supervisors did not seek a change to the definition of
solicitation. Id. at 3131–32.
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        Representative Geraldine Thompson serves on the House Public Integrity and

Elections Committee (PIE). Tr. at 1446. As one would expect, the Committee deals

with, among other things, election administration. Id. In line with the testimony set

out above, Representative Thompson testified that HB 7041 27 was different from

other election bills because “there was very little regard for the Supervisors’ opinions

and positions, and [HB 7041] was primarily a function of the Legislature.” Id. at

1447. Indeed, multiple Supervisors told Representative Thompson that they had not

requested HB 7041 and that they opposed its passage. Id. at 1448–49. Representative

Thompson testified that HB 7041’s journey through the House was unusual because

it was only presented to the PIE once. Id. at 1450. Representative Thompson also

testified that Representative Ingoglia’s use of a strike-all amendment was unusual—

not that strike-all amendments are unusual, but that the way it was used for HB 7041

was unusual. Id. at 1451. As Representative Thompson explained, “[r]arely is there

a strike-all offered once a bill is on the floor to be taken up for a vote.” Id. Rather,

strike-all amendments are typically offered “during committee.” Id. Representative

Thompson could not recall another time during the last session when a strike-all

amendment was used this way. Id. at 1453. Representative Thompson also explained

that the strike-all’s timing—it was offered around 1:30 a.m.—was “very unusual.”

Id.


        27
             SB 90’s equivalent in the Florida House of Representatives.
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        Further, Representative Thompson explained that even though—for lack of

better terminology—priorities of the Governor are sometimes “steamrolled” through

the Legislature, HB 7041 was still unusual. Id. at 1454. HB 1, she noted, was another

hugely partisan bill from the same session. And yet, legislators had “an opportunity;

we did have time to discuss it, to debate it, to offer amendments, unlike” HB 7041.

Id. Representative Thompson also testified that she was surprised Representative

Ingoglia “waived close” on his strike-all amendment. Id. at 1458. In other words,

Representative Ingoglia declined to speak in favor of his amendment before the

Legislature voted on it. This, Representative Thompson said, “was highly unusual.”

Id.

        This Court also heard from Representative Carlos Guillermo Smith. Id. at

1867. Representative Smith has been involved in the Legislature in some form for

11 consecutive sessions. Id. at 1869. Representative Smith reiterated many things

Representative Thompson said; namely, that while strike-all amendments are not

unusual, proposing one after legislation makes it to the floor is, that the timing of the

strike-all was strange, and the bill’s consideration overall was rushed. Id. at 1876,

1884.

        Finally, this Court heard from Representative Anna V. Eskamani. Id. at 1893.

She testified that “it tends to be the most controversial bills that are only given two

committee stops”—as she testified HB 7041 was—“in such a quick fashion where

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the opportunity for public testimony is very limited.” Id. at 1898; see also id. at 1929

(“I will say that when it comes to priority bills . . . , it might not be necessarily

unusual.”). Like the other Representatives, Representative Eskamani testified that

HB 7041 moved quickly through the House with little input from Democratic

Representatives. Id. at 1899. And, like the other Representatives, Representative

Eskamani testified that the use of a strike-all amendment outside of committee was

unusual—something she had never seen before. Id. at 1902–03. 28

        On the Senate side, this Court heard from Senator Gary Farmer, Jr. Id. at 1510.

Senator Farmer serves on the Senate Rules Committee, which considers most major

pieces of legislation before they go to the Senate floor. Id. at 1512–13. Senator

Farmer testified that he had concerns about the process under which the Legislature

considered SB 90. Id. at 1518. Many of these concerns related to COVID protocols,

which reduced public access to Senate proceedings. Id. at 1518–19.

        That said, even the pre-agreed COVID procedures were not necessarily

followed. For example, senators had agreed that elected officials and subject matter

experts would be permitted to testify in person. Id. at 1519. And for other bills, this

procedure was followed. Id. at 1520. Yet, despite requests from Senate Democrats,




        28
           On the strike-all issue, Dr. Burch testified that of the 227 bills that came before the Senate
in 2021, only seven were amended by strike-all within 24-hours before the bill was to be debated.
Id. at 1035. So it is not necessarily true that strike-all amendments are never used this way—at
least in the Florida Senate.
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the Supervisors were not permitted to give testimony about SB 90 in person. Id.

Senator Farmer testified that public comment was limited to one minute each—but

this was in part because of the high level of public interest. Id. at 1522. As for the

pace of consideration, analogizing to a court, Senator Farmer called it a “rocket

docket.” Id. at 1523. Senator Farmer testified that the constrained way in which SB

90 moved through the Legislature made it harder to make an informed decision on

the bill and to prepare and submit amendments. Id. at 1525–26.

      Senator Farmer did concede, however, that partisan priorities often move

quickly and forcefully through both chambers of the Legislature. Id. at 1536. Senator

Farmer also explained that, as compared to the past, the Florida Senate has become

more partisan and that senators have become less willing to work with those across

the aisle. Id. at 1536–37.

      For Defendants, this Court heard from Mr. Ramba. He testified that both the

House and Senate imposed COVID protocols. Id. at 3092. For the Senate, people

testified via two-way camera, at the House they testified in person. Id. Mr. Ramba,

testified that, other than the COVID protocols, the public comment for SB 90 was

no different than that for any other bill with similar interest in any other session. Id.

at 3095–97.

      Further, Mr. Ramba testified that it was not necessarily unusual for people to

get only a few minutes to address a legislative committee where many people are

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lined up to speak. Id. at 3097. He also testified that the House and Senate both had

workshops before SB 90 was filed. Id. at 3103. Plus, Mr. Ramba testified that two

committee stops for a bill is not unusual for a bill that “a presiding officer . . . really

likes.” Id. at 3103. Mr. Ramba was also asked whether there was anything unusual

about the way the strike-all amendment was used with SB 90. Id. at 3114. Mr. Ramba

explained that “[t]here weren’t any new issues in the April 27th strike-all. It was kind

of making the bill smaller and clarifying different sections of it.” Id. at 3115. Thus,

using a strike-all in this context was sensible. Mr. Ramba, however, did not say that

using a strike-all in this way was normal.

      Considering the above testimony, this Court concludes that the procedure used

to pass SB 90 was unusual writ large, but not necessarily so for a hyper-partisan bill

such as SB 90. Put another way, this sort of procedure is what one would expect to

see if the Legislature was in fact motivated by race, but it is also what this Court

would expect to see if the Legislature had some other nefarious motivation—such

as partisanship. Accordingly, this Court concludes that this factor does not strongly

weigh one way or the other.




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                                          c

      Finally, for the events leading to SB 90’s passage, case law also instructs this

Court to consider the contemporary statements and actions of key legislators. On top

of the actions and statements set out above, this Court highlights a few particularly

relevant statements. This Court begins with a telling text message exchange between

Representative Ingoglia and Senator Gruters (the Chairman of the Florida

Republican Party). The exchange is reproduced below (Senator Gruters’s messages

are gray and Representative Ingoglia’s are blue).




ECF No. 468-2 at 1.




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ECF No. 468-2 at 2.

      While these communications do not show a racially discriminatory intent,

they do suggest that the Legislature passed SB 90 with partisan purpose. As several

Supervisors testified, before SB 90, although VBM requests were limited to four

years, many Supervisors offered an option to simply renew VBM requests by

checking a box. In effect then, a VBM request could be permanent before SB 90.




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      Democrats overtook Republicans in VBM use in dramatic fashion in 2020. As

Senator Gruters complains, it will be difficult for the Republican Party to make up

that ground. Further, voters who request VBM ballots automatically get those ballots

for municipal elections. See Tr. at 1210. And as Supervisor Scott explained, “we’ve

seen directly that there was an increase in voter participation in those municipal

elections as a result of more people requesting vote-by-mail ballots for the 2020

cycle.” Id. at 1211. When asked whether SB 90’s “change to the validity period of

vote-by-mail ballots will reduce turnout in municipal elections,” Supervisor Scott

replied, “without a doubt.” Id. Similarly, Supervisor White testified that she believed

that standing VBM requests increased turnout in midterm, municipal, and local

elections. Id. at 1349.

      If Democratic voters continue to receive VBM ballots—which effectively

doubles as a reminder that a local election is coming up—Democratic turnout will

be much higher in local elections moving forward. That would, as Senator Gruters

stated, put “at [r]isk all Republican non partisan” candidates. ECF No. 468-2 at 2.

So something needed to be done about the Democratic lead in VBM requests.

Frankly, this is just about the only justification for the VBM request provision this

Court has heard that makes any sense.

      Switching gears, at trial, Plaintiffs also highlighted problematic statements

that some of SB 90’s supporters made on the Senate floor. In one instance, Senator

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Powell spoke about his grandmother and how “[f]or 54 years of her life she was not

allowed to vote and for the last 40 it may have still been questionable.” ECF No.

462-8 at 22. In response, Senator Boyd said, “elections don’t sneak up on us” and

while “[i]t’s our right to vote, it’s also our responsibility to prepare to vote.” Id. at

26–27. And at one point, Senator Huston remarked, “the only excuse that you have”

if you do not vote “is that you’re lazy.” Id. at 29. That Senators Boyd and Hutson

trotted out one of the oldest racial tropes known to man 29 in response to concerns

about minority disenfranchisement probably says something about them, but it does

not tell this Court much about the Legislature’s motivations as a whole.

       In a similar vein, this Court heard testimony that, throughout his career,

Senator Baxley has “stopped a bill from being further considered which would have

established a slavery memorial” because he did not want to “celebrate defeat,”30

fought to keep the racial epithet, “darkie,” in the state song, “opposed a bill that

would ban the display of Confederate flags on state and local government property,”

and “opposed a bill to replace a . . . statue of [Confederate] General Edmund Kirby

Smith with one of Mary McLeod Bethune, Black educator and civil rights worker.”


       29
           See, e.g., Gary M. Segura & Ali A. Valenzuela, Hope, Tropes, and Dopes: Hispanic and
White Racial Animus in the 2008 Election, 40 Presidential Stud. Q. 497, 501 (2010) (“Stereotypes
that African Americans are lazy or unintelligent form the basis for old-fashioned prejudice and the
belief that African Americans are inferior to Whites.”).
       30
           See Kristen M. Clark, A Senator Said a Florida Slavery Memorial would “Celebrate
Defeat.” Lawmakers are Furious, Miami Herald (Apr. 28, 2017, 10:47 PM),
https://tinyurl.com/2p939s8s.
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Tr. at 1805.31 Because Senator Baxley sponsored SB 90, this evidence has some

marginal relevance. But Senator Baxley is one of 40 senators. And just as with

Senators Boyd and Hutson’s statements, Senator Baxley’s deeply troubling

statements and actions cannot tell this Court much about the Legislature’s

motivations.

       That said, the most important statement for this Court’s purposes did come

from Senator Baxley. In an exchange, Senator Berman asked Senator Baxley, “[a]re

you aware that the restrictions in this legislation including those related to drop box

and access to voter assistance will have a disparate impact on black voters?” To

which Senator Baxley responded, after denying SB 90 would disenfranchise anyone,

“[n]ow to look at patterns of use and say, well, you may have to go about it a little

different way. There’s a learning curve.” ECF No. 461-98 at 100. This statement is

particularly relevant to this Court’s analysis of whether SB 90’s impacts—which, for

some provisions, this Court finds are racially disparate—were foreseeable and

whether the Legislature knew of those impacts. As Senator Baxley acknowledges,

(a) he has looked at data showing that Black voters use drop boxes in ways SB 90

restricts, and (b) he knows that this data shows Black voters will be impacted by SB




       31
            One would have hoped that, as a funeral director, Senator Baxley would have recognized
that it’s time to put the Confederacy to rest.
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90. This Court will return to this statement when it considers whether SB 90’s

disparate impacts were foreseeable.

      To recap, the 2020 election in Florida was unprecedented in several ways. It

saw record turnout, it saw record VBM use among Black voters and Democrats, and

it was quite successful. Despite this success, in the first legislative session after the

2020 election, the Legislature moved to overhaul Florida’s election code. But

legislators struggled to articulate why they were doing so—offering conflicting and

nonsensical rationales. The Supervisors, experts in their field, widely panned SB 90

and refused to support it. And even though the Supervisors persuaded the Legislature

to back down on some of its most restrictive proposals, the Supervisors’ association

ultimately did not endorse SB 90.

      In backroom discussions, however, legislators were more cogent. Indeed, the

only rationale for SB 90 that makes any sense—benefitting the Republican Party—

was offered in a private text message chain. Finally, although legislators struggled

to publicly explain why SB 90 was needed, its sponsor candidly admitted that it

would harm Black voters. For these reasons, the sequence of events leading to the

passage of the challenged law supports Plaintiffs’ claims.

      With this particular sequence of events, and the broader historical context set

out above, in mind, this Court now looks to SB 90’s effects.




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                                            a

      Next, this Court considers SB 90’s effects. But first, a conceptual point.

Plaintiffs’ two experts on SB 90’s effects—Dr. Smith and Dr. Herron—both used a

framework called the calculus of voting. Many political scientists use this

framework. Tr. at 2225. Put simply, the calculus of voting “describes [each] voter[’s]

decision to turnout [as] a comparison of costs and benefits.” Id. When costs exceed

benefits, the voter doesn’t vote; when the benefits exceed costs, the voter votes. Id.

Accordingly, the higher the cost to vote, the lower the turnout; the lower the cost,

the higher the turnout. Id. at 2226–27.

      The calculus-of-voting framework recognizes two benefits to voting: (1)

instrumental and (2) expressive. Id. at 2227. Instrumental benefits refer to what a

voter gains by possibly being the decisive voter in an election. Id. Expressive

benefits inure from the value that a voter places on the act of voting itself. Id.

      There are also costs to voting: transportation costs (i.e., taking the bus,

driving, or walking to the polls, etc.), information costs (i.e., learning how to vote,

where to vote, etc.), and time costs (i.e., waiting in line, time spent traveling to the

polls, etc.). Further, because registration is a prerequisite to voting, any cost to

register is also a cost to vote. Id. at 2228–29.




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      Voting’s costs are not borne equally across the electorate. See id. at 2231. For

example, voters without cars face a greater burden from transportation costs. Id.

Similarly, voters with inflexible work schedules will face a greater burden from time

costs, id., and information costs fall more heavily on voters without internet access.

Id. at 2232. Thus, while SB 90 imposes burdens on all Floridians, it does not do so

equally. Having clarified this concept, this Court turns to the challenged provisions.

                                                b

      Start with drop boxes. Drop boxes first appeared in Florida in the early 2000s.

Id. at 2396. For the next 10 to 15 years, drop boxes slowly grew in popularity. And

until 2019, drop boxes were unregulated at the state level. Id. at 2396–97. That year,

the Florida Legislature first sought to regulate drop boxes as part of SB 7066.32 The

new drop-box provisions permitted the use of secure drop boxes from the time VBM

ballots went out until election day. Id. at 2398; see also § 101.69(2), Fla. Stat. (2019).

It also required the Supervisors to place drop boxes at their main offices, branch

offices, and early voting sites. § 101.69(2), Fla. Stat. (2019). SB 7066 also

permitted—or rather, did not prohibit—the use of 24/7 drop boxes. Tr. at 2398.

      SB 90 changed this landscape by requiring a Supervisor’s employee to

continuously monitor each drop box in person while the drop box is in use.

§ 101.69(2)(a), Fla. Stat. (2021). It also drastically constrains when drop boxes can


      32
           Recall that SB 7066 also restricted the reach of Amendment 4.
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be used by limiting drop-box use—except for drop boxes at the Supervisor’s

offices—to “the county’s early voting hours of operation.” Id. As mentioned above,

SB 90 also imposes a $25,000 sanction on the Supervisors for non-compliance. Id.

§ 101.69(3). Multiple Supervisors testified to the effect SB 90 will have on their drop

box operations.

      Before SB 90, Miami-Dade County offered drop boxes in 33 locations during

early voting hours, and in four locations on the Monday before election day and

election day. Tr. at 1365–66. Because Miami-Dade County already manned drop

boxes, SB 90 will have a limited effect on drop-box availability. See id. at 1395.

Still, as a result of SB 90, Miami-Dade County will offer two fewer drop boxes on

the day before the election and on election day. Id. at 1367.

      In Broward County, Supervisor Scott plans to offer eight drop boxes during

the last 2 days of voting—but absent SB 90, he would have offered at least 40. Id. at

1205. Supervisor Scott explained that this gap in election day drop boxes will have

a major effect on Broward County voters. See id. at 1199.

      In Leon County, Supervisor Earley testified that he would have to move drop

boxes inside if he does not have enough staff to supervise them. Id. at 2662. That

said, he expects to have enough funding to staff each drop box. Id. Supervisor Earley

is also considering removing a small mail slot at his office that allowed voters to




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deposit VBM ballots, but his decision hinges on the outcome of this case. Id. at

2663–64.

       As for Pasco County, Supervisor Corley testified that he will not offer as many

drop boxes in 2022 as he did in 2020. Id. at 1291. This is because he is offering 12

early voting sites in 2022, while in 2020 he offered 14. Id. Because it is not unusual

to have fewer early voting sites during a midterm year than a presidential election

year, it is unclear from Supervisor Corley’s testimony whether SB 90 caused Pasco

County to offer fewer drop boxes.

       For Lake County, Supervisor Hays testified that, in 2020, he made drop boxes

available long before an election—the same day he mailed out VBM ballots—and

all the way through election night. ECF No. 549-2 at 66.33 Lake County had 12 early

voting sites, and thus 12 corresponding drop boxes, that were available from 10:00

a.m. to 6:00 p.m., id. at 64, a drop box at the Supervisor’s office that was open from

8:00 a.m. to 6:00 p.m., id., and finally, a drop box outside the Supervisor’s office

that was available 24/7, id. Supervisor Hays added that his 24/7 drop box was

extraordinarily popular—especially outside business hours and on weekends. Id. at




       33
          As stated above, Supervisor Hays testified that he made drop boxes available at the same
time he sent out VBM ballots, which he believed to be 35 days before any election. ECF No. 549-
2 at 66. Supervisor Hays, no doubt, was right that he sends out ballots 35 days before an election.
The law, however, provides that the Supervisors must send out VBM ballots between 40 and 33
days before an election. § 101.62(4)(b), Fla. Stat. Accordingly, before SB 90, Supervisors could
offer drop boxes up to 40 days before an election.
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213. Because of SB 90, Lake County will no longer offer the 24/7 drop box. Id. at

79.

        In 2020, Hillsborough County offered 26 early voting sites—and thus 26

corresponding drop boxes. ECF No. 549-3 at 37. Plus, at the Supervisor’s four

offices, drop boxes were available outside of early voting hours—one of which was

available 24/7. Id. Supervisor Latimer testified that the 24/7 drop box was especially

helpful to voters who work, for example, 12-hour shifts, and thus could not use the

drop boxes available during regular business hours. Id. at 163. Overall, drop boxes

were popular in Hillsborough County, accounting for 45% of the 337,800 VBM

ballots returned, or about 152,000 ballots. See id. at 106. Supervisor Latimer testified

that he would have two fewer drop box locations in 2022, but that this was unrelated

to SB 90. Id. at 45. He also testified that he will no longer offer a 24/7 drop box. Id.

at 120.

        Finally, while Lee County Supervisor Tommy Doyle testified that SB 90 “was

quite a change when it came to drop boxes,” it will not impose any changes on Lee

County. This is because Lee County did not offer drop boxes other than at the

Supervisor’s office outside of early voting hours and because Lee County stopped

offering 24/7 drop boxes before SB 90. Tr. at 3196, 3199.

        Besides hearing from Supervisors, this Court also heard expert testimony

about SB 90’s effect on drop-box availability. Dr. Smith testified that, in 2020, 485

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drop boxes were offered across Florida. Tr. at 2454. 34 Dr. Smith also concluded that

122 of those drop boxes would become unavailable because of SB 90. Id. at 2455.

These drop boxes fall into two groups. First, Dr. Smith identified 65 24/7 drop boxes

that were not continuously monitored. Id.; see also id. at 2291 (testimony by Dr.

Herron to the same effect). Second, Dr. Smith identified 57 drop boxes that were not

at a Supervisor’s office but were available outside of early voting hours. Id. As

explained above, SB 90 prohibits both types of drop box.

      Further, Dr. Smith testified that SB 90 will affect 53 of Florida’s 67 counties.

Id. at 2458. For example, before SB 90, 48 counties offered 24/7 drop boxes. Id. at

2460. In SB 90’s wake, 29 of them—or 60%—have said that they will no longer

offer 24/7 drop boxes. Id. And only 4 counties have affirmatively committed to

maintaining 24/7 drop boxes (15 counties remain undecided). Id.

      Dr. Smith also testified that drop boxes were extremely popular on the days

outside the early voting period. For example, in Columbia County, 50.3% of all

ballots cast by drop box were cast outside early voting hours. Id. at 2468; ECF No.

467-7 ¶ 146. In Indian River County, 72% of all drop box ballots were cast outside

of early voting hours. ECF No. 467-7 ¶ 160. Similarly, the number was 57% in St.

Lucie County, id. ¶ 167, 66.6% in Franklin County, id. ¶ 189, 54.3% in Polk County,

id. ¶ 198, and 52.2% in Okeechobee County, id. ¶ 195. And in Pinellas County,


      34
           Similarly, Dr. Herron concludes that roughly 488 drop boxes were available. Tr. at 2290.
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76,987 ballots (almost 40% of all drop box ballots) were cast using drop boxes that

SB 90 prohibits. Tr. at 2470.

       Even in counties where most drop box voters submitted their ballots during

early voting hours, drop boxes remained popular outside of early voting hours. For

example, 36% of the drop box ballots submitted in Hernando County—10,200

ballots—were submitted outside the early voting period. ECF No. 467-7 ¶ 164. In

Madison County, 49.7% of drop box ballots were cast outside the early voting

period. Id. ¶ 172. In Lee County, 40.5% of all drop box ballots cast (38,530 ballots)

were cast before the early voting period. Id. ¶ 178. Similarly, 66.6% of all drop box

ballots cast in Franklin County were cast before the early voting period. Id. ¶ 189.

Again, SB 90 drastically restricts drop-box usage at the times these ballots were cast.

       Finally, Dr. Smith also looked at three counties that provided hour-by-hour

data on 24/7 drop-box usage—Manatee, Okeechobee, and Indian River. Tr. at 2474–

75. In Okeechobee, 27.3% of drop box ballots were deposited after hours, 21% in

Indian River County, and 11.6% in Manatee County. 35 Further, in Putnam County,

40% of all drop box ballots were submitted through a 24/7 drive-through drop box.

ECF No. 467-7 ¶ 176. In short, 24/7 drop boxes were popular during the 2020

election.



       35
          The actual number in Manatee County was likely higher, but Dr. Smith only had data for
the 24/7 drop box ballots cast during early voting. Tr. at 2475.
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      At bottom, SB 90 does not eliminate drop boxes, and voters will continue to

use them. But SB 90 will make drop boxes less accessible before early voting begins,

on the day before election day, and on election day—days when many voters

(possibly most voters) use drop boxes. SB 90 will also reduce the number of drop

boxes available outside of regular business hours—another popular period for drop

boxes. Another way to think about SB 90, then, is that it largely eliminates the

features that made drop boxes more convenient than early-in-person or election-day

voting. Thus, this Court concludes that SB 90 will burden voters who use drop boxes.

And the evidence before this Court suggests that these voters are disproportionately

likely to be Black.

      Black voters favor drop boxes more than other racial groups. This Court draws

this conclusion relying on Plaintiffs’ expert, Dr. Herron, who looked at drop-box

usage in three ways. First, he looked at data that various Supervisors produced on

drop-box use in their counties. Id. at 2251. Dr. Herron used county data because the

Department of State does not maintain data on drop-box use. Id. Taking aggregated

data from the 46 counties that produced drop box information, Dr. Herron sought to

identify any relationships between race and drop-box usage. Id. at 2255. Ultimately,

Dr. Herron found “suggestive evidence that counties with more . . . Black vote by

mail voters are also counties that . . . had greater drop-box usage rates.” Id. at 2256.

This correlation, however, was not statistically significant. Id. Thus, this evidence is

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merely suggestive of a correlation between race and drop-box usage. But a more

granular analysis also suggests that Black voters use drop boxes at greater rates than

White and Latino voters.

      Second, Dr. Herron looked to what he termed “drop box logs”—“lists of

individuals who cast drop box ballots”—from five counties. Id. at 2257. By merging

this data with state-level election data, Dr. Herron could determine “if any individual

drop box voter is,” for example, “young or old, or White or Black.” Id. The five

counties Dr. Herron looked to—Sarasota, Santa Rosa, Columbia, Madison, and

Franklin—are not necessarily representative of the entire state, and Franklin and

Madison Counties provided data for only the primary and general elections. Id. at

2259. Still, this is the best available data. With this data, Dr. Herron used a logistic

regression—a type of statistical model—to analyze the relationship between drop-

box usage and race in Columbia, Santa Rosa, and Sarasota Counties. Id. at 2260.

Without digressing into the minutiae of statistical modeling, a positive and

statistically significant coefficient estimate for a particular racial group signifies a

positive correlation between being a member of that group and using a drop box. Id.

at 2265.

      Ultimately, Dr. Herron concluded that “being a Black vote-by-mail voter

means you are more likely to use a drop box than being a White vote-by-mail voter.”

Id. at 2268. Indeed, in the general election, a Black VBM voter in Columbia, Santa

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Rosa, and Sarasota Counties had, on average, 14% greater odds than a White VBM

voter of voting by drop box in the general election. See ECF No. 567-1. 36 And in the

presidential preference primary and the primary elections, the relationship was even

more pronounced—Black VBM voters had, on average, 48% and 25% greater odds,

respectively, of voting via drop box than White VBM voters. For other racial groups,

Dr. Herron did not find statistically significant or consistent relationships between

race and drop-box usage. Id. at 2270–71.37

       That said, race’s effect on drop-box use appears less pronounced than the

effect of party on drop-box usage—for example, Republican VBM voters had on

average roughly 18% lesser odds of using a drop box than Democratic VBM voters

in the general election. Still, whether a voter is White or Black appears to have a

meaningful and remarkably consistent connection with drop-box usage.

       How persuasive is this evidence? As noted above, Columbia, Santa Rosa, and

Sarasota Counties are all “very White counties” and thus not representative of

Florida as a whole. Id. at 2274. When asked how this affected his analysis, Dr.


       36
          These odds are calculated by taking a coefficient from table 14 of Dr. Herron’s report—
for example, 0.131—and subtracting 1 from e (e is roughly equivalent to 2.71828) to the nth power
(with n being the coefficient) and then multiplying the result by 100. See David W. Hosmer &
Stanley Lemeshow, Applied Logistic Regression 49–50 (2d ed. 2000). Here e to the 0.131 power
equals roughly 1.14. Then 1.14 - 1 = 0.14. And 0.14 × 100 = 14. So, there is on average 14%
greater odds that a Black VBM voter would use a drop box than a White VBM voter in Columbia,
Santa Rosa, and Sarasota Counties during the 2020 general election.
       37
          It bears noting, however, that the Latino populations of the counties for which Dr. Herron
had data is small, and not at all reflective of the rest of the state.
                                                99
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Herron explained: “I would say it make[s] me more confident that there is truly a

relationship between race and drop-box usage.” Id. at 2277. This is so, Dr. Herron

explained, because he detected a correlation between being Black and using a drop

box despite the unrepresentatively small Black populations in the counties for which

he had data.

        Third, and finally, Dr. Herron looked at how SB 90 limited the placement of

drop boxes. Looking at where a Supervisor could place drop boxes in each county,

and the number of registered voters in the county, Dr. Herron calculated the potential

number of voters per drop box in each county. Id. at 2289. As Dr. Herron explained,

“the most racially heterogenous counties . . . are places where the ratio of voters to

potential drop box location is high, and so . . . those counties are . . . particularly

burdened by SB 90’s restrictions on locations.” Id. at 2290. Dr. Herron based this

analysis on the number of early voting sites and Supervisors’ offices. Id. at 2289.

      But SB 90 permits drop boxes at “any . . . site that would otherwise qualify as

an early voting site.” § 101.69(2)(a), Fla. Stat. (2021). So it is unclear that Dr. Herron

has truly accounted for the universe of possible drop box locations. Still, this Court

finds that Dr. Herron’s reasoning would hold true for drop boxes outside of early

voting hours, where the universe of possible drop boxes is more limited. During that

period, the ratio of voters to drop boxes will be much higher in large, racially

heterogenous counties. This is important because, as explained below, other

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evidence suggests that Black voters use drop boxes more heavily outside early voting

hours than other voters.

       On the whole, Dr. Herron’s analysis suggests that Black voters are more likely

to use drop boxes, with the caveat that Dr. Herron drew on limited data to reach his

conclusion. Dr. Herron also concluded that SB 90 would place a greater burden on

counties with large minority populations. This Court finds Dr. Herron’s testimony

and analysis on this point credible. Taken together, this evidence suggests, and this

Court finds, that Black voters are more likely to use drop boxes than White or Latino

voters. 38

       Not only do Black voters disproportionately use drop boxes, but they also use

them in precisely the ways SB 90 prohibits. To reach this conclusion, this Court

relies on another Plaintiffs’ expert, Dr. Smith. Like Dr. Herron, Dr. Smith concluded

that the drop-box provisions would “have a disparate impact, negative impact, on

Black and Hispanic voters.” Id. at 2393. For the same reason Dr. Herron did so, in

evaluating the drop-box provisions, Dr. Smith looked at data from a limited number

of counties; namely, Columbia and Manatee counties. Id. at 2478.




       38
          Though discussed in much less detail, this conclusion is buttressed by Dr. Burch’s
testimony that other studies have found that, in Florida, Black voters were slightly more likely than
White voters, 29.6% versus 28.3%, to use drop boxes and much more likely than Latino voters to
use drop boxes. Tr. at 961.
                                                101
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       As explained in part above, the Columbia County Supervisor provided drop

box data on the individual level, including voter ID numbers and the day each ballot

was dropped off. Id. at 2478. Dr. Smith matched this information to individual voter

files, thus determining the demographic characteristics of the voters using Columbia

County’s drop boxes. Id. at 2479. Using this method, Dr. Smith concluded that—of

all the VBM ballots deposited in drop boxes by Black voters in Columbia County—

52.4% of them were deposited outside of early voting hours. Id. at 2479. For White

voters the number was 50.2%, and for Latino voters the number was 41.3%. Id. Dr.

Smith added that one in five Black VBM voters in Columbia County used a drop

box and that one in ten Black VBM voters used a drop box outside early voting

hours. ECF No. 467-7 ¶ 148. Reverse engineering Dr. Smith’s numbers, this Court

can conclude that—by comparison—roughly 3 in 25 White VBM voters used a drop

box outside of early voting hours in Columbia County.39

       Manatee County, on the other hand, only provided information for drop-box

usage during early voting hours, so Dr. Smith could not draw conclusions about drop

boxes’ popularity outside of early voting hours in Manatee County. Id. Still, because



       39
          Roughly 27,000 White voters voted in Columbia County. ECF No. 467-7 ¶ 148. And
27.8% of them voted by mail—i.e., roughly 7,506 White voters voted by mail. Of those 7,506
voters, 902 voted by drop box outside early voting hours, roughly 12% of all White VBM voters.
                                                                                      3
Then covert 12% to a decimal, here 0.12. Then, covert the decimal to a fraction, 25. Finally, we
can convert that fraction to a ratio, here 3 : 25. Thus, 3 in 25 White voters who voted by mail used
a drop box outside of early voting hours.
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Manatee County provided timestamps, Dr. Smith could determine which drop box

ballots were deposited outside of normal business hours. Tr. at 2480–81. Dr. Smith

found that 13.5% of Black voters and 13.4% of Latino voters deposited their VBM

ballots outside of normal business hours, compared to 11.4% of White voters. Id. at

2482. This Court finds Dr. Smith’s report and testimony on these points credible.

       Taking all the above evidence, this Court concludes that the drop-box

provision will have a disparate impact on Black voters. On the other hand, this Court

does not conclude that the drop-box provisions will have a disparate impact on

Latino voters.40

       First, Black voters use drop boxes at a greater rate than other racial groups.

Indeed, while the data from which to draw conclusions is limited, the results are

remarkably consistent. Across counties and across elections, Black voters use drop

boxes more than White voters. More importantly, Black voters tend to use drop

boxes in just the way that SB 90 targets. That is, Black voters disproportionately use

drop boxes outside of early voting and outside of typical business hours. When

viewed alongside Mr. Cooper’s demographic testimony, these conclusions make

sense, and bolster this Court’s confidence in its conclusion.




       40
         It may well be that Latino voters do disproportionately favor drop boxes. Ultimately,
however, this Court is limited to expert testimony based on data from counties with very small
Latino populations, and thus this Court has very little information to go on.
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      Black voters are overrepresented in the service sector, and they are

underrepresented in management positions. So Black voters will typically work less

flexible hours. They also have less access to transportation and travel farther to and

from work. Thus, it is reasonable to conclude that it is harder for Black voters to get

to a polling location during regular business hours. Finally, because Black voters

have less access to broadband internet, they will have a harder time figuring out

when drop boxes will be open, and thus they will be disproportionately harmed by

laws complicating drop box procedures. See, e.g., id. at 1199 (testimony by

Supervisor Scott that, at just one polling location on election day, hundreds of people

would attempt to turn in VBM ballots only to learn “that they needed to go to the

Lauderhill Mall,” and that “most of the people could not make that trip for various

reasons and were not able to go and drop off their ballots”). Put another way, SB

90’s drop-box provisions increase the time, transportation, and information costs of

voting by drop box. Because of the lingering effects of past discrimination, these

costs will fall more heavily on Black voters. Accordingly, this Court concludes that

the drop-box provisions have a disparate impact on Black voters. This disparate

impact weighs in Plaintiffs’ favor with respect to their challenge to the drop-box

provisions.




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                                           c

      Next, this Court considers the VBM request provision. To reiterate, this

provision reduces the lifespan of standing VBM requests from two general election

cycles to one (i.e., from four years to two years). Compare § 101.63(1)(a), Fla. Stat.

(2021), with § 101.62(1)(a), Fla. Stat. (2019). As to this provision, Dr. Smith testified

that “Black voters . . . were more likely to have [a] standing [VBM] request than

White voters.” Tr. at 2494. As Dr. Smith noted in his report, he could try to determine

the racial characteristics of voters with standing VBM requests by looking at the

counties’ daily VBM reports released ahead of the 2020 general election. ECF No.

467-7 ¶ 102. Dr. Smith looked to the first VBM activity report from the 2020 general

election—which was released on September 4, 2020. Id. ¶ 103. In that report, those

voters with a status code of “R” had requested a VBM ballot in the 2020 election.

Id. ¶ 104. Those with a status code of “S” had a standing request. Id. But the picture

is muddled because the Supervisors change “S” codes to “R” codes once the request

has been processed. Id. Nonetheless, 1.89% of Black voters had an “S” code in the

September report, compared to 0.48% for Latino voters, 1.19% for those of “other”

races, and 1.30% for White voters. Id. ¶ 104. Thus, according to this limited data, in

2020, Black voters were most likely to have a standing VBM request.

      This Court accepts Dr. Smith’s report and testimony for what it is—

indeterminate at best. Thus, this Court finds that the VBM request provision’s racial

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impact is unclear. Thus, for the VBM request provision, this factor does not weigh

strongly one way or the other.

                                                 d

       Now, this Court turns to the VBM request identification provision. To recap,

this provision requires voters requesting a VBM ballot to provide their Florida

driver’s license number, Florida ID number, or the last four digits of their social

security number.41 It also requires the Supervisor to accept the request only if the

identification provided matches that “in the supervisor’s records.”

       During discovery, the Division of Elections produced a data file of 587,207

individual voters entitled “LitigationRR_NoDL-SSN_20210722_.txt.” Tr. at 2517–

18; ECF No. 467-7 ¶ 78. As Dr. Smith explained in his report, he has “yet to find

documentation about how, or why, o[r] for whom this file was created, or the source

and date when the data were derived.” ECF No. 467-7 ¶ 55. Looking at the file, Dr.

Smith noted that it appeared to have “the same structure as the FVRS” 42 and “could

be a subset of the FVRS.” Id. ¶ 80. The file also “appear[ed] to be in the range of the

missing 585,006 voters the Division of Elections flagged as having ‘no Dl or ssn’

or” as having “an ‘incomplete DL or ssn’ on record.” Id. ¶ 79. Dr. Smith used this


       41
          This is in addition to the name, address, date of birth, driver’s license number, ID
number, SSN, or appropriate affirmation, and signature necessary to register to vote. See
§ 97.052(5)(a), Fla. Stat.
       42
          “ ‘FVRS’ refers to the Florida Voter Registration System that contains the official list of
registered voters in the state.” Fla. Admin. Code R. 1S-2.039(2)(c).
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file to evaluate the VBM request identification provision’s racial effects, Tr. at 2518,

even though, in his report, he candidly acknowledged that “[t]here is no way for me

to verify . . . what form of IDs the 587,207 registered voters identified by the

Division of Elections [in the data file] may or may not have on file,” ECF No. 467-

7 ¶ 80. In turn, this Court cannot assess the veracity of Dr. Smith’s analysis based on

this data. And further undercutting Dr. Smith’s analysis, Director Matthews testified

that, since SB 90 passed, the number of voters without the requisite identification

has dropped “from 600-plus thousand to 400,000.” Tr. at 3408, 2785. Thus, even if

the file Dr. Smith analyzed did actually reflect those voters without identification at

the time it was created, it is not clear his conclusions would hold true today, as we

do not know the demographic makeup of the roughly 100,000 voters who now have

identification on file. Still, this Court briefly address Dr. Smith’s analysis below.

      Using the data from the NoDL-SSN file, Dr. Smith sought to analyze the racial

breakdown of those without any of the forms of identification that SB 90 requires.

Tr. at 2518. Ultimately, Dr. Smith determined that, of the individuals with no

requisite form of identification, 80.18% were White, 12.70% were Black, 3.92%

were Latino, and 3.20% were “other.” Id. at 2519; ECF No. 467-7 ¶ 81. Thus, White

voters are overrepresented among those with no requisite form of identification.

      Dr. Smith then noted that 97.7% of the voters in the NoDL-SSN file had

registered before 2006, the year Florida implemented the Help America Vote Act

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(HAVA). Tr. at 2522; ECF No. 467-7 ¶ 84. Dr. Smith then looked to the 2.3% of

voters from the NoDL-SSN file who registered post-2006. He found that 30.21%

were Black, 21.53% were Latino, 34.62% were “other,” and 13.65% were White. Tr.

at 2525; ECF No. 467-7 ¶ 88. Accordingly, Dr. Smith determined that the VBM

request identification provision would have a disparate impact on Black and

Hispanic voters. Tr. at 2533. When asked why he relied on post-HAVA trends to

reach this conclusion, Dr. Smith explained he did so, and that it made sense to do so,

“because that is the regime that is in place post-HAVA.” Id. at 2530. This Court finds

Dr. Smith’s circular explanation unconvincing.

      In sum, there is some evidence based on Dr. Smith’s testimony and report that

(a) White voters will be most impacted in the short term by the VBM request

identification provision, and that (b), in the future, the VBM request identification

provision could have a disparate impact on minority voters. That said, because Dr.

Smith is not sure what the numbers he relied on show, even these conclusions are

suspect. This Court thus does not accept Dr. Smith’s testimony on this point and

finds that the racial impact of the VBM request identification provision is unclear.

Accordingly, the evidence of impact does not strongly weigh one way or the other

with respect to the VBM request identification provision.




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                                               e

       Leaving VBM, this Court turns next to the solicitation definition. To refresh,

the solicitation definition prohibits anyone from “engaging in any activity with the

intent to influence or effect of influencing a voter” inside a polling place or within

150 feet of a drop box or the entrance to any polling place. § 102.031(4)(a)–(b), Fla.

Stat. (2021). As this Court has explained elsewhere, in practical terms, the

solicitation definition discourages groups who give food, water, and other forms of

encouragement to voters waiting in long lines from continuing to do so. One way,

then, to measure whether this provision will have a disparate impact on Black or

Latino voters is to determine whether Black and Latino voters are disproportionately

likely to wait in line to vote. Tr. at 2535.

       Dr. Smith testified on this issue. First, he testified that a large body of peer-

reviewed literature concludes that Florida has, on average, longer lines than much

of the country, and that minority voters are more likely to be affected by those lines.

Id. at 2541–45. For example, in part because of HB 1355—the last sweeping change

to Florida’s election code—“[m]inority voters in Florida” during the 2012 election

“faced disproportionately long lines, thus disproportionately high cost of voting, and

then in some cases a small downstream effect in 2014 and 2016 of decreased

propensity to vote.” Id. at 2547. In fact, in 2012, Florida had the longest lines in the

country. Id. at 2585.

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       Dr. Smith also evaluated wait times in Miami-Dade County during early

voting in the 2020 election. Id. at 2556. As Dr. Smith testified, he took data from

various sources and merged them with the “voter file”—data provided by the

Division of Elections—to determine wait time by ethnicity:

       Going through that process that I discussed earlier in terms of taking
       the estimated wait times that the Supervisor of Elections provided on
       these five days, and combining it with the check-in information to
       determine what days individuals voted, and combining it with the voter
       file, all using unique IDs, I’m able to determine across the 33 polling
       locations on these five days the raw count of Black, Hispanic, White
       and Other voters of racial and ethnic characteristics of when they voted
       and what time the wait time was estimated to be by the Supervisor of
       Elections and Miami-Dade staff.

Id. at 2556.

       What Dr. Smith found was that, across the five days he measured, 24.8% of

Black voters had wait times of 30 minutes or longer, 21.2% of Latino voters had wait

times of 30 minutes or longer, and 15.2% of White voters had wait times of 30

minutes or longer. Id. at 2557–58. Put another way, roughly 1 in 4 Black voters and

1 in 5 Latino voters waited 30 minutes or more compared to roughly 3 in 20 White

voters. See id. at 2558.43

       Dr. Smith also analyzed Orange County and Lee County using a similar

methodology. Id. at 2560. Dr. Smith’s Orange County analysis, however, is of


       43
         Dr. Smith focused on 30 minutes or longer because, “30 minutes is a standard that is
pretty much accepted not only by academics but by practitioners as an upper limit on how long we
can expect voters to be able to withstand waiting in line.” Tr. at 2597.
                                             110
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somewhat limited utility because (a) it looks at data for only one day, and (b) Dr.

Smith provides his conclusions in a different form. See ECF No. 467-7 at 157. Dr.

Smith reports the early voting wait time by race, which shows that White voters

disproportionately waited longer to vote on the day for which Dr. Smith had data.

Id. at 158. But, as Dr. Smith testified, this data was likely skewed by a problem at

the Winter Park Library. Tr. at 2561. For that reason, White voters were more likely

to wait more than three hours—at the library—but “Black and Hispanic voters were

more likely than White voters to experience wait time of times of 15 or 30 minutes.”

ECF No. 467-7 ¶ 256. Due to the limited nature of Dr. Smith’s Orange County

analysis, this Court gives these conclusions little weight.

       Dr. Smith’s Lee County analysis is just as limited. This is because “the wait

time documents produced in discovery by the Lee County SOE are not complete.”

Id. ¶ 261. Some polling locations are missing, as is data for some of the busiest early

voting days. Id. ¶¶ 261–62. Accordingly, this Court gives little weight to Dr. Smith’s

conclusions as they relate to Lee County. 44

       In sum, the most complete picture this Court has of the correlation between

race and time spent waiting to vote comes from Miami-Dade County. Even that data,




       44
         Overall, Dr. Smith concluded that Black voters were slightly more likely to wait longer
than 30 minutes than other voters, although the data for less than 30 minutes but more than 15
minutes was largely mixed, with White voters falling into this category slightly more than other
groups. ECF No. 467-7 at 169.
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though, is limited to early voting hours. Still, it roughly confirms what countless

scholars have already concluded; namely, that minority voters spend more time

waiting in line to vote than White voters.

      Finally, Dr. Burch testified that survey data shows that Black and Latino voters

were more likely to report waiting in long lines during the 2020 election. Tr. at 961.

5.3% of Black voters and 6.2% of Latino voters reported waiting in long lines,

compared to 4% of White voters. Id.

      Based on all the evidence before it, this Court likewise concludes that minority

voters in Florida are, on average, more likely to wait in long lines to vote. That

conclusion impacts this Court’s analysis in two ways. First, this Court concludes that

the solicitation definition will have a disparate impact on minority voters because

minority voters are disproportionately likely to wait in line to vote, and because the

provision discourages third parties from helping those waiting to vote.

      Second, although this Court already found that the record is unclear as to

whether the various VBM provisions have a direct racially discriminatory effect, it

finds that they will have an indirect racially discriminatory effect. This is so because,

by making voting by mail tougher, SB 90 will force some voters to either vote early

or in person on election day. The same is true for the drop-box provisions. Because

more voters will vote in person, wait times at polling places will be longer. As

explained above, this will disproportionately impact minority voters, who already

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wait longer on average to vote. Tr. at 2544–45; id. at 2598; ECF No. 467-7 ¶ 231.

This Court thus concludes that the evidence of impact weighs in Plaintiffs’ favor

with respect to the solicitation definition.

                                               f

      Finally, this Court addresses the registration delivery provision. Under that

provision 3PVROs can no longer return registration applications to any Supervisor,

rather they must now deliver registration applications to the Division of Elections or

the Supervisor of Elections in the county in which the applicant resides. Compare

§ 97.0575(3)(a), Fla. Stat. (2021), with § 97.0575(3)(a), Fla. Stat. (2011). As this

Court has already determined, this provision will harm 3PVROs by imposing

additional costs on them, thus limiting the number of voters each 3PVRO can reach.

And although not challenged in Plaintiffs’ intentional race discrimination counts,

this Court also finds that the registration disclaimer provision is relevant here. Like

the delivery provision, it will increase the cost of registering voters, and thus limit

3PVROs’ reach. Thus, in determining whether a particular racial group is harmed by

these provisions, this Court must determine whether any racial group relies more

heavily on 3PVROs.

      Dr. Herron addressed this exact question. Tr. at 2294. Dr. Herron focused on

post-2012 registrations—which provide more reliable information due to changes in

the way Florida collected registration information. Id. at 2297. While the information

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Dr. Herron used is not perfect—for example, if a voter registered with a 3PVRO and

then changed that information online, the data would show the voter as having

registered online—it still provides a useful snapshot. See id. at 2302; see also id. at

2569 (“I certainly suspect, and some of the Supervisors have confirmed, that it’s

much more likely for individuals who registered with a 3PVRO to subsequently

update their registration through a different modality.”). This data shows that

minority voters use 3PVROs in rates much higher than White voters. For example,

roughly 15.37% of Black voters registered using 3PVROs. Id. at 2303. For White

voters, the number is 2.79%. Id. Further, just over 11% of Latino voters and 13%

“other” race voters—for example, Native Americans and Asian Americans—used

3PVROs to register. Id. at 2304. And when broken out across counties, “almost every

place has Black 3PVRO rates greater than White 3PVRO rates.” Id. at 2305. This

conclusion is also borne out in county-specific data. Id. at 2310.

      Similarly, 10.48% of Democrats registered using 3PVROs and only 3.9% of

Republicans registered using 3PVROs. Id. at 2306. This result was also consistent

across the state. Id. at 2307. As above, when using county-specific data, Democrats

remain overrepresented in 3PVRO registrations and Republicans remain

underrepresented. Id. at 2312.

      Dr. Smith also addressed SB 90’s provisions regulating 3PVROs. Id. at 2566;

ECF No. 467-7 at 24. Dr. Smith estimates that 10.86% of Black voters registered

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using 3PVROs. Tr. at 2570. He also estimates that 9.57% of Latinos, 9.63% of

“others,” and 1.87% of White voters registered using 3PVROs. Id. at 2570–71; ECF

No. 467-7 at 32. In other words, about one in every ten Black and Latino voters

registered through a 3PVRO, but only about one out of every 50 White voters

registered through a 3PVRO. Tr. at 2571. Like Dr. Herron, Dr. Smith found that this

disparity is consistent across Florida. Id. at 2574. This Court credits both Dr. Herron

and Dr. Smith’s testimony on this point.

      Plainly, 3PVROs overwhelmingly serve minority communities. Thus, by

restricting their reach, the registration delivery provision disproportionately harms

Black and Latino voters. Accordingly, this Court concludes that the evidence of

impact weighs in Plaintiffs’ favor with respect to the registration delivery provision.

                                            g

      What’s the takeaway? Every single challenged provision has a disparate

impact on Black voters in some way. Black voters are more likely to use drop boxes,

SB 90 limits drop boxes. Not only that, but Black voters are more likely to use drop

boxes in the exact way that SB 90 restricts. On the other hand, there is little evidence

before this Court that the VBM provisions have a direct disparate impact on Black

voters. Still, these provisions will have downstream effects; namely, they make

voting by mail harder, and thus will push voters towards in-person voting. This, in

turn, will exacerbate lines at polling places. And a wealth of scholarly studies show

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that Black and Latino Floridians are already more likely to wait in line to vote—a

conclusion buttressed by Dr. Smith’s Miami-Dade analysis. Accordingly, by

increasing the number of voters voting in person, SB 90 will exacerbate the lines

that Black and Latino voters are already more likely to wait in. Further, because

Black and Latino voters, on average, are more likely to wait longer to vote, the

solicitation definition will disparately impact them by restricting third parties’ ability

to provide them aid while they wait in line. This is even more so given that the VBM

provisions will exacerbate line lengths. Finally, both Black and Latino voters rely on

3PVROs in vastly greater numbers than White voters. So hindering 3PVROs—as

SB 90 does—will have a disparate impact on Black and Latino voters.

       In sum, then, this Court finds that the challenged provisions as a whole will

have a disparate impact on both Black and Latino voters and will especially burden

Black voters. The evidence of impact thus weighs in favor of establishing Plaintiffs’

claims with respect to each of the challenged provisions.

                                                 6

       Having determined that SB 90 disparately impacts Black and Latino voters,

this Court next considers both (1) whether SB 90’s disparate impacts were

foreseeable and (2) whether the Legislature knew of those impacts.45 The evidence



       45
          This Court recognizes that these are really two factors, but it makes sense to discuss them
together here.
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before this Court not only suggests that the Legislature had such knowledge, but also

that it specifically sought it out.

       First, the Legislature had the raw data showing SB 90’s disparate impacts

before it. Director Matthews testified that, by statute, the Division of Elections

provides the Legislature with an election recap report “after every election” that

includes two data sets. Tr. at 3408. These data sets are “voter registration and voting

history.” Id. This recap report contains the same information that Plaintiffs’ experts

used to reach their conclusions in this case. See id. at 2179, 2363, 2483.

       Perhaps the raw data itself is not enough, but supporting both foreseeability

and knowledge, Director Matthews also testified that, along with the general recap

report, the Legislature asked several specific questions while it was considering SB

90. Id. at 3406–07. For example, Director Matthews testified that the Legislature

specifically asked about, and the Division “provided information about[,] voter

registrations . . . the number of voter registrations that had DL and SSN, that only

had DL, that only had SSN, or that had no DL, no SSN, or had an invalid DL or

SSN.” Id. at 3408. Indeed, “[t]hat was what” the Legislature was “most keenly

interested in.” Id. at 3409.

       Plus, Director Matthews testified that the Legislature wanted to know “who

uses drop boxes.” Id. at 3409. When specifically asked by this Court whether “who”

uses drop boxes meant demographic data, Director Matthews said she thought “they

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just wanted to know how many people were using the drop boxes.” Id. at 3412–13.

But Director Matthews’s face and body language told a different story, as she

apparently recognized her slip in testifying truthfully that the Legislature had asked

her for information about what kind of voters—i.e., Black, White, old, young—use

drop boxes. This Court finds, based on Director Matthews’s reaction to its

questions—for example, that she offered the information without prompting, then

quickly tried to backtrack—that the Legislature asked for demographic information

about drop-box users. At any rate, the Division does not keep information on drop

boxes, and thus presumably did not provide any information to the Legislature. But

while the Division does not keep information about drop boxes, we know that some

Supervisors do. And “[t]he Legislature also asked individual supervisors of elections

for information.” Id. at 3459. This Court finds, based on Director Matthews’s

testimony and Senator Baxley’s statements that he had looked at “the patterns of

use,” that the Legislature likely had the same drop box data before it that is now

before this Court. ECF No. 461-98 at 100.

      Director Matthews also testified that the Legislature asked for specific

information about “MARG” voters—i.e., first time VBM users. Tr. at 3410, 3456.

Put another way, the Legislature asked for, and received, detailed demographic

information about exactly who was using VBM ballots for the first time in 2020.




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      Finally, Director Matthews testified that the Legislature “wanted to know

about third-party voter registration organizations.” Id. at 3409. Not only that, but this

Court knows exactly what the Legislature wanted to know. Senator Farmer testified

that “[w]e were in possession of statistical evidence that showed that voter

registration groups registered about 10 percent of Black voters; a very close number,

I think it was 8 or 9 percent, of Hispanic voters; but only 1 percent of White voters.”

Id. at 1566. The Legislature could only have obtained this information from the

Division of Elections. See id. at 2566 (testimony by Dr. Smith that “[t]he Division

of Elections was very helpful by providing a voter file that included the method of

voter registration statewide. . . . That is information -- the method of voter

registration that is contained within the FVRS is actually something that’s not

publicly available to groups, parties, scholars”). This shows (a) that the Legislature

asked for and received demographic information about 3PVRO use while it

considered SB 90 and (b) that the Legislature knew that the registration return

provision would have a disparate impact on minority voters. Finally, that the

Legislature received and considered demographic information when considering the

3PVRO provisions bolsters this Court’s conclusion that, when the Legislature asked

for data about “who” uses drop boxes, it was in fact requesting demographic data.

      In short, the Legislature had before it exactly the same demographic

information that this Court now has before it now—possibly even more information.

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And as explained above, that information shows that SB 90 would have a disparate

impact on Black voters.

      Plaintiffs also presented other evidence that, while perhaps less reliable,

reinforces the evidence set out above. Senator Farmer testified that he was

“presented with evidence and statistics and studies that showed that people of color

and minorities were going to be impacted by these provisions more than White

voters.” Id. at 1528. These studies were provided to the Legislature by outside

groups, such as the Legal Defense Fund, NAACP, and League of Women Voters. Id.

at 1529. It is unclear, however, whether these letters were ever considered, as Senator

Farmer testified that “they don’t allow the LDF letter or the NAACP letter or any of

that into the committee.” Id. at 1553. Rather, these letters are significant because

Senator Farmer testified that he relayed his concerns—based in part on these

letters—to his Senate colleagues.

      Plainly, the Legislature knew about SB 90’s disparate impacts. Senator Farmer

testified that he repeatedly conveyed has concerns about SB 90’s disparate impacts

to Senate President Wilton Simpson and to Senate Rules Chair Kathleen Passidomo.

Id. at 1531. Indeed, Senator Farmer testified that he specifically discussed the

disparate impact the drop-box provisions would have on minority voters—to no

avail. Id. at 1548. He did the same with each of the individual challenged provisions.

See id. at 1558, 1564, 1567–68. Senator Farmer added that, in these discussions, his

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Republican colleagues never denied that SB 90 would have a disparate impact on

minority voters. Id. at 1552–53.

      In addition, several Legislators spoke about SB 90’s impacts. Representative

Thompson, for example, told legislators that reducing the times drop boxes were

available would “impact[] the ability of African-Americans in particular to

participate in democracy and to cast their vote.” Id. at 1458. Another Representative

compared SB 90 to the 1875 Mississippi Plan—a white supremist coup in

Reconstruction-era Mississippi. ECF No. 462-29 at 37–38.

      In sum, the Legislature had the same data before it that Plaintiffs’ experts have

used to show disparate impact. Further, the Legislature affirmatively sought out

information about whom each of the challenged provisions would impact.

Reenforcing this data, outside groups submitted studies to the Legislature that also

showed that SB 90’s provisions would have a disparate racial impact. And both

privately and on the floor of the House and Senate, legislators told their colleagues

that SB 90 would have a disparate racial impact. Finally, if there were any lingering

doubt, SB 90’s sponsor acknowledged that he had looked at the “patterns of use” and

that there would be “a learning curve” for Black voters after SB 90. ECF No. 461-

98 at 100. SB 90’s expected disparate impacts were foreseeable and were known to

the Legislature. So both of these factors weigh in Plaintiffs’ favor as to each of the

challenged provisions.

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      Finally, this Court considers whether less discriminatory alternatives were

available to the Legislature. This factor is difficult to apply because it is not entirely

clear what, exactly, SB 90’s provisions were supposed to do. With that said, this

Court takes the proffered justifications set out above, and then considers whether

less restrictive alternatives to those goals were presented to the Legislature.

      Recall that the VBM request provision had two apparent justifications: (1) that

it would make the voter file more accurate by forcing people to update their voter

file more often by forcing them to request VBM ballots more often, Tr. at 1009, and

(2) “that people needed to [be able to] choose the option of whether they would vote

by mail or in person every year,” id. at 1009; see also ECF No. 461-37 at 16–17.

      On the first point, several less restrictive alternatives were presented. For

example, Senator Torres—a Democrat—offered an amendment that would have

prevented any retroactive cancellations of VBM requests. ECF No. 467-16 at 12;

ECF No. 461-64. That amendment was rejected. ECF No. 467-16 at 12. Further,

Senator Brandes—a Republican—twice offered an amendment providing that, if a

voter updates her address at DHSMV, her voter registration is updated. Id. at 13;

ECF No. 461-85; ECF No. 461-103. That amendment was also twice rejected. ECF

No. 467-16 at 13.




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      The second rationale, giving voters “the opportunity to vote however they

want to,” ECF No. 461-37 at 110–11, also had a less discriminatory alternative—

doing nothing, because Florida’s Election Code already allows voters to vote in-

person when they have requested and received a VBM ballot. See § 101.69(1), Fla.

Stat. Opposing senators made this point during the legislative debate.

      SB 90’s sponsors claimed that the VBM request identification provision

makes sure that “nobody can just get online or call the supervisor with the irrelevant

information and just change people’s vote-by-mail ballots.” ECF No. 461-98 at 93.

This provision also has less restrictive alternatives. But although this Court can think

of some less discriminatory alternatives—such as allowing an applicant without a

requisite form of identification to affirm as much, as those registering to vote may

do, see § 97.053(5)(a)(5)(b), Fla. Stat.—it is unclear that such alternatives were

before the Legislature.

      The drop-box provisions had three justifications: (1) without more

restrictions, people may tamper with drop boxes, Tr. at 1015, (2) the Supervisors

were not using drop boxes properly, id., and (3) “the provision was necessary to

ensure the chain of custody of the ballot,” id.

      The Legislature considered several amendments to the drop-box provisions

that would have allowed it to pursue these goals without restricting drop-box

availability. Senator Brandes offered an amendment permitting 24/7 drop boxes at

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Supervisors’ offices with video surveillance and Representative Joseph—a

Democrat—offered an amendment permitting 24/7 drop boxes with video

surveillance, as did Senator Powell—also a Democrat. ECF No. 467-16 at 14–16;

ECF No. 462-4; ECF No. 462-19; ECF No. 462-43; see also Tr. at 1548, 1550.

Senator Jones also offered an amendment that would have allowed drop boxes

outside of early voting hours. ECF No. 467-16 at 14; ECF No. 462-5. As did Senator

Powell. Tr. at 1549. The amendments allowing video surveillance would have

allowed Supervisors to continue offering 24/7 drop boxes while also maintaining

ballot security. See id. at 1204 (testimony by Supervisor Scott that video surveillance

worked “very, very well”). And the Legislature’s uniformity rationale was based on

the monitoring of drop boxes—not when they were available. See ECF No. 462-9

(statement by Representative Ingoglia that the drop-box provisions were in part

motivated by Supervisors “thumbing their nose” at Defendant Lee’s request—

Defendant Lee lacks the power to compel the Supervisors—that drop boxes be

supervised). So cutting the use of drop boxes outside of early voting hours serves no

purpose, and the amendments permitting drop boxes outside of early voting hours—

or just changing nothing—presented less discriminatory alternatives.

      The solicitation definition’s justification appeared to be a respect for privacy.

Tr. at 1025. Or perhaps to prohibit political solicitation. But as other senators pointed

out, the law already banned solicitation. Id. at 1026. Thus, doing nothing was a less

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discriminatory alternative. And even then, some legislators offered amendments that

would have allowed civic organizations to hand out food and water. Id. at 1468–67;

id. at 1565; id. at 1924; ECF No. 467-16 at 13–15; ECF No. 461-83; ECF No. 462-

37. The Legislature rejected these amendments even though Representative Ingoglia

had stated that “we’ve never said that any non-profit organization is trying to

influence voters.” Tr. at 1922. Several less discriminatory alternatives to the

solicitation definition were thus available to the Legislature.

      Finally, SB 90’s restrictions on 3PVROs rested on the false claim that a court

order required the Legislature to enact the provisions. Because this was not true,

doing nothing was, again, a less discriminatory alternative.

      In sum, with perhaps the exception of the VBM request identification

provision, less discriminatory alternatives to each challenged provision not only

were available but were presented to and rejected by the Legislature. Thus, this Court

concludes that the availability of less discriminatory alternatives weighs in Plaintiffs’

favor—except on the VBM request identification provision.

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      So was race a motivating factor in the adoption of any of the challenged

provisions? Throughout trial, this Court heard about several possible motivations.

Maybe SB 90 was genuinely motivated by a desire to prevent voter fraud and ensure

voter confidence; maybe the Legislature was motivated by the political zeitgeist—

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among a storm of election fraud claims, it had to do something; maybe SB 90 was

enacted purely to secure a political advantage for the Republican Party, without

regard to whether it harmed minority voters; or maybe, as Plaintiffs say, SB 90 was

enacted to target Democrats and, in furtherance of that goal, to target Black and

Latino voters.

      Before considering these alternatives, this Court summarizes the evidence

before it. Recall the relevant factors: (1) the challenged law’s impact; (2) the law’s

historical background; (3) “the specific sequence of events leading up” to the law’s

passage, which includes “(4) procedural and substantive departure; and (5) the

contemporary statements and actions of key legislators”; “(6) the foreseeability of

the disparate impact; (7) knowledge of that impact; and (8) the availability of less

discriminatory alternatives.” GBM, 992 F.3d at 1322. This Court took these factors

in a slightly different order, first considering SB 90’s historical background before

considering the sequence of events preceding SB 90’s passage, SB 90’s impact,

foreseeability and knowledge of SB 90’s impact, and finally concluding with less

discriminatory alternatives.

      Beginning with SB 90’s historical background, Florida has a long history of

racial discrimination against Black and Latino Floridians. But that historical

discrimination cannot, on its own, prove that any law that harms racial minorities

was passed with discriminatory intent. That said, Florida’s history informs its

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present. Because of past discrimination, White Floridians outpace Black and Latino

Floridians by every socioeconomic metric. And politics in Florida are racially

polarized, at least for Black and White voters. In every statewide election for the past

20 years, about nine in every ten Black voters has voted for the Democratic party.

On the other hand, White voters heavily favor the Republican Party, and make up

about 80% of its constituency. Latino voters, on the other hand, are best understood

as swing voters. Plus, Florida’s elections are decided by razor thin margins,

depressing just a few thousand of your opponent’s supporters can easily swing an

election. The temptation is therefore great for the party in the majority to target the

particular racial groups that support the minority party.

      The evidence before this Court also shows that, for the past 20 years, the

Legislature has given into that temptation by repeatedly targeting Black voters

because of their propensity to favor Democratic candidates. On this point, HB 1355

is most relevant. After an election in which Black voters relied heavily on early in-

person voting, then-Representative Baxley proposed HB 1355, which reduced early

voting.

      But the story is more complex than that: HB 1355 targeted the specific early

voting days most used by Black voters. It also attacked—there’s just no other way

to describe it—3PVROs, on which Black voters disproportionately rely. As a result,

multiple courts acknowledged that HB 1355 would disproportionately impact Black

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voters. See Florida, 885 F. Supp. 2d at 337; Brown, 895 F. Supp. 2d at 1246. Plus,

the Legislature enacted HB 1355 “without clearly identifying why the law needed to

be changed, without creating much of a legislative record to document its reasons

for the change, and against the advice of the Florida State Association of Supervisors

of Elections.” Brown, 895 F. Supp. 2d at 1239.

      In these respects, HB 1355 and SB 90 are clones. In the 2020 election, Black

VBM use almost matched White VBM use—put another way, Black VBM use

doubled. Plus, the evidence before this Court shows that Black drop-box use

exceeded White drop-box use. Just as HB 1355 targeted early voting after Black

voters disproportionately relied on it, SB 90 targets drop boxes after Black voters

disproportionately relied on them. And just as HB 1355 did not eliminate all early

in-person voting, SB 90 does not eliminate all drop boxes. HB 1355 targeted the

specific early voting days most used by Black voters; SB 90 targets the specific times

and days Black voters most use drop boxes.

      Plus, just as with HB 1355, the Legislature enacted SB 90 without clearly

identifying why the law needed to be changed, without creating much of a legislative

record to document its reasons for the change, and against the advice of the Florida

State Association of Supervisors of Elections. In other words, SB 90 fits neatly

within a historical pattern of discrimination against Black voters. On the other hand,

SB 90 does not fit into a recent pattern of discrimination against Latino voters.

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      Next, as alluded to above, the sequence of events preceding SB 90’s passage

is also suspect. The 2020 election in Florida was a success. Yet the Legislature, in

the face of massive turnout and a surge in VBM usage by Black and Democratic

voters, moved quickly to revamp Florida’s election laws. In doing so, the Legislature

struggled to articulate why its changes were needed. In some cases, Legislators

offered contradictory or nonsensical justifications. And as this Court found, some

procedural and substantive departures marked SB 90’s passage. But these departures

show only that SB 90 was highly partisan.

      This Court also looked at contemporaneous statements and actions by key

legislators. Senator Gruters, the chair of the Florida Republican Party, revealed the

real purpose behind SB 90 in a text to Representative Ingoglia: to favor the

Republican Party over the Democratic Party. In addition, some Republican Senators

made statements on the Senate floor that could be considered evidence of racial

animus. But the views of individual senators, even lead sponsors, are of marginal

relevance to the Legislature’s motivations as a whole. Finally, SB 90’s sponsor,

Senator Baxley, acknowledged on the Senate floor that SB 90—particularly its drop-

box provisions—would have a disparate impact on Black voters.

      The evidence before this Court proves him right. The drop-box provisions will

disparately impact Black voters. One reason for this is that SB 90 reduces the number

of available drop boxes, and Black voters are, on average, more likely to use drop

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boxes. 46 But the drop-box provisions also disparately harm Black voters because

they eliminate most drop boxes offered before early voting, a time when Black voters

are more likely to use drop boxes, and 24/7 drop boxes, which Black voters are also

more likely to use.

       On the other hand, there is little evidence that the two VBM provisions will

have a disparate impact on Black or Latino voters. But the line warming and 3PVRO

provisions will. Black and Latino voters are more likely to wait in long lines, and

SB 90’s other provisions will exacerbate those lines. Yet SB 90 chills non-partisan

groups from helping voters waiting in line to vote. Finally, minority voters

disproportionately rely on 3PVROs to register to vote, but SB 90 will make it tougher

for these groups to operate.

       The Legislature had data before it showing that SB 90’s provisions would have

the above-described effects. First, the Legislature had the same data before it that

Plaintiffs’ experts used here. More to the point, the Legislature specifically asked for

demographic data that showed the disparate impact that SB 90 would have. Indeed,

Senator Farmer testified that he remembered seeing data showing that minorities

would be disproportionally impacted by SB 90’s restrictions on 3PVROs, data that

was only available from the Division of Elections.



       46
         On the other hand, this Court has heard no evidence that Latino voters disproportionately
favor drop boxes.
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        And if there was any doubt the Legislature realized that SB 90 would harm

minorities based on the data before it, Senators Farmer and Baxley cleared that up.

Senator Farmer repeatedly told leading Republican Senators in private meetings that

each of SB 90’s challenged provisions would have a disparate impact, something

those senators never denied; Senator Baxley openly acknowledged on the Senate

floor that SB 90 would have a disparate impact on Black voters.

        Finally, rendering any conclusion that the Legislature had a pure motivation

all the more improbable, the Legislature rejected less discriminatory ways to reach

almost all of its stated goals. Indeed, a Republican senator offered many of these

alternatives as amendments, but the Legislature repeatedly voted those amendments

down.

        With this evidence in mind, this Court returns to the possible motivations laid

out above. First, the evidence shows that SB 90 was not motivated by a desire to

prevent voter fraud and ensure voter confidence. Not only is voter fraud extremely

rare in Florida, but SB 90’s proponents could not even explain how SB 90 would

reduce voter fraud prophylactically. While requiring drop boxes to be monitored in

person makes some sense, the Legislature never offered any justification for cutting

drop boxes’ availability outside of early voting hours. And at any rate, further

undercutting the Legislature’s proffered rationale, the Legislature rejected over and

over amendments that would achieve its stated goals in a less discriminatory manner.

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      Second, the Legislature did not enact SB 90 in response to the political mood.

As Dr. Kousser convincingly testified, if the Legislature were merely reacting to the

political mood, we would expect to see the Legislature carpet-bomb the election

code. In other words, this Court cannot blithely declare, “well SB 90 must be partisan

because Legislature wanted to react to the national mood” while ignoring the

specifics. Here, the Legislature made surgical changes to the election code that

targeted specific groups:

      I think that the difference -- the difficulty is this: There were -- this is a
      quite specific law. It, for example, changes the vote-by-mail to require
      certain numbers associated with it; it intervenes -- it makes it harder for
      third-party voter registration organizations to operate; it limits drop
      box; it limits line-warming activities. These are quite specific things.
                                               ...
      There is a difference between this sort of a response and a response to
      very general agitation. If the very general agitation, clearly politically
      involved and having partisan overtones to it, is a justification for a law,
      then it can justify anything at all that regulates elections.

Tr. at 1755. This Court finds that the Legislature enacted SB 90 to improve the

Republican Party’s electoral prospects, not to respond to the general political mood.

      The main question, then, is whether the Legislature enacted SB 90 purely to

secure an electoral advantage for the Republican Party without regard to whether it

harmed minority voters, or whether SB 90 was enacted, at least in part, to target

minority voters in order to secure an electoral advantage for the Republican Party.

      As a subset of this question, this Court finds that the Legislature did not pass

SB 90 with the intent to discriminate against Latino voters. For one, Latino voters
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are not so associated with any party. In fact, Defendants’ expert testified that Latino

voters are now swinging toward the Republican Party. Because Latino voters are

generally swing voters, this Court finds that it would make little sense for the

Legislature to target Latino voters as a whole. This is borne out by the evidence

before this Court. Contrasted with SB 90’s impact on Black voters, SB 90’s

provisions have a much less consistent negative effect on Latino voters. And so, this

Court finds that Plaintiffs have failed to show that the Legislature enacted SB 90 at

least in part to discriminate against Latino voters.

      Thus, the question boils down to whether the Legislature was targeting

Democrats generally, or Black voters because they vote for Democrats. Some

provisions seem to target Democrats as a whole, and not Black voters specifically.

For example, Dr. Kousser testified that “the increase in the proportion of people who

were White who voted by mail, from the increase from 2016 to 2020, was almost

entirely among White Democrats.” Tr. at 1725. So it appears to this Court that the

motivation behind the VBM request provision was to cancel Democratic VBM

requests generally, and not to specifically target Black VBM requests. This

conclusion finds support in Senator Gruters’s text messages to Representative

Ingoglia. For these reasons, this Court finds that Plaintiffs have not shown that the

Legislature enacted the VBM request provision with the intent to discriminate

against Black voters.

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      As for the VBM request identification provision, it may well be that the

Legislature passed this provision with the intent to discriminate based on race. For

example, there is a fair amount of scholarship that shows that minorities in the United

States are less likely to possess photo ID. As one 2012 study showed, 95% of White

voters have a photo ID versus 87% of Black voters and 90% of Latino voters. See

Vanessa M. Perez, Project Vote, Americans with Photo ID: A Breakdown of

Demographic Characteristics 3 (2015). But because this Court does not have

evidence before it establishing that either (a) the VBM request identification

provision has a disparate impact on Black voters or (b) the Legislature believed that

the VBM request identification provision would have a disparate impact on Black

voters, this Court finds that Plaintiffs have not proved that the Legislature enacted

the VBM request identification provision with the intent to discriminate against

Black voters.

      That said, this Court finds that the remaining challenged provisions—the drop

box provision, the solicitation definition, and the registration return provision—

specifically target Black voters. Take drop boxes, for example. The evidence before

this Court shows that party is highly correlated with drop-box use—Democrats are

more likely to use drop boxes. If the Legislature had targeted Democrats writ large,

it would have simply banned drop boxes, as some of SB 90’s earlier versions

proposed to do. But that is not what the Legislature did; SB 90 effectively bans drop-

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box use at the specific times and the specific days that Black voters, not all

Democratic voters, are most likely to use them. The same is true for the solicitation

definition and the registration return provision. White Democrats do not wait in long

lines, nor do they use 3PVROs to register. These provisions are not aimed at

Democrats as a whole.

      In sum, this Court concludes that to the extent promoting voter confidence or

preventing voter fraud may have motivated the Legislature in part, this Court finds

that the Legislature passed SB 90 with the intent to restructure Florida’s election

system in ways that favor the Republican Party over the Democratic Party. This

Court further finds that, to advance the Legislature’s main goal of favoring

Republicans over Democrats, the Legislature enacted some of SB 90’s provisions

with the intent to target Black voters because of their propensity to favor Democratic

candidates.

      Because the Legislature passed the drop-box provisions, the solicitation

definition, and the registration return provision with the intent to discriminate against

Black voters, those provisions violate the VRA. See Askew, 127 F.3d at 1373

(explaining that, under section 2, “[o]nce intent is shown, it is not a defense . . . that

the same action would have been taken regardless of the racial motive”). But under

the Fourteenth and Fifteenth Amendments, the burden now shifts to Defendants to

show that the Legislature would have passed the drop-box provisions, the solicitation

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definition, and the registration return provision regardless of its racial motivations.

Underwood, 471 U.S. at 228.

      Not only have Defendants failed to carry their burden, they do not even try.

See ECF No. 648 at 60–64. And this Court finds, upon reviewing all the evidence

set out above, that the Legislature would not have passed the drop-box provisions,

the solicitation definition, or the registration return provision absent an intent to

discriminate against Black voters. Accordingly, these provisions violate the VRA,

the Fourteenth Amendment, and the Fifteenth Amendment. Defendants are therefore

enjoined from enforcing them.

                                          IV

      The League Plaintiffs, NAACP Plaintiffs, and Florida Rising Plaintiffs also

challenge the solicitation definition under the Due Process Clause of the Fourteenth

Amendment and the First Amendment. See ECF No. 402 at 5, 15.

      To recap, the challenged provision defines “solicitation” as follows:

             [T]he terms “solicit” or “solicitation” shall include, but not be
      limited to, seeking or attempting to seek any vote, fact, opinion, or
      contribution; distributing or attempting to distribute any political or
      campaign material, leaflet, or handout; conducting a poll except as
      specified in this paragraph; seeking or attempting to seek a signature on
      any petition; selling or attempting to sell any item; and engaging in any
      activity with the intent to influence or effect of influencing a voter.




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§102.031(4)(b), Fla. Stat. (2021). The final example of “solicitation”—“engaging in

any activity with the intent to influence or effect of influencing a voter”—is the target

of Plaintiffs’ claims in these consolidated cases.

       Plaintiffs bring facial and as-applied challenges to the solicitation definition,

alleging this provision is unconstitutionally vague in violation of the Fourteenth

Amendment and overbroad in violation of the First Amendment. ECF No. 160 ¶¶

178–86; ECF No. 45 ¶¶ 177–85; ECF No. 59 ¶¶ 191–210. The provision defines

“solicitation” in relation to section 102.031(4)(a)’s ban on solicitation inside of

polling places or within 150 feet of polling-place entrances, Supervisors’ offices, or

drop boxes. As noted above, “solicitation” now includes the catch-all activity of

“engaging in any activity with the intent to influence or effect of influencing a voter.”

§ 102.031(4)(b), Fla. Stat. (2021). A violation of the prohibition on solicitation, as

defined by section 102.031(4)(b), constitutes a violation of Florida’s Election Code,

which amounts to a first-degree misdemeanor under Florida law. See § 104.41, Fla.

Stat. (“Any violation of this code not otherwise provided for is a misdemeanor of

the first degree, [punishable by up to a year in jail and $1,000 fine].”).

       Plaintiffs 47 seek an injunction prohibiting all 67 Defendant Supervisors of

Elections from enforcing this ban on “engaging in any activity with the intent to


       47
          The HTFF Plaintiffs do not challenge the solicitation definition as unconstitutionally
vague in violation of the Fourteenth Amendment.

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influence or effect of influencing a voter” within 150 feet of polling locations and

drop boxes. But before this Court can reach the merits of Plaintiffs’ vagueness and

overbreadth claims, this Court must first determine whether Plaintiffs have standing

to challenge the solicitation definition.

                                            A

                                             1

      This Court begins its analysis with the League Plaintiffs and concludes that

they have standing. Plaintiff Cecile Scoon, president of the League of Women Voters

of Florida and member of both the League of Women Voters of Florida, Inc., and the

League of Women Voters of Florida Education Fund, Inc., testified about several

“Party at the Polls” events and tabling at the polls that the League of Women Voters

has conducted in Bay County, Florida, in addition to her own “line warming”

activities. Tr. at 54–60. She testified that while the League often sets up tables

outside of the 150-foot buffer zone around the polls, League volunteers cross into

the 150-foot zone to assist voters who are having difficulty waiting in line. Id. at 59

(“Yes, we do if we see someone is having any difficulty getting up the steps, opening

the door, if they’re sweating, or just, you know—if it’s a small community, you might

actually know the person going in.”). Volunteers sometimes take food to voters

waiting in line within the 150-foot buffer zone. Id. (“So then you would say, Can I

get you a cookie or a candy? You know, it would be wrapped, and you would bring

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it to them. They’d say yes, and you might bring it to them.”). Ms. Scoon has also

personally assisted an elderly voter walk to the door of a polling place. Id. at 60

(“And we just proceeded—you know, I was kind of stabilizing her. We went to the

door, and I opened the door, and she went in.”). But because of SB 90, Ms. Scoon

testified that the League does not intend to allow members to provide any more direct

assistance to voters waiting in line to vote. Id. at 63–64 (“So rather than go down

that negative trail and to expose our members, to expose the potential voter who was

trying to vote, and to also not cause distress to the Supervisor of Elections’ office

trying to discern, What are you doing? Are you interfering in some illegal way?

We’re just not going to do it.”). Based on Ms. Scoon’s testimony, which I find

credible, Ms. Scoon has standing to challenge the solicitation definition.

      First, she has suffered an injury in fact. The injury in fact requirement “serves

to distinguish a person with a direct stake in the outcome of a litigation—even

though small—from a person with a mere interest in the problem.” Students, 412

U.S. at 689 n.14. Even “an identifiable trifle is enough.” Id. Here, Ms. Scoon’s injury

is far more than a trifle. Indeed, like being compelled to say something she would

not otherwise say, she must now remain silent when she otherwise would speak to

voters within 150 feet of polling places or drop boxes for fear of criminal penalties

in the event her activities amount to “solicitation” under the challenged provision.

Courts have long found such self-censorship to constitute an injury for standing

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purposes. See ACLU v. Fla. Bar, 999 F.2d 1486, 1493 (11th Cir. 1993) (“[T]he

alleged danger of this statute is, in large measure one of self-censorship; a harm that

can be realized without an actual prosecution.” (quoting Virginia v. Am. Booksellers

Ass’n, Inc., 484 U.S. 383, 393 (1988))). Thus, Ms. Scoon meets the injury prong.

      Second, Ms. Scoon’s injury is traceable to Defendant Mark Andersen—her

local Supervisor of Elections. Here, there is no dispute that Florida law grants

Supervisors of Elections authority to maintain good order at the polls, including

defining the area in which solicitation is unlawful and directing law enforcement to

remove people within the 150-foot zone that now arguably bans Ms. Scoon’s line

warming activities. §§ 102.031(1), (2), (4)(a)–(c), Fla. Stat. (2021). In addition, Ms.

Scoon testified that she has frequently worked with Supervisor Andersen in Bay

County, whom she characterized as someone who is “focused on following the

rules.” Tr. at 114. Indeed, she noted that Supervisor Andersen’s “interpretation

sometimes of following the rules . . . can be a little more restrictive than maybe the

way [she] would do it[.]” Id. Accordingly, given that Supervisor Andersen has

authority to interpret and enforce the solicitation ban, including the challenged

solicitation definition, Ms. Scoon’s injury is traceable to him.

      Third, and finally, an injunction against Supervisor Andersen prohibiting him

from enforcing the expanded ban on solicitation within the 150-foot buffer zone

would redress Ms. Scoon’s injury. For example, an order enjoining Supervisor

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Andersen from enforcing the expanded solicitation ban removes the threat that Ms.

Scoon—or the League—will be punished in Bay County for speaking with voters,

helping elderly voters walk to the door of a polling place, or offering food, water, or

other comfort to them while they wait in line at the polls. Supervisor Andersen does

not dispute this—indeed, he presented no evidence whatsoever at trial.

       Because Ms. Scoon has standing, the League entities also have associational

standing to sue Supervisor Andersen. Ms. Scoon is a member of both organizations

and would have standing in her own right, this suit is germane to the League entities’

purpose, and neither the claim asserted, nor the relief requested requires the

participation of individual members. See GBM, 992 F.3d at 1317 n.29

(“[P]rospective relief weigh[s] in favor of finding that associational standing

exists.”). But because Ms. Scoon lacks standing to sue the remaining 66 Supervisors

of Elections, the League entities must establish standing through their diversion-of-

resources theory as to each remaining Supervisor of Elections to prove they have

standing to sue all of them.

       This Court finds that the League entities 48 have had to divert resources from

other identifiable programs to address the challenged provisions under SB 90,



       48
           The League entities share membership, staff, and leaders. Accordingly, when SB 90
draws staff time away from other projects, it harms both entities. For example, as explained below,
the League has been forced to divert time and money to retraining volunteers to conduct voter
registration—harming the registration side. And that same diversion of time and resources has also
harmed the lobbying side, taking time away from redistricting, for example. Accordingly, the
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including the solicitation definition. Ms. Scoon, as League president, has spent

“many hours . . . researching the law, writing up information, guidelines, writing

PowerPoints, [and] having talks [during] lunch-and-learn” meetings. Tr. at 92.

Further, Leah Nash—the League’s executive director—has spent hundreds of

hours—outside of this lawsuit—working to make sure League members know how

to comply with SB 90. Id. at 1135.

       Absent SB 90, Ms. Nash would have spent more time on fundraising and grant

writing. Id. at 1136; see id. at 1137 (explaining that Ms. Nash had planned to spend

about 50% of her time grant writing and ended up spending 25% of her time on grant

writing). As a result, the League did not get as many grants this year as it has in the

past, id. at 1136–37, and is not meeting its “budget and projections for 2022,” id. at

1138.49 SB 90 has also drained time away from the League’s redistricting efforts. Id.

at 1138. The League’s Amendment 4-related work has likewise suffered. Id. at 1139.

And the time the League has spent on SB 90 is not time the League would have spent

educating voters about election law anyway. Id. at 1141. This Court finds Ms. Scoon

and Ms. Nash’s testimony on these points credible.



difference between the two organizations is not meaningful for diversion-of-resources purposes.
Tr. at 1121.
       49
          The League of Women Voters of Florida Education is the entity farthest from making its
projected budget, and although the League of Women Voters of Florida, Inc. is close, it is not yet
on budget either. Tr. at 1149–50.

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      However, the testimony at trial did not specify that this diversion injury occurs

in each of the 67 counties and is thus traceable to each of the Defendant Supervisors

of Elections or likely redressable by an injunction against each of them. This Court

may infer that a diversion of resources to address the solicitation definition affects

the League entities’ operations statewide; however, this Court cannot speculate that

an injunction prohibiting any given Supervisor of Elections from enforcing this

provision would redress that injury—particularly when this Court heard only limited

testimony about “line warming” activities that League members conduct in Bay

County. Accordingly, the League entities have standing to challenge the solicitation

definition based on their diversion of resources with respect to the Bay County

Supervisor of Elections’ enforcement of that provision. However, the League entities

have not met their burden to prove they have standing to seek relief against the

remaining 66 Supervisors of Elections.

      With respect to League Plaintiff Black Voters Matter Fund, this Court heard

from Mr. Clifford Albright, who testified that the organization engages in “line

warming” activities within the 150-foot buffer zone. Tr. at 1979–89. However,

critically, Mr. Albright provided no specifics regarding where and when this activity

within the 150-foot zone has taken place. The only detail about where Black Voter

Matters Fund has conducted “line warming” was Mr. Albright’s anecdote regarding

an event in Tallahassee, Florida, where his group provided food, music, and

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encouragement to voters at the polls. Id. at 1984. But Mr. Albright did not testify that

anyone at this event went within the 150-foot buffer zone. Accordingly, Black Voters

Matter Fund’s asserted injury remains purely speculative after the close of evidence

at trial. Moreover, this Court has no way of knowing if Black Voters Matter Fund’s

asserted self-censorship injury is traceable to one, or some, or all 67 Supervisors of

Elections. This Court can reasonably infer that its injury is traceable to perhaps one

Supervisor of Elections. But this Court is left guessing as to which Supervisor of

Elections that may be. And given Mr. Albright’s testimony that Black Voters Matter

Fund picks and chooses only certain polling places to conduct such “line warming”

activities, it is wholly inappropriate for this Court to infer that such activity occurs

in all 67 counties in Florida. See Tr. at 1982–83. Accordingly, Black Voters Matter

Fund has failed to prove standing based on its own, or its members’, First

Amendment injuries with respect to the solicitation definition.

      In addition, though Black Voters Matter Fund also put on evidence of a

diversion of resources because of the solicitation definition, as with the League

entities, Black Voters Matter Fund has failed to prove that this diversion injury

occurs in each of the 67 counties and is thus traceable to each of the Defendant

Supervisors of Elections or likely redressable by an injunction against each of them.

This Court may infer that a diversion of resources to address the solicitation

definition affects Black Voters Matter Fund’s operations statewide; however, this

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Court cannot speculate that enjoining any given Supervisor of Elections would

redress that injury—particularly when this Court heard only limited testimony about

“line warming” activities that the organization conducts in unidentified counties in

Florida.

      The last League Plaintiff to challenge the solicitation definition at trial is the

Florida Alliance of Retired Americans (FLARA). To establish standing, Plaintiffs

elicited testimony from Mr. William Sauers, the state president of FLARA. Tr. at

1616. Mr. Sauers testified generally that FLARA has thirteen chapters covering the

state of Florida and just over 200,000 members who live throughout the state,

including himself. Id. at 1608. He noted that FLARA members “almost exclusively”

use vote-by-mail ballots to vote. Id. at 1621; see also id. at 1623 (“Yes, we’ve been

utilizing vote-by-mail for a long time.”). And Mr. Sauers testified that though he has

previously voted in person and once had to stand in line for over an hour, he cannot

stand in line for any length of time to vote in person. Id. at 1628 (“So I would have

a problem personally if I had to stand in line for any length of time. I can’t do it.”).

Instead, Mr. Sauers used a drop box to deposit his vote-by-mail ballot in the

November 2020 general election and has apparently been voting by mail since at

least 2010. Id. at 1635–36. Finally, Mr. Sauers testified that if the solicitation

definition remains in place, FLARA will encourage its members to vote by mail to

avoid waiting in lines at the polls. Id. at 1629.

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      Although I find Mr. Sauers to be credible, his testimony falls short of proving

FLARA’s associational or organizational theories of standing to sue all 67

Supervisors of Elections to challenge the solicitation definition. As to associational

standing, any injury to Mr. Sauers or any other individual FLARA member is purely

speculative. Mr. Sauers testified that FLARA members almost exclusively vote by

mail—thus, it’s unclear to this Court if any member has any intention to vote in

person and would otherwise benefit from “line warming.” In addition, Mr. Sauers

has been voting by mail since 2010 and has expressed no intention to vote in person

given his physical limitations. Accordingly, Mr. Sauers is only injured by the

solicitation definition if (1) he is unable to vote by mail, (2) he attempts to vote in

person, and (3) the line at his polling place requires him to stand for any length of

time, such that some assistance from a civic engagement group would otherwise

provide him comfort that keeps him in line until he is able to cast his ballot. Such a

speculative injury is insufficient to prove standing at trial. And FLARA’s diversion-

of-resources theory of standing also falls short for the same reasons the other League

Plaintiffs failed to meet their burden as to organizational standing. Accordingly, with

respect to the League Plaintiffs, I conclude that only Ms. Scoon and the League

entities have standing to challenge Bay County Supervisor of Elections Andersen’s

enforcement of the solicitation definition.




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                                                  2

       As discussed above in the section on Plaintiffs’ intentional race discrimination

claims, the Florida NAACP has standing against Defendant Lewis, Supervisor of

Elections for Volusia County. But to establish standing to proceed with its vagueness

and overbreadth claims against the other 66 Supervisors of Elections, the Florida

NAACP must proceed with other evidence to meet its burden. But, as with the other

organizational Plaintiffs, the Florida NAACP has not proved standing to challenge

the solicitation definition as to all remaining Supervisors of Elections.50



       50
           Plaintiffs have proved standing to sue some, but not all, of the Supervisors of Elections
with respect to the solicitation definition. The Plaintiffs who challenge the solicitation definition
have not demonstrated that they are all injured in each of the 67 counties, nor that their injuries are
traceable to or redressable by an injunction against each of the 67 Supervisors of Elections. For
example, this Court did not hear any evidence at trial that proves any Plaintiff conducts “line
warming” activities in each of the 67 counties and is thus subject to each Defendant Supervisor of
Elections’ independent enforcement authority. Instead, this Court heard testimony concerning
various activities conducted in only a hodgepodge of counties, including Bay, Miami-Dade,
Broward, Duval, Palm Beach, Osceola, Orange, Pinellas, Volusia, etc. While this Court heard
testimony that several Plaintiff organizations have chapters, branches, or members throughout the
state, Plaintiffs did not present testimony that each of those sub-groups engages in the same
activities in every county in Florida. Moreover, it’s a fair inference that not every branch or chapter
of an organization does the exact same thing with respect to “line warming” in each of the 67
counties. This Court did hear testimony that each county differs in size, voting population, voting
patterns, demographics, etc. And this Court would not be surprised if an organizational Plaintiff
that routinely conducts “line warming” activities in larger and more diverse counties would not do
the same in much smaller counties that experience little to no wait times at polling places. But this
Court must not speculate that each Plaintiff does the same thing in every county to find that
Plaintiffs have standing for an injunction against each of the 67 Supervisors of Elections. This
Court ordered Plaintiffs to file a response as to this issue following the trial. ECF No. 657.
Plaintiffs, given the opportunity to file, without any page limits, written closing arguments and
supplemental briefing directly addressing this Court’s concern, cited no legal support for the
proposition that because a Plaintiff has standing to seek an injunction against one Defendant
Supervisor of Elections, they are entitled to an injunction with respect to another Defendant
Supervisor of Elections who is not the cause of their injury. Accordingly, as explained at length in
this section of the Order, Plaintiffs have standing to challenge the solicitation definition only with
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      Specifically, this Court heard from Mr. Brown, the third vice president for the

Florida State Conference of the NAACP, who testified that although some counties

have as many as three branches, not all counties in Florida have a local branch of the

NAACP. Tr. at 508. Mr. Brown also testified that some, but not all, branches of the

NAACP in Florida conduct “line warming” activities within the no-solicitation zone.

Id. at 516. For instance, Mr. Brown was unaware of any “line warming” activities

conducted within the 100-foot zone in 2018 or the 150-foot zone in 2020 in Miami-

Dade County. Id. at 536. Mr. Brown also testified regarding the resources the Florida

NAACP has diverted to address SB 90, including the solicitation definition. Id. at

531–33. But assuming arguendo that Mr. Brown’s testimony is sufficient to establish

an organizational injury, the Florida NAACP has failed to prove that such injury is

traceable to or redressable by an injunction against the remaining 66 Supervisors of

Elections. Accordingly, the Florida NAACP has not proved its asserted injuries are

traceable to each Defendant Supervisor, aside from Defendant Lewis, and thus it

lacks standing to challenge the solicitation definition for vagueness and overbreadth,

except as to its claims against Defendant Lewis.




respect to some, but not all, of the 67 Supervisors of Elections as to their vagueness and
overbreadth claims.
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       With respect to Disability Rights Florida, Plaintiffs assert it has associational

standing to pursue its vagueness claim against all 67 Supervisors of Elections but

cite only a slim portion of the record in support. See ECF No. 652-1 at 5; ECF No.

652 at 288. In addition, Disability Rights Florida abandons a diversion-of-resources

theory of standing with respect to this challenge, see ECF No. 652-1 at 5, accordingly

this Court will focus its discussion on whether Disability Rights Florida has

associational standing.

       To start, this Court heard testimony from several of Disability Rights Florida’s

constituents regarding the burdens that SB 90 imposes upon them. Based on their

testimony, these constituents either cannot or do not intend to vote in person. Instead,

based on their disabilities, these witnesses vote by mail, and their testimony—which

this Court finds credible—was directed at other challenged provisions regarding the

vote-by-mail process and not the solicitation definition. For example, Ms. Slaughter

testified that she cannot leave her home because of her disability. Tr. at 2085. Thus,

any asserted injury based on the solicitation definition is purely speculative with

respect to Ms. Slaughter, as well as the other constituents who testified at trial.51



       51
         For example, there is no evidence before this Court that Ms. Rogers—who is legally
blind—intends to vote in person in any upcoming election. See Tr. at 1088–1110. Instead, her
testimony established that, even before SB 90 was enacted, it was too difficult for her to vote in
person and that the new vote-by-mail restrictions make it harder for her to vote by mail. Id.
Accordingly, any injury based on the solicitation definition is purely speculative with respect to
Ms. Rogers.

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       Moreover, generalized references to disabled Floridians who are injured by

the solicitation definition are not enough to prove standing with respect to Disability

Rights Florida. See, e.g., Tr. at 2744–45 (Ms. Babis’s testimony regarding disabled

voters who benefit from “line warming” assistance, without specifying where the

assistance was provided). Instead, the right to sue on behalf of its constituents does

not relieve Disability Rights Florida of its requirement to prove that one of its

constituents has standing to sue to support the requested relief. See Doe v. Stincer,

175 F.3d 879, 887–88 (11th Cir. 1999) (holding that insufficient evidence supported

standing to sue on behalf of constituents based on affidavit asserting only



        Likewise, Ms. Zukeran testified that her disability causes her to feel severe anxiety around
others and that her last experience voting in person at the polls made her “feel really crowded at
the polls, and [she] fe[lt] like [she was] not in a good place because [she was] surrounded by
strangers.” Tr. at 2095. Accordingly, Ms. Zukeran is not harmed by the solicitation definition.

         Next, Ms. Teti testified that she would vote in person, if necessary, but that it would be
very difficult for her because of her mobility issues. See Tr. at 1591–92. Ms. Teti is a registered
voter in Hillsborough County, id. at 1587, where Supervisor of Elections Latimer is responsible
for enforcing the solicitation definition provision. This Court heard from Supervisor Latimer, who
testified that he has a policy to provide seats for voters with disabilities in the event they have
trouble standing in line. ECF No. 549-3 at 49. I find Mr. Latimer’s testimony credible on this point.
Accordingly, any asserted injury to Ms. Teti based on the solicitation definition depends upon (1)
her failing to apply to vote by mail in time, (2) her attempting to vote in person, (3) the presence
of a line at her polling place when she arrives, and (4) the polling place failing to provide her with
a seat at the door, consistent with Supervisor Latimer’s policy. Thus, Ms. Teti’s asserted injury
based on the solicitation definition is also purely speculative.

        Finally, Dr. Brigham’s testimony was largely concerned with the burdens that challenged
drop box and vote-by-mail restrictions have on his ability to vote. Dr. Brigham, a cancer survivor,
now lives with the disability of an uncontrollable bowel and would rather not vote in person if he
has other methods available to him. Indeed, at trial, Dr. Brigham was not asked any question about
the need for relief or assistance while waiting in line to vote in person. Tr. at 1596–1614. So, again,
any injury to Dr. Brigham based on the solicitation definition is purely speculative given the record
before this Court.
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generalized reference to harms suffered by Florida constituents). But this Court

heard zero testimony establishing any individual constituent’s standing to challenge

the solicitation definition with respect to their local Supervisor of Elections—let

alone, the other 66 Supervisors of Elections. In short, Disability Rights Florida has

failed to prove associational standing to challenge the solicitation definition

provision. Likewise, Plaintiff Common Cause appears to have abandoned any claim

with respect to the solicitation definition, see ECF No. 652-1 at 5–6.

                                          3

      As to the Florida Rising Plaintiffs, and as discussed above in the section on

Plaintiffs’ intentional race discrimination claims, Florida Rising Together has

standing against Defendant Supervisors of Elections for Broward, Palm Beach, and

Duval counties.

      As to Poder Latinx, Plaintiffs assert a theory of organizational standing to

challenge the solicitation definition. ECF No. 652-2 at 4. They rely entirely on the

testimony of Mr. Esteban Garces, Poder Latinx’s coexecutive director and

cofounder. Tr. at 186. Mr. Garces testified that Poder Latinx set up within 50 feet of

polling sites in Orange and Osceola counties during the 2020 election to provide

language assistance to voters waiting in lines in those counties. Id. at 221–22. He

also testified that Poder Latinx understands the challenged solicitation definition

now potentially bans its assistance within 150 feet of the polls, and so it chooses not

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to engage with voters within that buffer zone going forward. Id. at 222–23. In

addition, Mr. Garces testified that Poder Latinx is working on alternative plans, such

as making larger signs or shifting toward more social media or television

engagement to reach voters who need language assistance at the polls. Id. at 223.

Mr. Garces noted that a one-hour television segment on Univision would cost the

organization about $20,000. Id. But for SB 90, Poder Latinx would use this money

toward “growth” for the organization, including investing in infrastructure and

additional staff. Id. at 224.

       I find Mr. Garces’s testimony credible and sufficient to establish Poder

Latinx’s standing with respect to its challenge of the solicitation definition as to

Defendant Supervisors of Elections in Orange and Osceola counties. But again, as

with the other Plaintiffs, this testimony does not prove that Poder Latinx has standing

as to the remaining Supervisors of Elections for the same reasons explained at length

above.

       As to Plaintiff Equal Ground Education Fund (Equal Ground), Plaintiffs again

only assert a theory of organizational standing to challenge the solicitation

definition. ECF No. 652-2 at 6. They rely entirely on the testimony of Ms. Jasmine

Burney-Clark, Equal Ground’s founder and consulting director. Tr. at 380. Ms.

Burney-Clark testified that Equal Ground conducted “line warming” activities

within 150 feet of polling places and drop boxes during the 2020 election in Volusia,

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Pinellas, Seminole, and Orange counties. Id. at 384, 393, 395, 400, 402. Specifically,

about 80% of Equal Ground’s Souls to the Polls programming was held within 150

feet of drop boxes or polling places in Volusia, Pinellas, Seminole, and Orange

counties in 2020. Id. at 421–22. But now, because of the challenged solicitation

definition, Equal Ground will no longer provide such services within 150 feet of

drop boxes or polling places going forward. Id. at 397–98, 402. Moreover, Equal

Ground is working on diverting resources to educate voters on these changes with

respect to voter assistance at the polls. Id. at 403. Specifically, Equal Ground is

creating educational materials to deliver to voters in its core counties, hiring more

staff, and paying the additional fees for attending more community events to educate

the public about SB 90, including the solicitation definition. Id.; see also id. at 409.

To pay for Equal Ground’s new political director, the organization has had to divert

funds from its Souls to the Polls and voter registration programming, in addition to

tapping into the organization’s limited reserves. Id. at 409. In addition, Equal Ground

was unable to fill several internal staff positions or county staff due to this diversion

of its limited resources. Id. at 409–10.

      I find Ms. Burney-Clark’s testimony credible and sufficient to establish Equal

Ground’s standing with respect to its challenge of the solicitation definition as to

Defendant Supervisors of Elections in Orange, Pinellas, Volusia, and Seminole

counties. But again, as with the other Plaintiffs, this testimony does not prove that

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Equal Ground has standing as to the remaining Supervisors of Elections for the same

reasons explained at length above.

      Lastly, as to Hispanic Federation, Plaintiffs assert a theory of organizational

standing and associational standing to challenge the solicitation definition. ECF No.

652-2 at 8–9. They rely entirely on the testimony of Mr. Frederick Vélez Burgos,

Hispanic Federation’s national director of civic engagement. Tr. at 716. Mr. Vélez

Burgos testified that Hispanic Federation has only conducted “line warming”

activities in Orange, Osceola, Miami-Dade, and Broward counties and has helped

other organizations do the same in Polk County. Id. at 723. Mr. Vélez Burgos

testified that although Hispanic Federation tries to set up its tables at the polls outside

of the 150-foot zone, Hispanic Federation volunteers have nonetheless provided

language assistance to voters within the buffer zone. Id. at 742. In addition, Mr.

Vélez Burgos testified that while the organization offers food, water, and phone

chargers to voters outside of the 150-foot zone, he is sure that volunteers have

incidentally crossed into the 150-foot zone. Id. at 743. In addition, some polling

places make it impossible for Hispanic Federation to set up in a safe place that is

close enough to the voters but still outside the 150-foot buffer zone. Id. At such

locations, Mr. Vélez Burgos testified that Hispanic Federation is “probably” setting

up its “line warming” stations inside of the 150-foot buffer zone. Id. Lastly, Mr.

Vélez Burgos testified that his organization provides rides to the polls for voters in

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these counties, and sometimes the drivers enter the 150-foot buffer zone to drop the

voter off. Id. at 744. Moreover, volunteers, including Mr. Vélez Burgos, assist

disabled voters on foot up to the doors of their polling places. Id. at 744–45.

      Because of SB 90, however, Mr. Vélez Burgos testified that Hispanic

Federation is unable to determine whether its “line warming” activities violate the

solicitation ban as defined by the challenged solicitation definition. Tr. at 746. The

organization plans to resume its “line warming” activities in February or March of

2022. Id. at 819–20. But veteran canvassers, including green card holders who wish

to become citizens in the future, have now told Hispanic Federation that they do not

want to continue their “line warming” activities for fear of getting involved with law

enforcement at the polls. Id. at 774–75. In addition, due to the confusion the law has

caused Hispanic Federation, the organization has had to divert resources to pay

outside legal counsel for advice on how the solicitation definition could be

interpreted. Id. at 746. This diversion of limited resources has required Hispanic

Federation to decrease its budget for communications and satellite offices. Id. at 817.

      I find Mr. Vélez Burgos’s testimony credible as it relates to Hispanic

Federation’s “line warming” activities in Orange, Osceola, Miami-Dade, and

Broward counties and sufficient to establish Hispanic Federation’s injury as to the

challenged provision. Like Ms. Scoon, Mr. Vélez Burgos has personally assisted

disabled voters to the doors of polling places. Moreover, his organization has

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provided “line warming” to voters at the polls in each of these counties, and its

activities have taken place within the 150-foot zone for several different reasons—

for instance, providing Spanish language assistance to voters within the 150-foot

zone or dropping voters off at the polls within the buffer zone. Now, however,

veteran canvassers no longer wish to engage in “line warming” activities for fear of

running afoul of the law. Moreover, the organization has had to divert resources to

respond to the solicitation definition and its potential impact on Hispanic

Federation’s “line warming” activities in Orange, Osceola, Miami-Dade, and

Broward counties.

      For these reasons, and those discussed at great length above with respect to

the other organizational Plaintiffs, Hispanic Federation has standing to challenge the

solicitation definition in Miami-Dade, Broward, Orange, and Osceola counties.

However, Hispanic Federation has not proved standing to challenge the solicitation

definition with respect to the balance of the Defendant Supervisors of Elections.

                                          4

      To recap, as for Plaintiffs’ vagueness and overbreadth claims, Plaintiffs Cecile

Scoon and the League entities have standing to sue to enjoin only the Bay County

Supervisor of Elections from enforcing the solicitation definition; Plaintiff Florida

NAACP has standing to sue to enjoin only the Volusia County Supervisor of

Elections from enforcing the solicitation definition; Plaintiff Florida Rising Together

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has standing to sue to enjoin only the Broward, Palm Beach, and Duval County

Supervisors of Elections from enforcing the solicitation definition; Plaintiff Poder

Latinx has standing to sue to enjoin only the Orange and Osceola County

Supervisors of Elections from enforcing the solicitation definition; Plaintiff Equal

Ground has standing to sue to enjoin only the Orange, Pinellas, Volusia, and

Seminole County Supervisors of Elections from enforcing the solicitation definition;

and Plaintiff Hispanic Federation has standing to sue to enjoin only the Miami-Dade,

Broward, Orange, and Osceola County Supervisors of Elections from enforcing the

solicitation definition. Having resolved all threshold standing issues, this Court turns

to the merits of Plaintiffs’ vagueness and overbreadth claims challenging the

solicitation definition.

                                           B

                                           1

      Turning to the merits, Plaintiffs argue the solicitation definition is

impermissibly vague and overbroad in violation of the Due Process Clause of the

Fourteenth Amendment and the First Amendment. See ECF No. 649 at 83 and ECF

No. 652 at 383; see also ECF No. 160 ¶¶ 178–86; ECF No. 45 ¶¶ 177–85; ECF No.

59 ¶¶ 191–210. They assert both facial and as-applied claims with respect to

vagueness and overbreadth. See ECF No. 402 at 7–13 (pretrial stipulation); see also

ECF No. 380 at 12 n.5 (order clarifying that this Court did not grant summary

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judgment on Plaintiffs’ overbreadth or vagueness claims). To review, the challenged

definition provides:

             [T]he terms “solicit” or “solicitation” shall include, but not be
      limited to, seeking or attempting to seek any vote, fact, opinion, or
      contribution; distributing or attempting to distribute any political or
      campaign material, leaflet, or handout; conducting a poll except as
      specified in this paragraph; seeking or attempting to seek a signature on
      any petition; selling or attempting to sell any item; and engaging in any
      activity with the intent to influence or effect of influencing a voter.

§ 102.031(4)(b), Fla. Stat. (2021) (emphasis added).

      This definition informs Florida’s ban on “solicitation” within 150 feet of

polling places and drop boxes, which provides that

             [n]o person, political committee, or other group or organization
      may solicit voters inside the polling place or within 150 feet of a drop
      box or the entrance to any polling place, a polling room where the
      polling place is also a polling room, an early voting site, or an office of
      the supervisor where vote-by-mail ballots are requested and printed on
      demand for the convenience of electors who appear in person to request
      them. Before the opening of a drop box location, a polling place, or an
      early voting site, the clerk or supervisor shall designate the no-
      solicitation zone and mark the boundaries.

§ 102.031(4)(a), Fla. Stat. (2021). This Court begins with a discussion of the law

governing these claims.

      Vague laws violate the Due Process Clause because they fail to give notice of

what they prohibit. A law can be impermissibly vague in two distinct ways. “First,

if it fails to provide people of ordinary intelligence a reasonable opportunity to

understand what conduct it prohibits. Second, if it authorizes or even encourages

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arbitrary and discriminatory enforcement.” Wollschlaeger v. Governor, Fla., 848

F.3d 1293, 1319–20 (11th Cir. 2017); see also Papachristou v. City of Jacksonville,

405 U.S. 156, 162 (1972). Overbroad laws, on the other hand, violate the First

Amendment because they punish “a substantial amount of protected free speech,

judged in relation to the statute’s plainly legitimate sweep.” Virginia v. Hicks, 539

U.S. 113, 118–19 (2003) (cleaned up).

      Vagueness and overbreadth are interrelated but discrete concepts. Am.

Booksellers v. Webb, 919 F.2d 1493, 1505 (11th Cir. 1990). For example, a law that

prohibits any person from engaging “in First Amendment activities” in a set area is

overbroad but not vague. Erwin Chemerinsky, Constitutional Law 1032 (6th ed.

2019) (quoting Bd. of Airport Comm’rs of L.A. v. Jews for Jesus, Inc., 482 U.S. 569,

571 (1987)). And a law that bans all activity not protected by the First Amendment

is vague but not overbroad. Id. But often a law is both overbroad and vague—a

concept the Eleventh Circuit has called “[o]verbreadth from indeterminacy.” Webb,

919 F.2d at 1505. This is so because an indefinite law may give the government

leeway to punish protected conduct. So, in addressing overbreadth, this Court must

“evaluate the ambiguous as well as the unambiguous scope of the enactment.” Vill.

of Hoffman Ests. v. Flipside, Hoffman Ests., Inc., 455 U.S. 489, 495 n.6 (1982).




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       Before reaching the question of whether the solicitation definition is

unconstitutionally vague and/or overbroad, this Court considers whether Plaintiffs’

“line warming” activities are protected under the First Amendment.

                                                2

       First, the State-level Defendants and Defendant-Intervenors argue that

Florida’s solicitation definition does not implicate the First Amendment because, as

applied to Plaintiffs’ “line warming” activities, it regulates only conduct that

“facilitates voting” and not conduct expressing a message. ECF No. 648 at 70–73.52

These Defendants make only a passing reference to this proposition and cite a single

Ninth Circuit case for support. See id. at 72 n.19 (quoting Feldman v. Ariz. Sec’y of

State’s Off., 840 F.3d 1057, 1084 (9th Cir. 2016)). Of course, the portion of the Ninth

Circuit case that these Defendants cite has nothing to do with “line warming”

activities or solicitation bans in buffer zones around polling places, but instead

addressed whether “ballot collection is expressive conduct protected under the First

Amendment.” Feldman, 840 F.3d at 1084. Defendants’ reliance on this case is, at

best, misplaced.




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           “Argue” is a generous term. Without engaging in any analysis, the State-level Defendants
and Defendant-Intervenors offer the conclusory statement that Plaintiffs did not demonstrate that
their “line warming” activities are understood to communicate any identifiable message by those
viewing them. ECF No. 648 at 72.
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      This Court must decide whether Plaintiffs have proved their “line warming”

activities qualify as expressive conduct protected under the First Amendment.

“Constitutional protection for freedom of speech ‘does not end at the spoken or

written word.’ ” Fort Lauderdale Food Not Bombs v. City of Fort Lauderdale, 901

F.3d 1235, 1240 (11th Cir. 2018) (quoting Texas v. Johnson, 491 U.S. 397, 404

(1989)). Rather, the First Amendment also encompasses a right to engage in

“expressive conduct.” Id. (quoting Holloman ex rel. Holloman v. Harland, 370 F.3d

1252, 1270 (11th Cir. 2004)).

      To determine whether Plaintiffs’ “line warming” activities are expressive—

and thus entitled to First Amendment protection—this Court must ask two questions.

See Spence v. Washington, 418 U.S. 405, 410–11 (1974). These are “(1) whether an

intent to convey a particularized message was present, and (2) whether the likelihood

was great that the message would be understood by those who viewed it.” Burns v.

Town of Palm Beach, 999 F.3d 1317, 1336 (11th Cir. 2021) (cleaned up) (quoting

Johnson, 491 U.S. at 404). While the first question is self-explanatory, the second is

more nuanced. It requires this Court to ask “whether the reasonable person would

interpret” the conduct as conveying “some sort of message, not whether an observer

would necessarily infer a specific message.” Food Not Bombs, 901 F.3d at 1240

(emphasis in original) (quoting Holloman, 370 F.3d at 1270) (cleaned up).




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       In Burns, the Eleventh Circuit distilled Food Not Bombs into the following

factors to determine whether a reasonable person would interpret the conduct as

conveying some sort of message: (1) whether the plaintiff intends to distribute

literature or hang banners in connection with the expressive activity; (2) whether the

activity will be open to all; (3) whether the activity takes place in a traditional public

forum; (4) whether the activity addresses an issue of public concern; and (5) whether

the activity “has been understood to convey a message over the millenia.” Burns,

999 F.3d at 1344–45. There, the Eleventh Circuit considered “the weight of the

factors” and concluded that Mr. Burns’s mansion was not expressive conduct. Id. at

1345. But the court also noted that the Food Not Bombs factors are not “exclusive”—

“[t]here may be other factors that are relevant to whether Burns’s new mansion is

expressive conduct protected by the First Amendment.” Id. at 1346.

       Here, the crux of Defendants’ argument is that “Plaintiffs did not demonstrate

a ‘great likelihood’ that their line-warming activities are understood by those

viewing them to communicate any identifiable message in any of Florida’s sixty-

seven counties[.]” ECF No. 648 at 72 (quoting Burns, 999 F.3d at 1336).53 Not so.

Turning to the evidence introduced at trial, Plaintiffs have proved the likelihood is




       53
           Defendants apparently concede that Plaintiffs have established their intent to convey a
particularized message. But even if they do not, the overwhelming evidence at trial establishes this
first prong under Spence and its progeny.
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great that a reasonable person would interpret their “line warming” activities to

communicate an identifiable message.

      Starting with Ms. Scoon and the League entities, this Court heard

uncontradicted testimony that their activities in Bay County are accompanied by a

banner and educational materials—though League volunteers do not take

educational materials with them inside of the buffer zone. See Tr. at 57. Their

assistance is open to all voters on site and takes place in public areas outside of

polling places. Id. at 58–61. And their assistance addresses a matter of public

concern—voting and democracy. Indeed, Ms. Scoon testified that voters who receive

assistance have expressed an understanding of and gratitude for the emotional

support that the League volunteers offer to voters waiting in lines outside of the polls.

Id. at 61–62.

      Likewise, as to the Florida NAACP, Ms. Slater also testified that the Florida

NAACP’s “line warming” activities in Volusia County are open to all voters waiting

in lines outside of their polling places. Tr. at 1956–57, 1959–60; see also id. at 516

(Mr. Brown’s testimony that local NAACP “line warming” activities “do not

discriminate . . . if there’s a person in line that need[s] our assistance, we provide

it”). In Volusia County, the Florida NAACP has historically provided such assistance

to voters outside of polling places at three specific precincts in Daytona—the John

H. Dickerson Center on Martin Luther King Boulevard, the Allen Chapel AME

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Church, and the public library at City Island. Id. at 1957–58. And, historically, the

Volusia County NAACP’s “line warming” work has been well-received by voters at

those sites. Id. at 1960–61 (“[T]hey are relieved. We get – we always get

compliments, positive compliments. Voters are glad to see us. They know that we

are there to give them relief and support when needed, that we get – we have nothing

but compliments . . . regarding our – them knowing that we’re there to give them

support and relief.”).

       As to Florida Rising Together, Ms. Mercado testified that its volunteers have

previously provided food, water, or umbrellas to any voters in need who were in line

outside of their polling places in Broward, Palm Beach, and Duval counties, and that

it plans to invest in larger signs to tell voters that assistance is available. Tr. at 2046–

47. The provision of such relief serves as “encouragement . . . to stick it out and stay

in line until they cast their vote.” Id. at 2046. As to Poder Latinx, Mr. Garces testified

that volunteers have previously set up about 50 feet from polling locations with

signage and t-shirts to provide nonpartisan support and assistance to voters waiting

in lines outside of their polling place. Id. at 218–19. Mr. Garces testified that the

decision to set up 50 feet from the polling location allows volunteers to be “close

enough to be able to approach voters in parking lots or sidewalks” but far enough

away so as “not to cause any issues.” Id. at 222. But due to SB 90, Poder Latinx will

now have to invest in larger signs to communicate its message of support and

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assistance to voters from outside of the 150-foot buffer zone or take to the airwaves

or social media to communicate that message. Id. at 222–23.

      As for Equal Ground, Ms. Burney-Clark testified that its “line warming”

activities are an extension of its Souls to the Polls programming, and that it “go[es]

to the polls, provide[s] folks with food, water, fans, and seating and sometimes even

entertainment,” to “ensure voters stay in line and commit to voting as opposed to

choosing between some of their bodily needs . . . while they are standing in those

long lines.” Id. at 400–01. Similarly, Mr. Vélez Burgos testified that in handing out

water to voters waiting in line outside of their polling places, voters respond with

thanks while volunteers ask those voters to “[p]lease stay in line until you exercise

your right to vote.” Id. at 744.

      A common thread runs through each witness’s testimony—namely, that

although their “line warming” activity varies from organization to organization, all

Plaintiffs not only seek to have voters actually stay in line and cast their ballots, they

also communicate to those voters that their determination to exercise the franchise

is important and celebrated. As to the Burns factors, Plaintiffs’ “line warming”—

specifically, that of Ms. Scoon, the League entities, and Poder Latinx—is

accompanied with signs and t-shirts. Likewise, this assistance has accompanied an

even larger event or celebration, like the Volusia County NAACP’s Souls to the Polls

programming. Plaintiffs have provided this assistance within the buffer zone outside

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of polling places—an area the U.S. Supreme Court and Eleventh Circuit have both

considered to be a traditional public forum. See Burson v. Freeman, 504 U.S. 191,

196–97 (1992) (plurality opinion) (“These forums include those places which by

long tradition or by government fiat have been devoted to assembly and debate, such

as parks, streets, and sidewalks. Such use of the streets and public places has, from

ancient times, been a part of the privileges, immunities, rights, and liberties of

citizens.” (cleaned up)); see also Citizens for Police Accountability Pol. Comm. v.

Browning, 572 F.3d 1213, 1217 n.9, 1218 (11th Cir. 2009) (applying Marks rule and

extending Burson plurality’s reasoning to appeal of challenge to Florida’s ban on

exit polling regarding non-ballot issues within no-solicitation zone); 54 cf. Minn.

Voters All. v. Mansky, 138 S. Ct. 1876, 1886 (2018) (noting that the four-Justice

plurality in Burson parted ways with Justice Scalia’s concurrence over whether the

public sidewalks and streets surrounding a polling place qualified as a nonpublic

forum, but holding that interior of polling place is a nonpublic forum). Moreover, it




       54
           See also CBS Inc. v. Smith, 681 F. Supp. 794 (S.D. Fla. 1988) (Marcus, J.) (granting
preliminary injunction against enforcement of earlier iteration of § 102.031, Fla. Stat., and noting
that the statute’s “150-foot zone as measured from the building entrance housing a polling place
does not exempt public streets, sidewalks, and parks. These traditional, quintessential public
forums—places which by long tradition or by government fiat have been devoted to assembly and
debate, are entitled to the protection of the First Amendment” (internal citation and quotation
marks omitted)); CBS Broad., Inc. v. Cobb, 470 F. Supp. 2d 1365, 1369 (S.D. Fla. 2006) (“As a
facially content-based restriction on political speech in a public forum, Section 102.031 must be
subjected to exacting scrutiny: the State must show that the regulation is necessary to serve a
compelling state interest and that it is narrowly drawn to achieve that end.” (emphasis added and
cleaned up)).
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is undisputed that Plaintiffs’ assistance is open to all, and the message accompanying

their “line warming” activities addresses an issue of public concern—voting and

democracy.

      Although the testimony did not establish that every Plaintiff intends to

distribute literature or hang banners in connection with their “line warming”

activities or that such “line warming” activities have been understood to convey a

message over the millennia, the balance of the Burns factors and the specific factual

context of this case establish that Plaintiffs’ “line warming” activities are expressive

activities that a reasonable person would understand to convey a specific message

of support, solidarity, and celebration in exercising “their most precious and

priceless right, and that’s their right to vote.” Tr. at 512. Accordingly, I conclude that

Plaintiffs’ “line warming” activities are expressive activities protected by the First

Amendment.

                                            3

      Having determined that Plaintiffs’ “line warming” activities are covered by

the First Amendment, this Court turns to whether the solicitation definition is

impermissibly vague such that it chills Plaintiffs’ speech or overbroad in violation

of the First Amendment. “It is by now, a ‘basic principle of due process that an

enactment is void for vagueness if its prohibitions are not clearly defined.’ ” Burns,

999 F.3d at 1349 (quoting Wollschlaeger, 848 F.3d at 1319). And when speech is

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involved, “rigorous adherence” to the twin concerns of fair notice of what’s

prohibited and precise guidance to prevent arbitrary or discriminatory enforcement

“is necessary to ensure that ambiguity does not chill protected speech.”

Wollschlaeger, 848 F.3d at 1320. Indeed, “[w]hile perfect clarity and precise

guidance have never been required even of regulations that restrict expressive

activity, government may regulate in the area of First Amendment freedoms only

with narrow specificity.” Id. (internal citations and quotation marks omitted).

       For both the vagueness and overbreadth challenges, this Court begins by

construing the statute at issue. This Court starts here because it is mindful that it has

a duty to construe the statute as constitutional if it can.55 See Boos v. Barry, 485 U.S.

312, 330 (1988).

       The nature of this Court’s duty to narrowly construe a challenged statute varies

depending on whether this Court is construing a state or federal enactment. When a

federal law is at issue, this Court has a “duty to avoid constitutional difficulties by

[adopting a limiting construction] if such a construction is fairly possible.” Boos,

485 U.S. at 331 (emphasis added). If, on the other hand, a state law is at issue, this

Court cannot “adopt a narrowing construction . . . unless such a construction is



       55
           This Court recognizes that there are really two doctrines at play here. One “holds that
courts should, if possible, interpret ambiguous statutes to avoid rendering them unconstitutional.”
United States v. Davis, 139 S. Ct. 2319, 2332 n.6 (2019). The other “suggests courts should
construe ambiguous statutes to avoid the need to address serious questions about their
constitutionality.” Id. Given their obvious overlap, both are addressed together here.
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reasonable and readily apparent.” Id. at 330 (emphasis added); accord Stenberg v.

Carhart, 530 U.S. 914, 944 (2000); see also Gooding v. Wilson, 405 U.S. 518, 520

(1972) (noting that “[o]nly the [state] courts can supply the requisite construction”

to save an otherwise vague and overbroad statute).

      “The distinction is an important one” because “[w]hen a state statute has

unconstitutional applications and has not been given a narrowing construction by the

state court that saves it from those applications, federal courts ‘must be careful not

to encroach upon the domain of a state legislature by rewriting a law to conform it

to constitutional requirements.’ ” Toghill v. Clarke, 877 F.3d 547, 556 (4th Cir. 2017)

(quoting Legend Night Club v. Miller, 637 F.3d 291, 301 (4th Cir. 2011)); see also

Dimmitt v. City of Clearwater, 985 F.2d 1565, 1572 (11th Cir. 1993) (“[A]s a federal

court, we must be particularly reluctant to rewrite the terms of a state statute.”

(emphasis in original)); Wis. Right to Life, Inc. v. Barland, 751 F.3d 804, 833 (7th

Cir. 2014) (explaining that “the ‘unless’ clause” in “unless such construction is

reasonable and readily apparent” is an “important federalism principle [that] should

be invoked sparingly and with caution”).

      So, the question before this Court is not whether there is any reading that

would render the statute constitutional. Nor is it whether there is a possible,

plausible, or simply reasonable reading that would render the statute constitutional.

Instead, the question is whether there is a constitutional reading of the statute that is

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both reasonable and readily apparent and, thus, does not require this Court to rewrite

the statute to conform it to constitutional requirements. See Citizens for Responsible

Gov. State Pol. Action Comm. v. Davidson, 236 F.3d 1174, 1194–95 (10th Cir. 2000)

(declining state’s invitation to give statute at issue “a construction more restrictive

than that provided by [its] plain language” (quoting Wilson v. Stocker, 819 F.2d 943,

948 (10th Cir. 1987))).

      With that in mind, this Court starts with the text. Section 102.031(4)(a) bans

solicitation within 150 feet of certain locations, including polling places and drop

boxes. In turn, the challenged provision, section 102.031(4)(b), provides that

             the terms “solicit” or “solicitation” shall include, but not be
      limited to, seeking or attempting to seek any vote, fact, opinion, or
      contribution; distributing or attempting to distribute any political or
      campaign material, leaflet, or handout; conducting a poll except as
      specified in this paragraph; seeking or attempting to seek a signature on
      any petition; selling or attempting to sell any item; and engaging in any
      activity with the intent to influence or effect of influencing a voter.

§ 102.031(4)(b), Fla. Stat. (2021).

      As noted above, the challenge here is concerned with the amended language,

“and engaging in any activity with the intent to influence or effect of influencing a

voter.” Plaintiffs assert this language is vague because it criminalizes conduct based

on a third party’s subjective reaction to it, fails to provide notice of what is

prohibited, fails to define “influencing a voter,” and invites arbitrary enforcement.

ECF No. 649 at 84–86; ECF No. 652 at 383–86. In short, Plaintiffs assert the

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expanded language now potentially criminalizes anything that “has the effect of

influencing a voter,” whether or not one intends any influence, and the statute fails

to define what “influencing a voter” means in this context. 56

       In defense of the statute, the State-level Defendants and Defendant-

Intervenors assert the challenged provision “clarifies existing election laws and

creates a ‘floor’ that prohibits significantly less speech than what many supervisors

of elections already prohibit under Florida Statutes section 102.031.” ECF No. 648

at 74; see also id. at 33 (“It was much amended during the legislative process, but

the final version enacted as part of Senate Bill 90 simply clarified existing law.”).

How does the amended statute “clarify” existing law? Defendants do not say. It is

apparently self-evident—meriting no further discussion or engagement with the text.

Once again, Florida’s lawmakers have planted an aspen in the Florida Statutes—you

know it’s an aspen because of the way it is.57

       To start, this Court must make clear the question before it. The question is not

how the statute actually applies. That is to say, this Court is not construing the statute

to apply it in a particular, well-defined context. Rather, the question is whether a

person of ordinary intelligence can understand what the statute prohibits. Thus, the


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         To reiterate, a violation of section 102.031’s ban on solicitation, as defined by section
102.031(4)(b), is a first-degree misdemeanor, punishable by up to a year in jail and a $1,000 fine.
See § 104.41, Fla. Stat.
       57
       See This is an Aspen, YouTube (Oct. 19, 2019), https://www.youtube.com/watch?v=
wKiXdqaY180.
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canons of construction, while still relevant, take on less significance. And while this

is a court of law—not grammar—the “ordinary principles of English prose” are not

“irrelevant” to the definition’s construction. See Flora v. United States, 362 U.S.

145, 150 (1960). This is especially true here, where the question is how a person of

ordinary intelligence would read the statute. Relatedly, this Court will not enjoin the

statute’s enforcement merely because it can imagine some “close cases.” United

States v. Williams, 553 U.S. 285, 305 (2008).

      This Court also acknowledges the obvious up front; some conduct clearly falls

within the definition’s scope. Bribing someone to vote for your preferred candidate

clearly falls within the scope of “solicitation,” and is an activity with the intent to

influence a voter. The same goes for asking every voter in line to vote for or against

a certain candidate moments before they enter the polling place. But the Supreme

Court has squarely rejected the argument that “a vague provision is constitutional

merely because there is some conduct that clearly falls within the provision’s grasp.”

Johnson v. United States, 576 U.S. 591, 602 (2015).

      Likewise, although it is well within the Florida Legislature’s purview to

outlaw solicitation of voters waiting in line near the polls, overbreadth is an

exception to the rule that a plaintiff who brings a facial attack on a statute must show

that the statute can never be constitutionally applied. Doe v. Valencia Coll., 903 F.3d

1220, 1232 (11th Cir. 2018). All of this is to say that the mere fact that the statute

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has some constitutional applications does not decide the ultimate issue before this

Court.

         With those caveats, this Court turns back to the statute’s language. Plaintiffs

take no issue with the bulk of the solicitation definition—indeed, their challenge is

only directed at the language that Senate Bill 90 added—namely, “engaging in any

activity with the intent to influence or effect of influencing a voter.” Starting with

the statutory text, this Court is instructed to “proceed from the understanding that

unless otherwise defined, statutory terms are generally interpreted in accordance

with their ordinary meaning.” Regions Bank v. Legal Outsource PA, 936 F.3d 1184,

1190 (11th Cir. 2019) (citations and internal quotation marks omitted). Here, the

challenged statute “otherwise define[s]” the terms “solicit” and “solicitation” to

include the challenged language. Accordingly, this Court need not resort to

determining the plain or ordinary meaning of the terms “solicit” or “solicitation.”

         Moving to the challenged language, the statutory text is clear that “any

activity” is illegal if one either (1) engages in it within the 150-foot buffer zone with

the specific “intent to influence” a voter, or (2) such activity occurs within the 150-

foot buffer zone and has the “effect of influencing a voter,” regardless of one’s intent.

This language, on its face, does not provide anyone fair notice of what’s prohibited,

nor does it provide precise guidance to the law’s enforcers to prevent arbitrary or

discriminatory enforcement. Instead, it outlaws “any activity” within a 150-foot zone

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if you intend that it influences a voter or it has the unintended effect of influencing

a voter.

      “Activity” remains undefined. But the ordinary meaning of the term offers no

window into what’s prohibited under Florida’s expanded solicitation ban. Webster’s

has defined “activity” to mean several things, including (1) “the quality or state of

being active: behavior or actions of a particular kind,” (2) “vigorous or energetic

action,” (3) “natural or normal function,” (4) “an active force,” (5) “a pursuit in

which a person is active,” (6) “a form of organized, supervised, often extracurricular

recreation,” and (7) “an organizational unit for performing a specific function.”

Merriam-Webster.com       Dictionary,    Merriam-Webster,       https://www.merriam-

webster.com/dictionary/actvity (last visited March 15, 2022). Other forms of

conduct already prohibited under the solicitation definition amount to different kinds

of “activities” in the sense that they are all “pursuit[s] in which a person is active”—

for example, “seeking or attempting to seek any vote, fact, opinion, or contribution,”

“distributing or attempting to distribute any political or campaign material, leaflet,

or handout,” “conducting a poll except as specified in this paragraph,” “seeking or

attempting to seek a signature on any petition,” and “selling or attempting to sell any

item.” See § 102.031(4)(b), Fla. Stat. (2021).

      But here, the definition goes beyond these specified “activities” to include

“engaging in any activity” that has a specific intent or result. And the Eleventh

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Circuit has held that when “ ‘any’ [is used] without ‘language limiting the breadth

of that word, ‘any’ means all.’ ” Regions Bank, 936 F.3d at 1194 (quoting CBS Inc.

v. PrimeTime 24 Joint Venture, 245 F.3d 1217, 1223 (11th Cir. 2001)). Here, the

Florida Legislature provides that this list of prohibited “activities” “includes, but is

not limited to,” the list provided above, and the expanded language that Plaintiffs

challenge. Accordingly, without any limitation on the word “any,” Florida has

outlawed all activities within the 150-foot zone if they are conducted with or without

a specific intent, so long as they have the effect of influencing a voter.

      Looking to the words around the challenged language also offers no

clarification or limitation as to what’s prohibited under the expanded definition. See

Nehme v. Smithkline Beecham Clinical Labs., Inc., 863 So. 2d 201, 205 (Fla. 2003)

(“Under the doctrine of noscitur a sociis (a word is known by the company it keeps),

one examines the other words used within a string of concepts to derive the

legislature’s overall intent.”). Specifically, the other verbs defining “solicit” under

section 102.031(4)(b) include “seeking,” “selling,” “distributing” and “conducting.”

“To seek” can mean “to resort to,” “to go in search of,” “to ask for,” or “to try to

acquire or gain.” See Merriam-Webster.com Dictionary, Merriam-Webster,

https://www.merriam-webster.com/dictionary/seek (last visited March 15, 2022).

Thus, “to seek” a vote, fact, opinion, contribution, or signature on a petition

ordinarily means one is approaching a voter “to ask for” or “to try to acquire or gain”

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their vote, fact, opinion, contribution, or signature. “To sell” ordinarily means “to

offer for sale.” “To distribute” ordinarily means “to divide among several or many:

apportion,” or “to give out or deliver especially to members of a group.” See

Merriam-Webster.com        Dictionary,    Merriam-Webster,      https://www.merriam-

webster.com/dictionary/distribute (last visited March 15, 2022). Thus, handing out

free political leaflets or campaign materials to voters in line is prohibited under the

ordinary meaning of this term. And finally, “to conduct” a poll unless otherwise

allowed for under the Election Code ordinarily means one “direct[s] or take[s] part

in the operation or management of,” that poll. See Merriam-Webster.com Dictionary,

Merriam-Webster,      https://www.merriam-webster.com/dictionary/conduct           (last

visited March 15, 2022).

      In prohibiting the asking of voters to vote for a specific candidate, sign a

specific petition, or offer a fact or opinion, the distribution of political or campaign

materials or leaflets, and the offering of items for sale to voters near polling places

and drop boxes, the Florida Legislature’s intent appears to be focused on shielding

voters from both the common annoyances attendant to such activities and the taint

of fraud or intimidation at the polls. But as Plaintiffs point out, the fact that the

expanded prohibition criminalizes “any activity” based upon whether a voter feels

they’ve been “influenced” by such activity is akin to other statutes that the Supreme

Court has struck down for tying criminal culpability to whether the defendant’s

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conduct was unacceptable based on “wholly subjective judgments without statutory

definitions, narrowing context, or settled legal meanings.” United States v. Williams,

553 U.S. 285, 306 (2008) (citing Coates v. Cincinnati, 402 U.S. 611, 614 (1971)

(holding that ordinance criminalizing “annoying” assemblies of three or more

persons on sidewalks was unconstitutionally vague on its face) and Reno v. ACLU,

521 U.S. 844, 870–71, 871 n.35 (1997)).

      And while the Eleventh Circuit has previously credited the State’s interest in

protecting voters from “undue influence” at the polls, see Citizens for Police

Accountability Political Committee, 572 F.3d at 1219, the challenged language does

not couch its prohibition within the scope of a particular sort of influence—undue or

otherwise. Nor does the statute provide notice of what that “influence” must concern.

Must the influence be limited to convincing voters to vote for or against certain

candidates or ballot measures? Or is it directed at discouraging a voter to stay in

line? What about activities that are intended to influence a voter to feel a sense of

pride or patriotism for voting? Does a person distributing religious or artistic

literature to individuals in that 150-foot zone commit a misdemeanor if they intend

to influence folks to try out their church or to go see their art show? What about a

person who helps an unsteady voter to the door with the intent to influence that voter

to make it to the polls safely?




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      And what of those activities that have only the unintended “effect” of

influencing a voter? Has the jogger wearing a “MAGA” t-shirt and sharing the

sidewalk with voters within 150 feet of the polls committed a misdemeanor? What

about the immunocompromised teenager wearing a “Black Lives Matter” mask who

waits just outside the polling place for their parent who’s voting inside? The

sensitivities and proclivities of any given voter could dictate who gets arrested for

“solicitation.” And until that voter alerts you to the “influence” that they’ve

subjectively experienced, it is impossible to know what activity violates this statute.

At best, section 102.031(4)(b)’s new language—if it is susceptible to any reasonable

reading—puts a person of ordinary intelligence on notice that if they say or do

anything within 150 feet of the polls that “influences” a voter in some way, they’ve

committed a crime.

      This Court also heard testimony from some Supervisors of Elections

regarding their interpretation of this new language. There did not appear to be any

clear consensus as to what this new definition means or how it should apply. For

example, Supervisor of Elections for Leon County, Mark Earley, testified that he

agreed with a staff member’s opinion that the new language is “vague,” Tr. at 3513,

but he doesn’t allow anyone to talk to voters in line anyway unless they fall under

some exception. Id. Supervisor of Elections for Hillsborough County, Craig Latimer,

testified that he understands “solicitation” to mean “[t]rying to encourage somebody

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to vote for a person or for or against a referendum.” ECF No. 549-3 at 170. But he

agreed that “[i]t would depend on the situation,” to determine whether someone who

has contact with a voter in the 150-foot buffer zone is “soliciting” a voter. Id.

Accordingly, he testified that there’s “absolutely” an aspect of judgment involved in

enforcing the solicitation ban. Id. at 171. And in his judgment, Supervisor Latimer

has decided “not [to] put up with” anyone handing water bottles to voters in line,

“because [he] do[es]n’t have any idea what that person is talking to the voter about.”

Id. This Court also heard from Supervisor of Elections for Broward County, Joe

Scott, who testified that his office isn’t doing anything different with respect to

solicitation as compared to 2020. Tr. at 1234. However, neither side in this case

offered any evidence of what was permitted in Broward County in 2020. Instead,

Supervisor Scott testified that he thinks this provision is “intimidating to people and

there could be issues where, you know, volunteers who would otherwise be helpful

to the public are not going to because they’re confused about what the law is and

will be nervous about doing anything wrong.” Id. at 1235.

      This Court also heard from Director Matthews, who, after parroting Secretary

Lee’s counsel’s argument that the new language “clarifies” the law, testified that it’s

really up to the “facts and circumstances” of a specific case to determine whether a

nonpartisan organization is prohibited from handing out bottled water to voters under

this definition. Id. at 2813–14. In addition, Ms. Matthews testified that her office has

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not provided an advisory opinion on how to interpret the statute or issued any

directive on the topic. Id. at 2815.

      Based on the evidence before this Court, some Supervisors of Elections have

essentially decided that rather than interpret and enforce the law as written, they will

just rely on their own understanding of what “solicitation” means. Others have

determined that the expanded language now prohibits “line warming” activities that

they used to allow in their counties. See, e.g., id. at 1962. Other Supervisors aren’t

doing anything different now than before the expanded language was added to

section 102.031—but it’s unclear as to what was allowed before the definition was

expanded. Accordingly, this expanded solicitation definition both fails to put

Floridians of ordinary intelligence on notice of what acts it criminalizes and

encourages arbitrary and discriminatory enforcement, making this provision vague

to the point of unconstitutionality. It requires individuals to “speculate as to the

meaning of penal statutes,” at the risk of their liberty. Lanzetta v. State of New Jersey,

306 U.S. 451, 453 (1939).

      “When Congress passes a vague law, the role of courts under our Constitution

is not to fashion a new, clearer law to take its place, but to treat the law as a nullity

and invite Congress to try again.” Davis, 139 S. Ct. at 2323. While it is not Congress

that authored this statute, the same principle applies; this Court’s role is not to

remedy the Florida Legislature’s mistake, but to give the Legislature the opportunity

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to do so itself. Accordingly, I conclude that the solicitation definition’s ban on

“engaging in any activity with the intent to influence or effect of influencing a voter”

is unconstitutionally vague under the Due Process Clause of the Fourteenth

Amendment.

                                           4

      This Court turns next to Plaintiffs’ overbreadth argument. As explained above,

the overbreadth doctrine loosens the rules typically governing facial attacks on the

constitutionality of a statute. Valencia Coll., 903 F.3d at 1232. The exception exists

because “the threat of enforcement of an overbroad law may deter or ‘chill’

constitutionally protected speech—especially when the overbroad statute imposes

criminal sanctions.” Hicks, 539 U.S. at 119.

      To prevail on their overbreadth claim, Plaintiffs must show that section

102.031(4)(b) “punishes a ‘substantial’ amount of protected free speech, ‘judged in

relation to the statute’s plainly legitimate sweep.’ ” Id. at 118–19. “Substantial

overbreadth” is not “readily reduced to an exact definition.” Members of City

Council of City of L.A. v. Taxpayers for Vincent, 466 U.S. 789, 800 (1984). But the

Supreme Court has recognized that “the mere fact that one can conceive of some

impermissible applications of a statute is not sufficient to render it susceptible to an

overbreadth challenge.” Id. So the question is not whether this Court can conceive

of any hypothetical situation in which section 102.031(4)(b) would violate the

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Constitution. Instead, this Court must ask whether section102.031(4)(b) prohibits a

substantial amount of activity protected by the First Amendment relative to the

amount of unprotected activity it prohibits.

      The first step, then, is to figure out what the statute prohibits. Williams, 553

U.S. at 293. At this step, this Court “should, of course, construe the statute to avoid

constitutional problems, if the statute is subject to such a limiting construction.” New

York v. Ferber, 458 U.S. 747, 769 n.24 (1982). But this Court cannot twist itself into

a pretzel to save an otherwise invalid statute. See Boos, 485 U.S. at 330 (“[F]ederal

courts are without power to adopt a narrowing construction of a state statute unless

such a construction is reasonable and readily apparent.”). Assuming the statute is not

subject to a limiting construction, the next question is whether the statute

“criminalizes a substantial amount of protected expressive activity.” Williams, 553

U.S. at 297. “In making that determination, a court should evaluate the ambiguous

as well as the unambiguous scope of the enactment.” Flipside, 455 U.S. at 495 n.6.

If the statute is overbroad, this Court must ask whether it can sever the problematic

provision from the rest of the statute. Ferber, 458 U.S. at 769 n.24.

      First, as explained above, the challenged provision is vague because it is fails

to provide notice of what’s prohibited, allows for arbitrary or discriminatory

enforcement, and is not subject to a limiting construction. Second, considering the

statute’s ambiguous scope, it is overbroad. To be sure, the statute criminalizes a large

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amount of unprotected activity. But, in its ambiguity, it also consumes vast swaths

of core First Amendment speech.

      In reviewing other polling place restrictions on speech, the Supreme Court has

recognized that states must be allowed to strike a balance between “the

accommodation of the right to engage in political discourse with the right to vote.”

Minnesota Voters Alliance, 138 S. Ct. at 1892 (quoting Burson, 504 U.S. at 198).

Accordingly, the Supreme Court has upheld a 100-foot restriction around polling

places in Tennessee that banned “the display of campaign posters, signs, or other

campaign materials, distribution of campaign materials, and solicitation of votes for

or against any person or political party or position on a question.” Burson, 504 U.S.

at 193 (quoting Tenn. Code. Ann. § 2-7-111(b) (Supp. 1991)). Likewise, the Eleventh

Circuit rejected a challenge to Florida’s ban on signature solicitation targeting voters

exiting polling places. See Citizens for Police Accountability Political Committee,

572 F.3d at 1215. In so doing, the Eleventh Circuit found the challenged ban on

soliciting signatures from voters exiting the polls “mirror[ed] in many respects—

including the size of the restricted zone—the Tennessee statute upheld in Burson.”

Id. at 1221.

      More recently, however, in 2018, the Supreme Court reviewed a restriction on

speech within a more restricted forum—inside polling places—in Minnesota Voters

Alliance. 138 S. Ct. 1876. In that case, the Supreme Court held that Minnesota’s ban

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on voters wearing political badges, political buttons, or anything bearing political

insignia inside polling places on Election Day violated the First Amendment. Id. at

1882, 1892. To reach this conclusion, the Supreme Court noted that the inside of

polling places is a nonpublic forum subject to greater restrictions on speech—but

because Minnesota’s ban was not “capable of reasoned application,” it did not pass

constitutional muster. Id. at 1886, 1892; see also id. at 1891 (“But the State’s

difficulties with its restrictions go beyond close calls on borderline or fanciful cases.

And that is a serious matter when the whole point of the exercise is to prohibit the

expression of political views.”).

      The same infirmities apply to Florida’s ban on “engaging in any activity with

the intent to influence or effect of influencing a voter.” Rather than attempting to

strike any balance to allow for any discourse, Florida has outlawed “any activity”—

including any speech—within 150 feet of the polls if it is intended to “influence” or

has the unintended effect of “influencing” a voter. Instead of tailoring the ban on

solicitation to activities that pose a risk of confusing or intimidating voters around

the polls, Florida has outlawed all activities that “influence” voters in some

unidentified way.

      That said, there can be no doubt, overbreadth is “strong medicine” that must

be employed sparingly. Broadrick v. Oklahoma, 413 U.S. 601, 613 (1973). But here

we are not dealing with marginal cases. Section 102.031(4)(b)’s expanded language

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banning “engaging in any activity with the intent to influence or effect of influencing

a voter” is overbroad in violation of the First Amendment.

      The next question is whether this provision is severable from the remainder

of section 102.031, Florida Statutes. Severability of state legislative provisions is “a

matter of state law.” Leavitt v. Jane L., 518 U.S. 137, 139 (1996). “Florida law clearly

favors (where possible) severance of the invalid portions of a law from the valid

ones.” Solantic, LLC v. City of Neptune Beach, 410 F.3d 1250, 1269 n.16 (11th Cir.

2005). “Florida’s severance doctrine is designed to show great deference to the

legislative prerogative to enact laws by recognizing the obligation of the judiciary to

uphold the constitutionality of legislative enactments where it is possible to strike

only the unconstitutional portions.” Jones v. Governor of Fla., 950 F.3d 795, 831

(11th Cir. 2020) (citations and quotations omitted). “Florida law thus adopts a strong

presumption of severability, and squarely places the burden on the party challenging

severability.” Id. (citation omitted).

      “Under Florida law, ‘the remainder of the act [may] stand’ where ‘a part of a

statute [has been] declared unconstitutional’ so long as four requirements are met:

      (1) the unconstitutional provisions can be separated from the remaining
      valid provisions, (2) the legislative purposes expressed in the valid
      provisions can be accomplished independently of those which are void,
      (3) the good and the bad features are not so inseparable in substance
      that it can be said that the Legislature would have passed the one
      without the other and, (4) an act complete in itself remains after the
      invalid provisions are stricken.

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Id. (citing Smith v. Dep’t of Ins., 507 So. 2d 1080, 1089–90 (Fla. 1987)).

      “In brief, ‘[t]he question is whether the taint of an illegal provision has

infected the entire enactment, requiring the whole unit to fail.’ ” Emerson v.

Hillsborough Cnty., 312 So. 3d 451, 460 (Fla. 2021) (citation omitted). In applying

these factors, Florida courts “have recognized the cardinal principle of severability

analysis: ‘The severability of a statutory provision is determined by its relation to

the overall legislative intent of the statute of which it is a part, and whether, the

statute, less the invalid provision, can still accomplish this intent.’ ” Id. (citation

omitted).

      Here, the problematic provision, “engaging in any activity with the intent to

influence or effect of influencing a voter,” is severable from the rest of section

102.031(4)(b) and leaves the remainder of that definition provision and the overall

statute governing order at the polls intact. The legislative purpose of authorizing the

maintenance of good order at the polls and outlawing solicitation of voters can be

accomplished independent of the new, expanded language. Indeed, the problematic

provision was added thirteen years after the last substantive change to the provision

defining “solicitation.” See Ch. 2008-95, § 25, Laws of Fla. (amending definition of

solicitation with respect to exit polling). Moreover, no Defendant in this action has

attempted to show that the challenged provision is not severable from the

unchallenged portion of section 102.031. The Defendant Supervisors of Elections

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still maintain authority to define the no-solicitation zone, enforce its prohibitions,

and remove “disruptive and unruly persons” from the zone. Accordingly, the

problematic language is severable, and this Court enjoins its enforcement by

Defendant Supervisors of Elections for Volusia, Bay, Broward, Palm Beach, Duval,

Miami-Dade, Seminole, Pinellas, Orange, and Osceola Counties.

                                          V

                                          A

      Plaintiffs in Case Nos. 4:21cv187 and 4:21cv201 also challenge the

solicitation definition on preemption grounds. They claim that the solicitation

definition, on its face and in its application, conflicts with section 208 of the VRA,

52 U.S.C. § 10508. ECF No. 45 ¶¶ 224–28; ECF No. 59 ¶¶ 211–18.

      Of course, “federal preemption of a state or local law is premised on the

Supremacy Clause of the United States Constitution,” and thus implicates

constitutional questions. BellSouth Telecomms., Inc. v. Town of Palm Beach, 252

F.3d 1169, 1176 (11th Cir. 2001). “A fundamental and longstanding principle of

judicial restraint requires that courts avoid reaching constitutional questions in

advance of the necessity of deciding them.” Williamson v. Brevard Cnty., 928 F.3d

1296, 1316–17 (11th Cir. 2019) (quoting Lyng v. Nw. Indian Cemetery Protective

Ass’n, 485 U.S. 439, 445 (1988)). Accordingly, because this Court has already found

the solicitation definition unconstitutional under the First, Fourteenth, and Fifteenth

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Amendments, there is no need to address the preemption question. See, e.g., Green

Party of Tenn. v. Hargett, 791 F.3d 684, 695 (6th Cir. 2015) (“Because we find that

the ballot retention statute is facially unconstitutional under the Equal Protection

Clause, we need not decide whether it also violates the First Amendment.”); Cates

v. Zeltiq Aesthetics, Inc., 535 F. Supp. 3d 1222, 1231 (M.D. Fla. 2021) (“The Court

need not address the preemption question because Defendant is already entitled to

summary judgment on alternative grounds.”).

                                            B

      Likewise, Plaintiffs in three of these consolidated cases also allege that the

solicitation definition, as applied to their “line warming” activities, infringes on their

right to engage in free speech in violation of the First Amendment. See ECF No. 160

¶¶ 173-77, in Case No. 4:21cv186; ECF No. 45 ¶¶ 167-76, in Case No. 4:21; ECF

No. 59 ¶¶ 191-97, in Case No. 4:21cv201. But, again, given the myriad constitutional

infirmities discussed at length above with respect to the solicitation definition, this

Court need not reach the constitutional question of whether this provision also

violates the First Amendment as applied to Plaintiffs’ “line warming” activities. See,

e.g., Williamson, 928 F.3d at 1316–17; Green Party of Tenn., 791 F.3d at 695; Cates,

535 F. Supp. 3d at 1231.




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                                         VI

      Next, this Court considers Plaintiffs’ compelled speech challenge to the

registration disclaimer provision, section 97.0575(3)(a), Florida Statutes (2021).

That provision requires third-party voter registration organizations (3PVROs)

      a. to notify voter registration applicants at the time the organization collects

their application that the organization might not deliver the application to the

Division of Elections or the supervisor of elections in the county in which the

applicant resides in less than 14 days or before registration closes for the next

ensuing election;

      b. to advise the applicant that the applicant can deliver their application in

person or by mail; and

      c. to inform the applicant how to register online with the division and how to

determine whether their application has been delivered.

      “If the Secretary of State reasonably believes that a person has committed a

violation of this section, the secretary may refer the matter to the Attorney General

for enforcement.” § 97.0575(4), Fla. Stat. (2021). In turn, the Attorney General may

initiate civil actions to redress violations of—or to prevent violations of—section

97.0575. Id. (permitting the Attorney General to seek “a permanent or temporary

injunction, a restraining order, or any other appropriate order”). Finally, section




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97.0575 requires the Secretary of State to “adopt rules to ensure the integrity of the

registration process.” Id. § 97.0575(5).

      Plaintiffs58 argue that the registration disclaimer violates the First Amendment

by compelling them to speak, ECF No. 160 ¶¶ 187–93; ECF No. 59 ¶¶ 237–52; ECF

No. 44 ¶¶ 121–43, and by restricting their political speech and associational rights,

ECF No. 160 ¶¶194–202; ECF No. 59 ¶¶ 237–52.

                                                A

                                                1

      This Court recognizes that SB 524, which is now awaiting Governor

DeSantis’s signature, repeals the registration disclaimer. See Fla. CS for SB 524, § 6

(2022) (proposed amendment to § 97.057(3)(a), Fla. Stat.). All agree that SB 524

moots Plaintiffs’ claims challenging the registration disclaimer. See ECF No. 661 at

7; ECF No. 662 at 1. And this Court has waited, based on federalism concerns and

cognizant of its duty to avoid addressing constitutional issues unnecessarily, to issue

this Order. But this Court can wait no longer. While this issue will likely become

moot soon, it is not moot yet. Thus, this Court turns to Plaintiffs’ claims challenging

the registration disclaimer.




      58
           The NAACP Plaintiffs do not challenge the registration disclaimer.
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                                          2

      Before this Court addresses Plaintiffs’ claims, it must ensure that Plaintiffs

have standing to challenge the registration disclaimer.

                                          a

      This Court begins its analysis with the League Plaintiffs and concludes that

they have standing. Plaintiff Cecile Scoon is the president of the League of Women

Voters of Florida (the League). Tr. at 32. She testified that she has long been a

member of the League and has been personally registering voters for about 36 years.

Id. at 36. Plus, SB 90 has already forced—and will continue to force—her to deliver

the disclaimer. See id. at 50–51. Ms. Scoon does not believe that the disclaimer is

“accurate or fair.” Id. at 51. Based on Ms. Scoon’s testimony, which I find credible,

Ms. Scoon has standing to challenge the registration disclaimer.

      First, she has suffered an injury in fact. The injury in fact requirement “serves

to distinguish a person with a direct stake in the outcome of a litigation—even

though small—from a person with a mere interest in the problem.” Students, 412

U.S. at 689 n.14. Even “an identifiable trifle is enough.” Id. And Ms. Scoon’s injury

is far more than a trifle. Although most First Amendment cases address restrictions

on speech, “measures compelling speech are at least as threatening.” Janus v. Am.

Fed’n of State, Cnty., & Mun. Emps., Council 31, 138 S. Ct. 2448, 2464 (2018).

Unsurprisingly then, courts have found that the “deprivation of [a plaintiff’s] First

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Amendment right[] . . . to be free from compelled speech” is an “injury in fact.”

Jacobs v. Clark Cnty. Sch. Dist., 526 F.3d 419, 426 (9th Cir. 2008). Thus, Ms. Scoon

meets the injury prong.

      Second, Ms. Scoon’s injury is traceable to Defendants Lee and Moody.

Traceability is not an exacting standard; “[p]roximate causation is not a requirement

of Article III standing.” Lexmark Int’l, Inc. v. Static Control Components, Inc., 572

U.S. 118, 134 (2014). And thus “[a] plaintiff . . . need not show . . . that ‘the

defendant’s actions are the very last step in the chain of causation.’ ” Wilding v. DNC

Servs. Corp., 941 F.3d 1116, 1126 (11th Cir. 2019) (quoting Bennett v. Spear, 520

U.S. 154, 168–69 (1997)). “[E]ven harms that flow indirectly from the action in

question can be said to be ‘fairly traceable’ to that action for standing purposes.”

Focus on the Fam. v. Pinellas Suncoast Transit Auth., 344 F.3d 1263, 1273 (11th Cir.

2003).

      Throughout this litigation, both Defendants Lee and Moody have

acknowledged that they directly enforce the registration disclaimer. See, e.g., ECF

No. 163 at 4 (“The Florida Division of Elections, within the Florida Department of

State, oversees enforcement of Section 7.”); id. at 10 (“[T]he Division of Elections

is the party tasked to enforce compliance with the statutory scheme for returning

completed voter registration applications.”); see also ECF No. 176 at 4 n.1 (“The

Attorney General recognizes that she has civil enforcement authority over

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§ 97.0575(3)(a), Fla. Stat. (2021) . . . .”). Defendants did not change their position at

trial and nothing the parties presented to this Court suggests otherwise. Ms. Scoon’s

injury is traceable to Defendants Lee and Moody.

       Third, and finally, an injunction against Defendants Lee and Moody would

redress Ms. Scoon’s injury. The redressability prong “focuses . . . on whether the

injury that a plaintiff alleges is likely to be redressed through the litigation.” Sprint

Commc’ns, 554 U.S. at 287 (emphasis removed). Further, “Article III . . . does not

demand that the redress sought by a plaintiff be complete,” Moody v. Holman, 887

F.3d 1281, 1287 (11th Cir. 2018), and a “substantial likelihood” of redressability will

do. Duke Power Co. v. Env’t Study Grp., 438 U.S. 59, 79 (1978). Enjoining

Defendants Lee and Moody from using their powers to investigate and prosecute

civil enforcement proceedings for suspected failures to deliver the registration

disclaimer will redress Ms. Scoon’s injuries. For example, an order enjoining

Defendants Lee and Moody from enforcing the registration disclaimer removes the

threat that Ms. Scoon—or the League—will be punished for failing to deliver the

disclaimer. Defendants Lee and Moody do not dispute this. Ms. Scoon has

standing. 59


       59
          Because Ms. Scoon has standing, the League also has associational standing. Ms. Scoon
is a member who would have standing in her own right, this suit is germane to the League’s
purpose—the League’s “primary goal is to help people register to vote,” Tr. at 34—and neither
the claim asserted, nor the relief requested requires the participation of individual members. See
GBM, 992 F.3d at 1317 n.29 (“[P]rospective relief weigh[s] in favor of finding that associational
standing exists.”).
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      And even if Ms. Scoon did not have standing, the League itself could also

have standing, either because SB 90 violates its First Amendment rights or through

a diversion-of-resources theory. This Court finds that the League has standing under

a diversion-of-resources theory, but that it has not shown a First Amendment injury.

      Starting with the League’s First Amendment rights, the First Amendment

extends the same protections to the “political speech of corporations or other

associations” as it does to the political speech of natural persons. Citizens United v.

Fed. Election Comm’n, 558 U.S. 310, 343 (2010). And just as the registration

disclaimer compels Ms. Scoon to speak, it compels the League itself to speak. Thus,

the League, it would seem, suffers the same compelled speech injury. For the

League, however, this theory does not work. The problem is that, as explained above,

the League is really two entities, and it remains unclear which League entity is a

3PVRO. Tr. at 1144 (“I would have to check in and see which one it is.”). So this

Court does not know which entity is compelled to speak. Defendant Moody explored

this issue on cross, see id. at 1142–44, so Plaintiffs cannot claim that they were not

on notice. Yet Plaintiffs did nothing to clarify the point. Ultimately, Plaintiffs bear

the burden to prove standing. And this Court finds that saying that SB 90 compels

one of two Plaintiffs to speak—we’re not sure which one—does not cut it. Thus,

Plaintiffs have failed to establish that the League itself has standing under a

compelled speech theory.

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      But the League does have standing under a diversion-of-resources theory, as

explained at length above. Defendants Lee and Moody raise several general

arguments attacking organizational standing—although it is impossible to discern

which Plaintiffs their arguments are directed at. This Court addresses each briefly.

      First, Defendants complain that many Plaintiffs have not specifically

identified the costs SB 90 has imposed on them. ECF No. 648 at 92. Tellingly, the

League is not among the Plaintiffs mentioned in this section of Defendants’ brief.

Based on the testimony described above, this Court rejects this argument as to the

League.

      Next, Defendants argue that “self-inflicted” harms are not Article III injuries.

ECF No. 648 at 48. Specifically, Defendants target “disclaimer-acknowledgement

forms” used by Florida Rising and Poder Latinx. Id. So this argument—apparently—

is not directed toward the League. Even so, this Court addresses it here. The Eleventh

Circuit rejected the same argument when Defendant Lee’s predecessor made it. In

Florida State Conference of NAACP v. Browning, the then-Florida Secretary of State

tried “to draw a distinction between an act or law negating the efforts of an

organization, which is admittedly an injury under Havens, and an act or law merely

causing the organization to voluntarily divert resources in response to the law,”

which the Secretary claimed was “an entirely self-inflicted injury.” 522 F.3d at 1165–

66. Responding to the Secretary’s argument, the Eleventh Circuit drew a line

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between litigation costs and costs incurred in blunting an unconstitutional law’s

effects: “[c]osts unrelated to the legal challenge are different and do qualify as an

injury, whether they are voluntarily incurred or not.” Id. at 1166.

       Diverting resources to comply with SB 90, to reduce SB 90’s impacts, and to

ensure that the Plaintiff organizations are not sanctioned for violating SB 90 draws

resources away from other projects and thus is a cognizable injury under Article III.

       In short, the League would have spent time applying for grants, pursuing

Amendment 4-related projects, and focusing on redistricting. But SB 90 has forced

the League to divert resources away from those projects to educate its members

about the changes SB 90 has wrought. “[B]ecause [the League] cannot bring to bear

limitless resources, [its] noneconomic goals will suffer. Therefore, [the League]

presently ha[s] standing on [its] own behalf to seek relief.” Id. at 1166. 60

       Having determined that both Ms. Scoon and the League have standing to

challenge the disclaimer requirement, this Court need not consider whether the other

League Plaintiffs have standing too. FAIR, 547 U.S. at 53.61




       60
        For the reasons set out above, the League’s injury is traceable to Defendants Lee and
Moody and redressable by an order against them.
       61
          That said, this Court also finds that Plaintiff Alan Madison has individual standing to
challenge the registration disclaimer provision. See Tr. at 703–05.
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                                          b

      Next, this Court turns to the Florida Rising Plaintiffs. They too have

established standing. First, unlike the League, the Florida Rising organizational

Plaintiffs—Poder Latinx, Equal Ground, Hispanic Federation, UnidosUS, and

Florida Rising Together—have all established that they are 3PVROs. Tr. at 191, 383,

719, 1405, 2034. They therefore have standing because SB 90 compels their speech.

See Citizens United, 558 U.S. at 343. But even if this were not so, the Florida Rising

Plaintiffs also have standing because at least one Plaintiff has standing under a

diversion-of-resources theory.

      On that point, this Court heard testimony from Jared Nordlund, the state

advocacy director for Plaintiff UnidosUS (Unidos). Tr. at 1403. Mr. Nordlund

testified that Unidos works “to create an America where Hispanic contributions are

respected and where they are able to pursue their version of the American dream.”

Id. at 1404. Relevant here, Unidos engages in voter registration. Id. at 1405. Unidos’s

voter registration campaign has three prongs: (1) community-based canvassing—

physically going into high-traffic Hispanic neighborhoods and registering people to

vote—(2) digital programing—buying online ads that direct people to Unidos’s

become-a-voter website—and (3) virtual programing—calling people and

encouraging them to register through the become-a-voter website. Id. at 1407.




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Unidos also provides support to affiliate organizations that want to register voters.

Id.

         Through in-person canvassing, Unidos has registered roughly 300,000 voters

since 2012. Id. at 1409. Unidos has registered voters for the 2012, 2014, 2016, 2018,

and 2020 election cycles. Id. In 2020, Unidos registered 72,000 people to vote in

Florida. Id. at 1413. That year, Unidos budgeted $3–3.5 million for voter registration.

Id. at 1413. The registration team consisted of Mr. Nordlund, an Orlando civic

engagement specialist, a Miami civic engagement specialist, an operations manager,

temporary field organizers, team captains, 50 canvassers, and three quality control

managers. Id. at 1413–14.

         Unidos plans to resume in-person voter registration in the spring of 2022. Id.

at 1422. With SB 90 in place, Unidos expects that it will take more time to register

voters. Id. at 1423. This is because Unidos will now have to deliver the disclaimer

and then explain the disclaimer while registering voters. Id. Unidos will also have to

train staff on how to deliver the disclaimer. Id. at 1424. Plus, Unidos will spend

resources developing a receipt for registrants to prove it delivered the disclaimer. Id.

at 1425.

         Because of the disclaimer requirement, Unidos anticipates “paying for

additional staff time to train people and retrain people on the disclaimer and making

sure that they complete the acknowledgment form.” Id. at 1437. And in part because

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of the disclaimer requirement, Unidos believes that its per-voter registration costs

will rise from $30–35 to $35–40. Id. at 1438–39. Overall, Unidos will be forced to

budget around $100,000 more for voter registration than it had in the past. Id. at

1439.

        To pay for these added costs, Unidos will have to do additional fundraising.

Id. at 1439. But, of course, fundraising has costs too. Here, additional fundraising

will take time away from voter education and get-out-the-vote efforts. Id. It will also

draw Mr. Nordlund away from Unidos’s issue advocacy work. For example, Mr.

Nordlund will have less time to advocate for bills that “would allow English-learner

students in K through 12 to take their year-end FSAs in their native language,” and

“would allow any nonprofit in Florida to be reimbursed for their time to enroll a

person who is eligible [for] SNAP.” Id. at 1440. Additional time spent fundraising

would also strain Unidos’s effort to advocate for more affordable housing. Id.

        And if fundraising cannot cover the added cost, Unidos will have to “take

money away from [its] canvassing shifts,” which would mean “less time in the field”

and “less production.” Id. at 1441. This Court finds Mr. Nordlund’s testimony

credible.

        Based on the above, Unidos has established organizational standing to

challenge the registration disclaimer. Whether Unidos has yet diverted its resources

or finalized its budget is irrelevant. As long as it “reasonably anticipate[s] that [it]will

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have to divert personnel and time” to offset the registration disclaimer’s effects,

Unidos has standing. Browning, 522 F.3d at 1165–66; see also id. at 1166 (“Even

though the injuries are anticipated rather than completed events, they satisfy the

immediacy and likelihood requirements . . . .”).

      In sum, the disclaimer requirement will impose additional costs on Unidos’s

registration program by forcing Unidos to spend more money training staff and by

forcing it to hire more staff. To pay for these added costs, Unidos will have to raise

more money. But the time and effort spend fundraising will draw resources away

from other projects such as get-out-the-vote efforts, voter education, lobbying the

Legislature, and campaigning for more affordable housing. Thus, in addition to their

First Amendment injuries, the Florida Rising Plaintiffs have standing because at

least one Plaintiff has standing under a diversion-of-resources theory.

                                          c

      Finally, this Court turns to Plaintiff HTFF and concludes that it too has

standing to challenge the registration disclaimer. Like the Florida Rising

organizational Plaintiffs, HTFF has standing because the disclaimer provision

compels its speech. HTFF also has standing because the disclaimer provision forces

HTFF to divert resources.

      As to diversion of resources, this Court heard from HTFF’s founder,

Rosemary McCoy. Tr. at 255–56. She testified that HTFF is a nonpartisan

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organization that focuses on civic engagement and education. Id. at 256. Its “goal is

to increase [political] participation among those that are underserved.” Id. at 260. To

that end, HTFF engages in voter registration, organization, and education. Id.

      Relevant here, HTFF works to register voters in underserved low-income

communities—typically canvassing, for example, at laundromats, bus stations,

courthouses, and convenience stores. Id.

      SB 90 will also force HTFF to spend more time with each potential registrant

explaining the disclaimer. Id. at 268. This reduces the number of voters HTFF can

register. HTFF now uses a registration acknowledgment form to document its

compliance with SB 90. Id. at 278, 282. Plus, HTFF distributes receipts to persons

it registers. Id. at 283. On top of these measures, HTFF has produced training

materials to help train its staff to work through questions that the registration

disclaimer may raise from potential registrants. Id. at 284.

       If the registration disclaimer were not in place, HTFF could spend more time

training canvassers on how to convince potential registrants of the importance of

voting. Id. at 286. Plus, because canvassers are paid for training time, HTFF must

pay more money to train them to deliver the disclaimer. Id. And if HTFF did not

have to print materials related to the registration disclaimer, it would print materials

educating the public about primary elections. Id. at 287. This Court finds Ms.

McCoy’s testimony credible on these points.

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      In sum, then, SB 90 forces HTFF to spend time and money training canvassers

to deliver the registration disclaimer. Absent SB 90, HTFF would use those resources

to train its canvassers to better handle other aspects of the registration process. And

if HTFF did not have to print materials documenting its compliance with SB 90, it

could print materials educating voters about other parts of the electoral process—

such as primary elections. Accordingly, HTFF has standing under a diversion-of-

resources theory.

      Having concluded that at least one Plaintiff from each consolidated case has

standing to challenge the registration disclaimer, this Court proceeds to the merits of

Plaintiffs’ claims.

                                          B

      Turning to the merits, this Court must first decide what test applies to

Plaintiffs’ claims. This Court begins with Defendants’ argument that Plaintiffs’

speech is commercial speech entitled to lesser protection under the First

Amendment.

                                          1

      In passing, Defendants try to cast Plaintiffs’ speech as commercial, and thus

subject to the more lenient standard of review set out in Zauderer v. Office of

Disciplinary Counsel of Supreme Court of Ohio, 471 U.S. 626, 629 (1985). This

Court has already rejected this argument. And although it pains this Court to retread

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this ground, because Defendants advance new arguments as to why Plaintiffs’ speech

is commercial, this Court will reiterate, Plaintiffs’ speech is not commercial.62

       Defendants advance two arguments supporting their position. First,

Defendants say Plaintiffs’ speech is commercial “because 3PVROs have

professional employees who profit from their participation in voter registration

activities.” ECF No. 648 at 81 n.22. Second, Defendants point to “the unique

fiduciary responsibilities Florida law imposes upon [3PVROs] in relation to

prospective registrants, and the significant overlap between this obligation and

common law fiduciary responsibilities imposed in the commercial context.” Id. This

Court takes each argument in turn.

       The most obvious issue with Defendants’ first argument is that some Plaintiffs

do not employ paid canvassers. For example, the League registers voters using

volunteers. See, e.g., Tr. at 64 (“We are volunteers.”). More to the point, it makes

little difference whether Plaintiffs pay their canvassers. Commercial speech is a

“narrow category,” encompassing only speech that is “related solely to the economic

interests of the speaker and its audience, or” that “does no more than propose a

commercial transaction.” Dana’s R.R. Supply v. Att’y Gen., Fla., 807 F.3d 1235, 1246

(11th Cir. 2015) (cleaned up). Plaintiffs’ speech—encouraging Floridians to register


       62
         This Court also incorporates by reference its previous analysis on this issue in its orders
addressing Defendants’ motions for summary judgment. See, e.g., ECF No. 245, in Case No.
4:21cv214, at 10–16.
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to vote—is neither. Under Defendants’ theory, artists, journalists, and authors—who

are all paid to speak—would receive diminished First Amendment protections

because they engage in commercial speech. See Hoover v. Morales, 164 F.3d 221,

225 (5th Cir. 1998). That is simply not the law.

      Second, Defendants place far too much weight on the fact that Florida labels

3PVROs “fiduciaries.” If this Court were to accept Defendants’ argument, the State

could transform any group’s speech into commercial speech by labeling that group

a fiduciary. Thus, Defendants invite this Court to grant the State the power to

diminish disfavored groups’ First Amendment rights at will. See Nat’l Inst. of Fam.

& Life Advocs. v. Becerra, 138 S. Ct. 2361, 2375 (2018) (NIFLA) (“States cannot

choose the protection that speech receives under the First Amendment, as that would

give them a powerful tool to impose ‘invidious discrimination of disfavored

subjects.’ ” (quoting Cincinnati v. Discovery Network, Inc., 507 U.S. 410, 423–424

n.19 (1993))); see also Otto v. City of Boca Raton, Fla., 981 F.3d 854, 867 (11th Cir.

2020) (“The First Amendment’s core speech protections could not very well

withstand that sort of restriction-via-professionalization.”). This Court declines that

invitation. Plainly, Plaintiffs’ speech is not commercial.

                                           2

      Zauderer does not supply the right test, but that invites the question—what

test should this Court apply? All agree that Anderson-Burdick does not apply. Unlike

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SB 90’s other provisions, which regulate “the mechanics of the electoral process,”

the registration disclaimer requirement is “a regulation of pure speech.” McIntyre v.

Ohio Elections Comm’n, 514 U.S. 334, 345 (1995). Accordingly, this Court agrees

that Anderson-Burdick does not apply.

      As to the proper test, however, the parties do not agree. Plaintiffs ask this

Court to apply strict scrutiny because the disclaimer requirement compels them to

speak. Defendants, on the other hand, analogize the registration disclaimer to

campaign finance disclaimers, and ask this Court to apply exacting scrutiny.

      Plaintiffs rely mainly on the Supreme Court’s decision in NIFLA. There, the

Court passed on the constitutionality of a California law requiring “clinics that

primarily serve pregnant women” to “notify women that California provides free or

low-cost services, including abortions, and give them a phone number to call.”

NIFLA, 138 S. Ct. at 2368. The California law targeted “crisis pregnancy centers,”

which are “largely Christian belief-based” centers that aim to discourage women

from seeking abortions. Id.

      First, the Court explained that the law was content based; “[b]y compelling

individuals to speak a particular message,” the law altered their speech’s content. Id.

at 2371. In NIFLA, the law required “clinics [to] provide a government-drafted script

about the availability of state-sponsored services, as well as contact information for

how to obtain them. One of those services [was] abortion—the very practice that

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petitioners are devoted to opposing.” Id. “[P]lainly,” then, the law altered the

plaintiffs’ speech. Id. The Court then rejected the argument that the plaintiffs’ speech

was professional speech subject to a lower level of review. Id. at 2372–75. Without

foreclosing “the possibility that some reason exist[ed]” for treating the law before it

differently, the Court struck down the disclosure law because it did not pass even

intermediate scrutiny. Id. at 2375.

      Plaintiffs argue that the registration disclaimer and the California law at issue

in NIFLA are doppelgangers. Like the California law, the registration disclaimer

forces Plaintiffs to deliver a message—that Plaintiffs may not deliver an applicant’s

registration on time and that the registrant can register through other means. And in

both cases, the government’s message goes against the speaker’s mission because it

suggests that government-provided alternatives to the speaker’s services are

available.

      Defendants, on the other hand, liken the registration disclaimer to campaign

finance disclaimers. They argue that the registration disclaimer “may burden the

ability to speak,” but it does “not prevent anyone from speaking.” Citizens United,

558 U.S. at 366. For this reason, Defendants say, the registration disclaimer is subject

to “exacting scrutiny.” Id. Defendants also claim that NIFLA does not apply because

it “did not involve election-related speech.” ECF No. 648 at 84.




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       This Court agrees with Plaintiffs. NIFLA controls.63 The most fundamental

problem with Defendants’ argument is that nearly every case they cite addresses a

law requiring groups to disclose their donors to the government. See Buckley v.

Valeo, 424 U.S. 1, 64 (1976); Citizens United, 558 U.S. at 366; Gaspee Project v.

Mederos, 13 F.4th 79, 82 (1st Cir. 2021); Worley v. Fla. Sec’y of State, 717 F.3d

1238, 1240 (11th Cir. 2013); The Real Truth About Abortion, Inc. v. Fed. Election

Comm’n, 681 F.3d 544, 545 (4th Cir. 2012). And the only case Defendants cite that

applied exacting scrutiny to a disclosure requirement outside the campaign finance

context addressed a law that required speakers to disclose their identity. See

McIntyre, 514 U.S. at 338 n.3.

       Yet the registration disclaimer does not require Plaintiffs to disclose anything

about themselves. For example, it does not require Plaintiffs to inform potential

registrants that they are funded by outside groups—as many of the Plaintiff

organizations are. Nor does it require canvassers to identify the organization they are

affiliated with. Rather, the registration disclaimer requires Plaintiffs to deliver the



       63
           Though not necessarily for the same reasons Plaintiffs argue. Plaintiffs suggest that
exacting scrutiny applies only to laws that restrain freedom of association by compelling speakers
to disclose their affiliation with groups engaged in advocacy. ECF No. 649 at 67. But the line
between speech and association is not as clean as Plaintiffs suggest. For example, in McIntyre v.
Ohio Elections Commission, the Court applied exacting scrutiny to a law requiring speakers to
disclose their identity. 514 U.S. at 344–45; see also id. at 342 (“[A]n author’s decision to remain
anonymous, like other decisions concerning omissions or additions to the content of a publication,
is an aspect of the freedom of speech protected by the First Amendment.” (emphasis added)). So
exacting scrutiny can apply to disclosures impinging either the right to speak or to associate.
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government’s message: that Plaintiffs may not return the application and that

alternative government services are available. This is no mere statement of fact.

      On the surface, of course, the statement is factually true. Sometimes 3PVROs

turn in applications late. But the statement is also misleading. As Mr. Nordlund

noted, “it makes it sound [like] organizations like ours habitually turn[] in voter

registrations late or [do not] deliver them at all.” Tr. at 1424. As explained above,

the evidence before this Court shows that 3PVROs seldom submit applications late.

Put differently, the registration disclaimer is like forcing 3PVROs to tell registrants

that someone in their organization could steal their identity. Is it a factual statement?

Sure, that could happen; but the risk is so small that forcing the 3PVRO to disclose

it would mislead registrants into thinking it was likely.

      Plus, in some ways, the disclaimer here is worse than the disclaimer at issue

in NIFLA. Suppose the law in NIFLA required crisis pregnancy centers not only to

inform clients that government sponsored services were available, but also that the

center might give the client subpar services—that is what we have here. That

Plaintiffs are compelled to deliver this government-imposed, self-effacing message

is hardly comparable to a political committee being “forced to communicate that

their message is not endorsed by a candidate or the candidate’s committee.” ECF

No. 648 at 84.




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      In sum, when the government compels a speaker to deliver its message, strict

scrutiny applies. McClendon v. Long, 22 F.4th 1330, 1337–38 (11th Cir. 2022). Thus,

the disclaimer requirement is subject to strict scrutiny.

                                           3

      Because the registration disclaimer is a content-based restriction on speech, it

is “presumptively unconstitutional” and subject to strict scrutiny. Reed v. Town of

Gilbert, Ariz., 576 U.S. 155, 163 (2015). Under strict scrutiny, Defendants must

show that the registration disclaimer is “narrowly tailored to serve compelling state

interests.” Id. That, Defendants cannot do.

                                           a

      Starting with the State’s interest, under strict scrutiny, Defendants must

identify the interest that actually motivated the Legislature, not provide post hoc

rationalizations for the Legislature’s actions. See Shaw v. Hunt, 517 U.S. 899, 908

n.4 (1996); see also Agudath Israel of Am. v. Cuomo, 983 F.3d 620, 633 (2d Cir.

2020) (“The government’s justification ‘must be genuine, not hypothesized or

invented post hoc in response to litigation.’ ” (quoting United States v. Virginia, 518

U.S. 515, 533 (1996))). As explained below, this Court finds that the Legislature

enacted the registration disclaimer with the intent to discriminate based on race—

the polar opposite of a compelling state interest.




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      And even accepting Defendants’ proffered justifications, “informing the

public about the risks of entrusting 3PVROs with voter registration applications and

of alternative means for registering,” ECF No. 648 at 83, these interests do not justify

the disclaimer.

      First, as for the State’s interest in providing voters with information about

other ways to register, “[t]he simple interest in providing voters with additional

relevant information does not justify a state requirement that a [speaker] make

statements or disclosures she would otherwise omit.” McIntyre, 514 U.S. at 348.

      As for warning voters about the risks of entrusting 3PVROs with their

registration applications, this Court accepts that the State’s interest could be

compelling, provided those risks were significant. Here, however, all evidence

before this Court suggest that they are not. While the evidence shows, and this Court

accepts, that 3PVROs do sometimes turn in registrations late, the evidence also

shows that the chance that a 3PVRO will return any particular voter’s registration

late is vanishingly small.

      For example, Ms. Scoon testified that, in the past ten years, the League had

collected “[t]housands” of voter registration applications. Tr. at 47. Of those

thousands, six were turned in late. Id. Two were late because of a hurricane, and four

were late because a League member miscalculated the due date by one day. Id. That

said, all six registrations were submitted before the book closing, and so all six voters

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were eligible to vote. Id. Similarly, Poder Latinx collected roughly 33,000

registration applications in the run up to the 2020 election. Id. at 191. Of those

registrations, Poder Latinx submitted 55 of them late. See id. at 201. That means that

for any voter who registered through Poder Latinx in the run up to the 2020 election,

there was roughly a 0.16% chance their registration would be submitted late. Put

another way, that means there was a 99.8% chance that Poder Latinx would return

the application on time. But even if you were one of the unlucky 55, Poder Latinx

returned the applications before book closing, and so those applicants still got to

vote. Id. at 202. True, some voters do not get to vote because their applications are

late. Unidos has registered 300,000 voters since 2012. Of those 300,000, five

applications were submitted late, 3 were too late to vote in the primary and 2 were

too late to vote in the general election. Id. at 1419, 1501. That means there is roughly

a 0.00016% chance that a voter who registered through Unidos would be unable to

vote because Unidos submitted their application late. By contrast, there is roughly a

0.0065% chance that a person will be struck by lightning in their lifetime (a 1/15,300

chance).    How      Dangerous      is    Lightning?     National     Weather      Service,

https://www.weather.gov/safety/lightning-odds (last visited March 11, 2022). In

other words, potential registrants are more likely to be stuck by lightning during their

life than to have Unidos turn their application in late. In short, it is incredibly unlikely

that the Plaintiff organizations would turn in an application late.

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      But wait, one might say, maybe other organizations do submit large numbers

of registration applications late. Not according to the Supervisors, who

overwhelmingly testified that they were unaware of widespread issues related to

3PVROs turning in applications late. For example, Supervisor White testified that

she was unaware of any instance in which a voter was prevented from voting because

a 3PVRO submitted a late registration. Tr. at 1343. Similarly, Supervisor Scott

testified that he was unaware of any issues with 3PVROs. Id. at 1163. And

Supervisor Hays also testified that he was unaware of 3PVROs turning in late

applications. ECF No. 549-2 at 130.

      Supervisor Latimer, on the other hand, recognized that there were some issues

in 2020, but explained that they were “very minor.” ECF No. 549-3 at 51. Indeed,

no application was turned in so “late that the person didn’t get registered to be able

to vote in the election.” Id. Similarly, while Supervisor Earley testified to some

issues with 3PVROs, he explained that the “vast majority” of applications submitted

by 3PVROs are submitted on time. Tr. at 2666. Indeed, when Supervisor Earley first

heard about the registration disclaimer, he thought it was “a joke.” Id.

      The harshest testimony this Court heard was from Director Matthews, who

testified that she received complaints about 3PVROs returning registrations late

“[o]n a fairly regular basis.” Id. at 3422. While this Court does not question—and

the evidence reflects—that 3PVROs do turn in some registrations late, this Court

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does not find Director Matthews’s testimony credible on this point (and many

others).

      As this Court tells every jury, they can accept a witness’s testimony “in whole

or in part.” Eleventh Circuit Pattern Jury Instructions, Civil P 1.1 (2013). On this

point, this Court rejects Director Matthews’s testimony. This Court asks jurors “did

the witness impress you as one who was telling the truth?” Id. And Director

Matthews did not. Although indiscernible from a cold record, this Court bore witness

to Director Matthews’s halting speech, evasive answers, and smirks in response to

Plaintiffs’ questions. Director Matthews also precisely parroted Defendants’

arguments in her testimony—for example, likening the registration disclaimer to an

informed consent requirement. Compare ECF No. 321-1 at 46 (“All three

disclaimers empower the voters to make informed decisions.”), with Tr. at 3417 (“I

analogize it to informed consent by a doctor.”). And Director Matthews failed to give

specifics beyond her conclusory testimony that she receives complaints fairly

regularly. While this Court acknowledges that it excluded a compendium of

documents addressing complaints related to late voter registration submissions as

hearsay, Tr. at 3421, nothing prevented Director Matthews from providing more

details, such as an approximate number of complaints received. Plus, when Plaintiffs

called her as their witness, Director Matthews struggled to recall much of anything.

But like Saul on the road to Damascus, Director Matthews had an epiphany between

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her testimony in Plaintiffs’ case in chief and her testimony in Defendants’ case in

chief—suddenly remembering the answer to every question defense counsel posed.

       This Court also tells jurors to ask whether witnesses have “any particular

reason not to tell the truth,” and whether the witness has “a personal interest in the

outcome of the case?” Pattern Instructions, P 1.1. As the Director of the Division

Elections, Director Matthews—who answers directly to Defendant Lee—has both.

       And finally, this Court instructs jurors to ask, “whether the witness’s

testimony differ[ed] from other testimony or other evidence?” Id. Director

Matthews’s testimony that 3PVROs habitually submit registrations late is belied by

every other witness’s testimony—including the testimony of many co-defendants.

Put simply, I find that Director Matthews’s testimony on this point is simply not

credible.

       In sum, this Court finds, based on all the evidence before it, that 3PVROs very

rarely turn in registrations late. 64 Based on the facts here, then, warning voters that

3PVROs might turn in registrations late is not a compelling interest.




       64
           Indeed, registering though the State could be riskier. See Namphy, 493 F. Supp. 3d at
1144 (finding “that roughly 21,722 Floridians were potentially foreclosed from registering” in
2020 because Defendant Lee’s “RegisterToVoteFlorida.gov” website crashed on the last day of
registration).

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                                             b

      Even if Florida’s interests were compelling, the registration disclaimer is not

narrowly tailored to serve those interests. By way of analogy, compelling Plaintiffs

to speak to give potential voters relevant information about the registration process

is the constitutional equivalent of using a flamethrower to dust cobwebs. There are

many less drastic alternatives.

      This Court begins, and ends, with the less restrictive alternative the State

seems poised to adopt: communicating its message itself. See Riley v. Nat’l Fed’n of

the Blind of N.C. Inc., 487 U.S. 781, 800 (1988). Most 3PVROs use the voter

registration form promulgated by Defendant Lee. Tr. at 2779. That form already

contains instructions on “[w]here to register,” the “[d]eadline to register, and ID

requirements.” ECF No. 464-13. It also warns voters that Florida is a closed primary

state, that it is a felony to submit false information of the form, and that much of the

information on the form will be public record. Id. If the State believes that it is

important to “inform[] the public about the risks of entrusting 3PVROs with voter

registration applications and of alternative means for registering,” ECF No. 648 at

83, it could certainly do so on this form.

      And that is exactly what Florida has done. SB 524 removes the registration

disclaimer and adds that provision’s language to Florida’s uniform statewide voter

registration application. Fla. CS for SB 524, § 5 (2022) (creating § 97.057(3)(g), Fla.

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Stat.). Beyond any shadow of a doubt, the registration disclaimer is not narrowly

tailored.

                                           4

      Even accepting that exacting scrutiny applies, the registration disclaimer

would still fall short. Before turning to that test, this Court addresses two conceptual

issues.

      First, Defendants misstate exacting scrutiny’s contours. Defendants try to

contort exacting scrutiny into a two-track test, one that treats disclosure requirements

in the election context more leniently. See ECF No. 648 at 81. Not so. “[E]xacting

scrutiny is not unique to electoral disclosure regimes.” Ams. for Prosperity Found.

v. Bonta, 141 S. Ct. 2373, 2383 (2021). Indeed, the test finds its genesis in

“nonelection cases.” Id. In short, “ ‘it is immaterial’ to the level of scrutiny ‘whether

the beliefs sought to be advanced by association pertain to political, economical,

religious or cultural matters’ ”—exacting scrutiny is exacting scrutiny. Id. (quoting

NAACP v. Alabama, 357 U.S. 449, 460–61 (1958)).

      Second, Defendants also mischaracterize Plaintiffs’ interest, claiming that the

disclosure requirement does not implicate “the kind of core political speech at issue

in Buckley and Citizens United.” ECF No. 648 at 83. Defendants could not be more

wrong. “A discussion of whether or not a person should register to vote . . .

inherently ‘implicates political thought and expression.’ ” League of Women Voters

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v. Hargett, 400 F. Supp. 3d 706, 724 (M.D. Tenn. 2019) (quoting Buckley v. Am.

Const. L. Found., Inc., 525 U.S. 182, 195 (1999)).

      For example, as Hargett recognized, “[a] person seeking to register voters

may, for example, find herself confronted with people who, based on their beliefs

about politics and government, consider voting to be unimportant, a waste of time,

or even a pernicious tool for lending legitimacy to an intolerable system.” Id. That’s

exactly what we have here. For example, Ms. Scoon testified to registering a young

man during a registration drive. Tr. at 38. At first, the man declined to register

because he believed politicians “are all crooks.” Id. Ms. Scoon then engaged the man

in a conversation about how elected officials’ decisions impact his children’s lives

and his parents’ lives. Id. at 38–39. After over 20 minutes of conversation, Ms. Scoon

convinced the man to register. Id. at 39–40. Similarly, Ms. McCoy testified that many

people tell her that they do not want to register because they “don’t trust the system

and” because they believe that their “vote doesn’t matter.” Id. at 263. Ms. McCoy

then engages skeptics in a conversation about how, for example, voting can affect

housing, their children’s future, jobs, and crime in their communities. Id. These

conversations “bear on fundamental questions at the heart of the political system.”

Hargett, 400 F. Supp. 3d at 724. Thus, there is “no reason that the First Amendment

would treat [Plaintiffs’] discussion[s] as somehow less deserving of protection than,

for example, a discussion [as in McIntyre] about whether or not there should be a

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ballot initiative about property taxes.” Id. In sum, Plaintiffs’ speech is core political

speech.

       With those caveats, this Court turns to the test for exacting scrutiny.

“[E]xacting scrutiny requires that there be ‘a substantial relation between the

disclosure requirement and a sufficiently important governmental interest . . . .’ ”

Bonta, 141 S. Ct. at 2385 (quoting John Doe No. 1 v. Reed, 561 U.S. 186, 196

(2010)). Exacting scrutiny also requires “that the disclosure requirement be narrowly

tailored to the interest it promotes.” Id. As explained above, the disclaimer

requirement comes nowhere close to meeting this standard. Accordingly, it fails

under exacting scrutiny as well.

       In sum, whether this Court applies Plaintiffs’ preferred test or Defendants’

preferred test, the registration disclaimer violates Plaintiffs’ First Amendment

rights.65 Accordingly, Defendants Lee and Moody are permanently enjoined from

enforcing it.

                                                VII

       Next, the NAACP Plaintiffs seek to enjoin Defendants’ enforcement of

sections 101.69 (the drop box provision), 101.62(1)(a) (the VBM request provision),

and 102.031(4)(b) (the solicitation definition), under Title II of the Americans with


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          Having concluded that the registration disclaimer unconstitutionally compels Plaintiffs
to speak, this Court need not reach Plaintiffs’ political speech and association theories. See, e.g.,
ECF No. 59 ¶¶ 237-46, in Case No. 4:21cv201.
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Disabilities Act (“ADA”). See ECF No. 402 at 5, 15; ECF No. 45 ¶¶ 152–66. Title

II of the ADA provides that “no qualified individual with a disability shall, by reason

of such disability, be excluded from participation in or be denied the benefits of

services, programs, or activities of a public entity, or be subjected to discrimination

by any such entity.” 42 U.S.C. § 12132. Rules promulgated pursuant to Title II

provide that “[a] public entity shall make reasonable modifications in policies,

practices, or procedures when the modifications are necessary to avoid

discrimination on the basis of disability, unless the public entity can demonstrate that

making the modifications would fundamentally alter the nature of the service,

program, or activity.” 28 C.F.R. § 35.130(b)(7)(i). For the reasons stated below,

Defendants are entitled to judgment as to this claim.

                                           A

                                           1

      This Court begins with a discussion of the relevant background with respect

to the VBM request provision and Plaintiffs’ ADA claim as to that provision before

addressing the drop box and solicitation definition provisions.

                                           a

      Susan Rogers, a constituent of DRF, is a registered voter in Pinellas County

who intends to continue voting by mail in future elections. Tr. at 1088, 1090–91. Ms.

Rogers votes by mail because she suffers from vision loss, which decreases her

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mobility and makes it impossible to read her ballot unassisted. Id. at 1091–02. In

1986, Ms. Rogers was diagnosed with presumed ocular histoplasmosis, a fungal

infection that attacked her central vision and retinal tissue. Id. at 1088–89. Since her

diagnosis, she has lost all central vision in both eyes. Id. at 1089. To vote, Ms. Rogers

relies on assistive devices such as a closed-circuit TV, a KNFB reader, or a magnifier

on her Apple iPad to enlarge the image of the ballot. Id. at 1092.

      In the past, Ms. Rogers has simply checked off a box on her ballot envelope

indicating she would like to continue to vote by mail, a process which she says made

her feel “gleeful” in its ease. Id. at 1095. Now, given the VBM request provision,

she will no longer be able to request her VBM ballot in this fashion. Instead, every

two years, Ms. Rogers must struggle to either apply online—a frustrating process

that requires her to navigate an inaccessible SOE website with her assistive

devices—or find the SOE phone number online and apply over the phone—a

similarly difficult process with the added likelihood of calling at least one wrong

number. Id. at 1096–1102. In addition to hurdles in the new request process, Ms.

Rogers, whose vision loss has impacted both her memory and ability to use a

calendar, fears she will forget to request her VBM ballot every two years. Id. at

1102–03.




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                                           b

      Catherine Teti is a registered voter in Hillsborough County who intends to

vote in future elections. Tr. at 1587-88. Ms. Teti votes by mail because she has

mobility issues, making it hard to go in person. Id. at 15891. She either has to walk

with a cane, a walker, or use a scooter, each method with its own advantages and

disadvantages. Id. at 1589.

      Just like Ms. Rogers, Ms. Teti had requested her VBM ballots by checking the

box on her ballot that says, “Please send me a mail ballot for the next election.” Id.

at 1590. Now that the VBM request provision has prohibited SOEs from offering the

check-box method, she is unsure how she will request a VBM ballot in the future.

She also worries that she might forget to request her ballot, given how accustomed

she has become to simply checking the box. Id. at 1591.

                                           c

      Naomi Slaughter is a fourth generation Floridian and a registered voter in

Hillsborough County. Tr. at 2075, 2077. Her grandfather took her to the polling

station when she was five years old and told her it was her duty as an American

citizen to always cast her vote. Id. at 2077–78. Since then, she has never missed an

election in which she was eligible to vote. Id. at 2078. She signed up to automatically

receive a VBM ballot every year and plans on continuing to vote by mail in future

elections, as she has in the past. Id at 2078-79.

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      Ms. Slaughter votes by mail because her disabilities make it nearly impossible

to leave her home. She suffers from major depression, anxiety disorder, panic

disorder, PTSD, and borderline personality disorder. Id. at 2079. Her mental illnesses

culminate in severe agoraphobia, making it hard to even check her mailbox, and

impossible to go to the polls to vote. Id. at 2080. Her illnesses also impact her

cognitive abilities, making it difficult to comprehend what she is reading. As she

describes it, “it’s like all the words kind of melt in together.” Id. Because she knew

her disorders were not curable, and she would never be able to vote in person again,

she signed up to automatically receive VBM ballots every election. Id. at 2079. She

expressed relief at having had this option, because if she got her ballot every year,

she did not have to go through the difficult process of requesting it all over again.

Id. at 2082.

      Now, due to the VBM Request provision, Ms. Slaughter must request a VBM

ballot every two years. She fears her memory problems will make her forget to

request her ballot. She also has difficulty navigating the SOE website, especially to

deal with a new, complicated form. Tr. at 2083–84. Although VBM ballots can be

requested over the phone, Ms. Slaughter explained that the anxiety she would face

trying to call the Supervisor makes it incredibly difficult for her to communicate. Id.

at 2083–84. This Court credits her testimony about the impact that anxiety has on

her communication ability. Multiple times throughout her testimony, Ms. Slaughter

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broke down into tears, shaking and struggling to find her words. Her distress was

not feigned. When asked why she chose to participate in this case, Ms. Slaughter

responded poignantly.

              Sometimes I wonder. I’m not the only mentally ill person in the
       state. You know, we didn’t ask to be like this. We didn’t ask to be part
       of an invisible illness. There’s a lot of people, and I truly feel like
       oftentimes when the legislators and stuff make up laws, they don’t think
       of disabled people, and they sure as hell don’t think of mentally ill
       people. And just because they’re mentally ill does not mean I’m stupid.
       It doesn’t mean that I don’t still want to be a contributing part of my
       society. You know, I just—I want to be treated fairly.

Id. at 2086–87.
                                               2

       Plaintiffs—DRF, Florida           NAACP, and          Common Cause—are              each

organizations proceeding under theories of associational standing or diversion of

resources.66 This Court begins with whether any Plaintiff has associational standing.

                                               a

       Starting with DRF, the interests at stake in Plaintiffs’ ADA claim are germane

to the organization’s purpose. DRF seeks to enjoin SB 90’s VBM request provision.

As DRF’s mission is to investigate and litigate to protect and advance the rights,

dignity, equal opportunities, self-determination, and choices for all people with




       66
          As only one Plaintiff needs standing in each case, Rumsfeld, 547 U.S. at 53, once it is
established that either DRF, the Florida NAACP, or Common Cause has standing to challenge a
given provision, this Court need not address standing for the remaining Plaintiffs as to that
provision.
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disabilities, the interests at stake here—accessible voting for people with

disabilities—are germane to the organization’s purpose. Tr. at 437.

      Next, “when the relief sought is injunctive, individual participation of the

organization’s members is not normally necessary.” Browning, 522 F.3d at 1160

(quotation marks omitted). Here, DRF seeks injunctive and declaratory relief, so the

individual participation of any of DRF’s constituents is unnecessary.

      Here, standing comes down to whether DRF’s constituents themselves “would

otherwise have standing to sue in their own right” for injunctive relief as to the VBM

provisions. Glover, 222 F.3d at 1330. First, DRF is a designated protection and

advocacy system with constituents rather than members. This appears to be a

distinction without a difference, as protection and advocacy systems “may sue on

behalf of [their] constituents.” Stincer, 175 F.3d at 884. Specifically, DRF need not

establish that all of its constituents are at danger of suffering an injury, but rather

that “ ‘at least one member faces a realistic danger’ of suffering an injury.” Arcia,

772 F.3d at 1342 (quoting Browning, 522 F.3d at 1163).

      Susan Rogers, Catherine Teti, and Naomi Slaughter would all have standing

to sue for a violation of Title II of the ADA, in their own right. Ms. Rogers, a blind

woman, and Ms. Teti, a woman with impaired mobility, both have been checking a

box each election to continue voting by mail. Now, because of the VBM request

provision, they no longer have that option. Ms. Slaughter, who had been enrolled to

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automatically receive a VBM ballot each election, now must request a ballot every

two years. All three of these women plan to continue to vote by mail, so their injuries

are imminent. And an injunction prohibiting the Hillsborough and Pinellas Counties’

Supervisors of Elections from enforcing the VBM request provision would redress

their injuries and allow these women to continue to receive VBM ballots without

following the new request requirements. Accordingly, DRF has proved it has

standing to challenge the VBM request provision.

                                           b

      In addition to associational standing, DRF has standing under a diversion-of-

resources theory. DRF’s Senior Policy Analyst, Ms. Babis, testified that because of

SB 90, DRF has had to transition staff time and expenses from expanding supervised

facility voting, implementing the new accessible vote-by-mail program, and creating

equipment demonstration videos, as well as focusing on different topics at its

election summit to be held this summer. Tr. at 2731–32. Ms. Babis, whose testimony

I find credible, testified that DRF has been doing legislative work to expand the

definition of “supervised facility voting” from just covering nursing homes and

assisted living facilities to include congregate care facilities. Id. at 2732–33. It also

planned on spending much of the next few years helping counties implement the

new accessible vote-by-mail program. The program was appropriated for by the

Legislature, but has yet to be implemented by 62 counties, and it is supposed to

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expand to all 67 counties for the upcoming election. DRF would work to ensure

people know the program exists, how to access it, and setting them up with local

advocates to help implement a process that is accessible. DRF would also be offering

technical assistance to the counties. Id. at 2734–35. And while it is working on these

programs now, it is not working on them to the extent it would have had SB 90 not

forced them to reassess their priorities. Id. at 2735. DRF also had plans to film videos

demonstrating in-person voting machines and how to use them to be placed on

DRF’s website and the SOE websites. This would have cost $30,000 to produce, but

because of SB 90, those plans have been stalled and the organization does not know

when they will resume. Id. at 2735–36.

      Instead, in the wake of SB 90, DRF is working on brochures and educational

materials to inform constituents that they will need to request ballots more

frequently. Educational materials will cost $10,000. Id. at 2731. DRF is also doing a

website accessibility audit for all 67 Supervisor of Elections websites. The point is

to analyze the websites to ensure that they are accessible to voters with disabilities,

like those with hearing, visual, and cognitive impairments. DRF’s concern is that

websites must be accessible to voters with disabilities, so they may be able to

complete the new VBM request process. This is a huge endeavor which will cost

$80,000 in funds reallocated from other activities. Id.; id. at 2733–34.




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      Based on this diversion of time and resources from other identifiable projects

and priorities, including assisting with the implementation of the new accessible

vote-by-mail program and filming new educational videos to provide to SOEs, DRF

has demonstrated that it has standing through a diversion-of-resources theory.

Accordingly, having determined that one Plaintiff has standing to challenge the

VBM request provision under Title II of the ADA, this Court need not determine

whether the Florida NAACP or Common Cause have standing to challenge the VBM

request provision and will turn now to the merits.

                                           3

      Plaintiffs argue that the VBM request provision violates the ADA because it

makes it more difficult for disabled voters to request a VBM ballot. By requiring

voters to request ballots every two years, as opposed to the previous limit of four

years, voters are forced to request VBM ballots twice as often. ECF No. 652 ¶ 1092.

Plaintiffs point to memory issues and mental impairments that may make it harder

for voters with disabilities to remember to request a ballot twice as often. Id. ¶ 1095.

Also, to request a VBM ballot, voters are required to provide to the Supervisor either

the social security number or Florida ID number that they used on their voter

registration. If they do not remember with which number they registered, or they did

not register with one of those ID numbers, they must update their voter registration

forms before requesting the VBM ballot. Plaintiffs point out that inaccessible

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websites, difficulties phoning Supervisors, and other obstacles to requesting a VBM

ballot through the revised request process burden visually impaired, hearing

impaired, and mentally ill voters. Id. ¶¶ 1092–94.

      To prevail on this claim, Plaintiffs must establish (1) that they—or their

constituents—are qualified individuals with a disability; (2) that Plaintiffs’

constituents were “excluded from participation in or denied the benefits of a public

entity’s services, programs, or activities, or w[ere] otherwise discriminated against

by the public entity; and (3) that the exclusion, denial of benefit, or discrimination

was by reason of” their disability. Bircoll v. Miami-Dade Cnty., 480 F.3d 1072, 1081

(11th Cir. 2007) (citing Shotz v. Cates, 256 F.3d 1077, 1079 (11th Cir. 2001)).

      On the first prong, Plaintiffs must show that their constituents “ ‘meet[] the

essential eligibility requirements’ to participate in the program or services at issue

‘with or without reasonable modifications.’ ” People First of Ala. v. Merrill, 491 F.

Supp. 3d 1076, 1155 (N.D. Ala. 2020) (quoting United States v. Georgia, 546 U.S.

151, 153–54 (2006)). Here, there is no suggestion that disabled Floridians—

including Ms. Rogers, Ms. Teti, and Ms. Slaughter—are not registered, eligible

voters.

      As for the second prong, there is no question that elections are a public

program. See, e.g., Am. Ass’n of People with Disabilities v. Harris, 647 F.3d 1093,

1107 (11th Cir. 2011) (“As a public program, disabled citizens must be able to

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participate in the County’s voting program.”); Nat’l Fed’n of the Blind v. Lamone,

813 F.3d 494, 507 (4th Cir. 2016) (“Voting is a quintessential public activity.”).

Additionally, the question is not whether Plaintiffs’ constituents have been excluded

from voting altogether, but whether any given modality of voting is not “readily

accessible” to those with disabilities. Merrill, 491 F. Supp. 3d at 1159–60; see also

Lamone, 813 F.3d at 504–05.

      Plaintiffs have established that requesting a VBM ballot is not readily

accessible to those with disabilities under the VBM request provision. Ms. Rogers’s

testimony, which this Court credits, illuminated how easy it was to request a ballot

before SB 90, and how difficult it has become. Ms. Rogers, a woman who has access

to at least three assistive devices and has some (albeit very little) vision left, must

still run the gauntlet to (1) access the SOE website, (2) find and fill out the form, or

(3) call the SOE to enroll over the phone. This Court can only imagine how difficult

this would be for those voters who are completely blind, do not have assistive

devices, or lack internet access. For those voters the VBM request provision is likely

to make requesting a ballot not only burdensome, but completely inaccessible. All

of this is held in sharp contrast to how Ms. Rogers and other voters used to request

their ballots, by checking a box on their vote-by-mail envelope.

      To satisfy the third prong, Plaintiffs must “establish a causal link between their

disabilities and the exclusion, denial of benefits, or discrimination.” Merrill, 491 F.

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Supp. 3d at 1155. To establish this link, a Title II plaintiff may demonstrate “(1)

intentional discrimination or disparate treatment; (2) disparate impact; [or] (3)

failure to make reasonable accommodations.” Lamone, 813 F.3d at 503 n.5. Here,

Plaintiffs allege a failure to accommodate. See ECF No. 45 at 68.

      Defendant-Intervenors, along with Defendant Supervisor White, argue that to

establish standing under the ADA, Plaintiffs must put forward evidence that a

qualified individual requested, and was denied, a reasonable modification. ECF No.

648 at 87; ECF No. 651 at 20. In employment cases, “[t]he plaintiff bears the burden

of identifying an accommodation, and of demonstrating that the accommodation

allows him to perform the job’s essential functions.” Lucas v. W.W. Grainger, Inc.,

257 F.3d 1249, 1255–56 (11th Cir. 2001). However, the Eleventh Circuit has not

ruled whether a specific request for accommodation is required under Title II, or if

a plaintiff may move forward so long as the accommodation necessary was “open

and obvious.” Reeves v. Comm’r, Ala. Dept. of Corrs., 23 F.4th 1308, 1321 (11th Cir.

2022). As this challenge to the VBM request provision can be decided on other

grounds, this Court need not address the issue at this time.

      Even assuming arguendo that Plaintiffs had established a prima facie case of

discrimination, the claim would still fail, because Plaintiffs’ proposed




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modification67—to enjoin the entirety of the VBM request provision, for all voters—

is a fundamental alteration of SB 90.

       If Plaintiffs make a prima facie case of discrimination, they must then propose

a facially reasonable modification to the challenged provision. People First of Ala.

v. Merrill, 467 F. Supp. 3d 1179, 1216 (N.D. Ala. 2020). But a defendant may then

point to evidence that the request, although reasonable, would cause an “undue

burden or a fundamental alteration of its policy or program.” Schaw v. Habitat for

Human. of Citrus Cnty., Inc., 938 F.3d 1259, 1267 (11th Cir. 2019). In its analysis,

this Court may consider whether the proposed modification “would eliminate an

‘essential aspect’ of the defendant’s policy or program keeping in mind the ‘basic

purpose’ of the policy or program at issue, and weighing the benefits to the plaintiff

against the burdens on the defendant.” Id.

       In considering whether a proposed modification is a fundamental alteration of

the policy, this Court may consider whether the proposed modification would

eliminate an “essential aspect” of Defendants’ policy, keeping in mind the basic

purpose of the law, and weigh the benefits to Plaintiffs against the burdens on

Defendants. Schaw, 938 F.3d at 1267. It is also helpful to look to other courts that




       67
           To clarify, some courts use the terms “modification” and “accommodation” in this
context interchangeably. See Schaw, 938 F.3d at 1267. However, as this Court understands the
terms, “accommodation” typically applies to changes sought by an individual, and “modification”
applies to changes when it is imposed by a court applying 28 C.F.R. § 35.130(b)(7)(i).
                                             231
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have considered injunctions to similar voting laws. In Merrill, the court enjoined a

requirement of the state’s VBM law which required voters to submit a photocopy of

their ID with their ballot. Merrill, 467 F. Supp. 3d at 1213. In its analysis, the court

considered that the plaintiffs only sought to expand an exception, already built into

the law, and thereby enjoin the provision for a larger, yet still circumscribed, subset

of older, disabled, and compromised voters. Id. at 1212–13.

      Here, Plaintiffs are not seeking a limited injunction for a subset of disabled

voters. Rather, Plaintiffs’ counsel goes for broke and seeks to enjoin enforcement of

the law as to all voters. But a proposed modification which seeks to enjoin an entire

provision necessarily eliminates an “essential aspect” of it. Unlike the proposed

modification in Merrill, which sought to extend an existing exemption to the photo

ID requirement to a limited group of voters, Plaintiffs seek to enjoin the entire VBM

Request provision for all voters in the whole state. Doing so undermines the basic

purpose of the law, no matter what that purpose is.

      This Court is moved by the testimony of Ms. Rogers, Ms. Slaughter, and Ms.

Teti, and has grave concerns over the struggles they and countless others will have

to overcome to engage in the sacred responsibility of voting. But Plaintiffs’ counsel

has not proposed a modification which this Court is entitled to adopt. The expansive

scope of the proposed modification, both in applying to all voters and in seeking to




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enjoin the entire provision, has the effect of fundamentally altering the law. 68 As

such, Plaintiffs are entitled to no relief on this claim.

                                                B

       Plaintiffs argue that the drop box provision violates the ADA because it will

decrease the number of drop boxes provided by the SOEs, particularly drive-through

or outdoor drop boxes. ECF No. 652 at 389. Based on his review of SOE discovery

responses, Plaintiffs’ expert, Dr. Smith, whom this Court finds credible, testified that

one-third of all counties plan to reduce the availability of outdoor drop boxes by

moving them inside, or reduce their availability to normal business hours. Tr. at

2461, 2484–85. Plaintiffs argue this reduction will make it more difficult for voters

with disabilities to vote. In particular, this change burdens those voters who have

disabilities which make it harder for them to go inside to vote. ECF No. 652 at 390;

Tr. at 2485.

       Defendants respond by arguing that Plaintiffs’ claims are “meritless” because

no SOE plans to place drop boxes in non-ADA compliant buildings or refuse

reasonable accommodations to those who request them. ECF No. 648 at 86. It is


       68
          It is important to note that this Court has certain powers to issue an injunction less
expansive in scope than that which is sought by Plaintiffs. See Lee, 915 F.3d at 1327 (“[A] district
court ‘need not grant the total relief sought by the applicant but may mold its decree to meet the
exigencies of the particular case.’ ” (citation omitted)). However, here the scope of the proposed
modification goes to the substantive question of whether the Plaintiffs have stated a valid claim
under the ADA. By proposing a modification that is so expansive as to undermine the basic
purpose of the law, Plaintiffs have failed to establish a claim under the ADA upon which any
injunctive relief may be granted.
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clear to this Court that the drop box provision will have the effect of decreasing the

number of drop boxes. In addition to Dr. Smith’s testimony, as a practical matter, the

reduction of the number of drop boxes available is the logical conclusion. If the

Florida Legislature makes something more risky or costly, people are less likely to

do it. The drop box provision makes providing drop boxes more costly by requiring

them to be staffed at all times by an SOE employee. The law also threatens

Supervisors with $25,000 fines for noncompliance. The fear of a substantial fine is

enough to make at least one Supervisor plan to double-staff each box, to avoid the

possibility that they violate the law. Tr. at 3496. Supervisors, particularly those with

stretched budgets, are likely to decrease the size of their drop box program in

response to SB 90.69

                                               1

       This Court begins by addressing whether Plaintiffs have standing to challenge

the drop box provision under the ADA.

                                               a

       DRF’s constituents include all Floridians with disabilities. Id. at 440. One of

those constituents is Dr. Brigham, whose testimony I find credible. Dr. Brigham has

been a registered voter in Florida since 1958, and he has voted in every election since


       69
         As this Court discussed above, two expert witnesses and many Supervisors testified that
the drop box provision will lead to a drastic reduction in drop-box availability—especially 24/7
drop boxes and drop boxes offered outside of early voting hours.
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then. Id. at 1597. While for years he voted in person, Dr. Brigham voted by mail for

the first time in the 2020 primary election and voted using a drop box for the first

time in the 2020 general election. Id. In the 2020 general election, Dr. Brigham and

his wife used a drive-through ballot drop box—at a location across the street from

the SOE office in Orange County—and voted without having to leave their car. Id.

at 1599–1600.

      Dr. Brigham chooses to vote by drop box due to his disability. As noted

elsewhere in this Order, he is a colorectal cancer survivor, but the surgery to treat

that cancer left him incontinent. Unfortunately, this means that Dr. Brigham may

defecate with no warning or control. Id. at 1597–98. This problem is exacerbated by

physical activity, such as getting out of his car and standing in line. Id. at 1602. If

this happens while he is away from home, he tries not to be too embarrassed and

returns home to clean himself up. Id. at 1598, 1602. If Dr. Brigham were to defecate

while standing in line to drop off his ballot, he would be forced to decide whether to

remain in soiled clothes and vote or leave hoping to try again later. He has no

guarantee he would not face the same problem upon his return to the polls. Id. at

1607. The ability to stay in his car while dropping off his ballot makes it less likely

that he will soil himself while voting. It also grants him privacy should that occur.

Drop boxes are the best method of voting for Dr. Brigham because they allow him

to vote with dignity.

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      Ms. Zukeran is a registered voter in Leon County who tries to vote in every

election in which she is eligible. Id. at 2092, 2094. She suffers from anxiety, major

depression, and PTSD, which make it difficult for her to leave her home or interact

with other people. Id. at 2093–94. For these reasons, Ms. Zukeran struggles to vote

in person. First, her depression makes it difficult to summon the will to leave her

house in anticipation of being in a crowded place, so she is likely to procrastinate

until election day. Id. at 2095. Then, once she is at the polling location in a crowd of

strangers, she feels anxious and distracted, which makes it difficult to remember for

whom and what she planned to vote. Id. at 2096. Once she has voted, Ms. Zukeran

suffers from residual anxiety that can last the remainder of the day and may be

triggered at a later date simply by recounting the experience. Tr. at 2096. Voting by

mail through the Post Office triggers a similar sense of anxiety for Ms. Zukeran,

because she fears her ballot might not be delivered. Id. at 2099–2100.

      Ms. Zukeran voted using a drop box in the 2020 general election. Id. at 2097.

When she drove into the parking lot to drop off her ballot, Ms. Zukeran was surprised

to see that a person was standing there, watching the box. She drove around the

parking lot, fearing social interaction, hoping the woman would leave. When she

realized the woman was not leaving, Ms. Zukeran nearly drove home, but she

overcame her tremendous anxiety, quickly parked, dropped off her ballot, and

headed home. Id. at 2097–98. The minimal social interaction of saying “hello” to the

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woman monitoring the drop box nearly prevented her from voting because of how

much anxiety it caused her. Id. at 2098. Even an outdoor drop box is difficult for her

to use, so if the drop boxes were moved indoors, the anxiety—similar to that of

voting in person—would be prohibitive. Id. at 2099.

                                          b

       As addressed above, the interests at stake in this case are germane to DRF’s

purpose, and Plaintiffs seek only injunctive relief, so no individual constituent needs

to participate in the lawsuit. Thus, standing comes down to whether DRF’s

constituents themselves would otherwise have standing to sue in their own right to

seek an injunction as to the drop box provision. Unfortunately, because Plaintiffs did

not introduce any evidence to prove that the Orange County or Leon County

Supervisors plan on making any changes to the drop-box provisions which would

injure Dr. Brigham or Ms. Zukeran, they have not established that DRF has

associational standing to challenge the Drop Box Provision. In fact, Plaintiffs point

out that only eight counties, none of which include Orange or Leon, have expressed

a definite intent to reduce the availability of outdoor drop boxes. ECF No. 652 at

286.

       As to Dr. Brigham, he testified that he voted by drop box in the 2020 general

election, that it was a drive-through drop box, during business hours, not on the day

before or on election day, and that he handed his ballot to a person manning the drop

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box. Tr. at 1610–11. Additionally, Plaintiff submitted evidence to demonstrate that

Orange County has no plan to change any of these procedures in response to SB 90.

Dr. Smith explains in his report that the Orange County SOE plans to maintain the

same number of drop boxes and hours of availability it had in 2020 for the 2022

elections. Because there is no evidence of an imminent change in policy which

would impact Dr. Brigham’s ability to vote using a drop box, any injury as a result

of the drop box provision is highly speculative. As such, Dr. Brigham does not have

standing to sue in his own right.

      As to Ms. Zukeran, she testified that she dropped off her ballot at a manned,

outdoor location in Leon County. But Supervisor Earley, whose testimony I credit,

testified that the procedures his office uses to manage drop boxes are not impacted

by SB 90. Except for one mailbox attached to the SOE office, Leon County already

had staff watching drop boxes. Additionally, Leon County does not host 24/7 drop

boxes at early voting locations, so the new provision which limits the hours which a

drop box can be accessed at an early voting location would not impact that policy.

Tr. at 3496–97. Because there is no evidence that Leon County intends to change

drop box procedures in a way which would impact Ms. Zukeran’s ability to vote by

drop box, any injury as a result of the Drop Box Provision would be highly

speculative. As such, Ms. Zukeran does not have standing to sue in her own right.




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       Accordingly, because DRF has not established that any one constituent would

have standing to challenge the drop box provision, DRF has not proved associational

standing to challenge that provision.

                                               c

       Because DRF does not have associational standing, this Court must address

whether Florida NAACP has associational standing. 70 Florida NAACP’s mission is

to ensure the political, social, educational, and economic equality of all persons and

to eliminate race-based discrimination. Tr. at 506. Their purpose of ensuring that all

people, including those with disabilities, are politically equal is germane to the issues

at stake in this case, namely voting access. Further, all that the Plaintiffs seek is

injunctive relief, thus no individual member must participate.

       Again, standing comes down to whether Florida NAACP’s members

themselves would otherwise have standing to sue. While Mr. Brown, the Third Vice

President for Florida NAACP, testified that the drop box provision will impact its

members, he only discussed the impact in terms of how changes will harm a specific

migrant farm worker, and made no mention of voters with disabilities. Id. at 527.

And Ms. Scoon, a member of Florida NAACP in Bay County, testified as to the

personal convenience of drop boxes, but did not testify that any NAACP member



       70
          Common Cause does not argue that it has associational standing to sue for an injunction
of the Drop Box Provision. ECF Nos. 652 at 281 & 652-1 at 5–6.
                                              239
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with disabilities would suffer an injury in Bay County or elsewhere. Id. at 77–78. As

such, Florida NAACP’s counsel elicited no testimony from which this Court could

find that any one of its qualified members with disabilities is injured by the drop box

provision, and therefore the Florida NAACP does not have associational standing to

sue for an injunction of that provision.

                                            d

      DRF also argues that it has organizational standing under the diversion-of-

resources theory. As addressed above, while DRF has certainly diverted resources

from other identifiable programs and priorities to establish standing to challenge the

VBM request provision, none of the resources redistributed in the wake of SB 90 are

the result of the drop-box provisions. DRF is funding educational materials to inform

people about VBM changes, and the website accessibility audit is explicitly meant

to assess and address the accessibility of SOE websites so voters can request VBM

ballots. Tr. at 2736. But DRF’s witnesses did not testify that the organization has

transitioned any funds or staff time to educate voters about the accessibility of drop

boxes, aid members who will be injured by the changes, or address the drop box

provision in any other way.

      An organization has standing to challenge illegal acts which impair its “ability

to engage in its own projects by forcing it to divert resources in response.” Arcia,

772 F.3d at 1341. But DRF is not diverting resources in response to the drop box

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provision. If this Court were to issue an injunction prohibiting SOEs from enforcing

the drop box provision, DRF would still need to redirect the exact same resources,

because its diversion is only the result of the VBM request provision. As such,

Plaintiff DRF lacks standing to challenge the drop box provision.

      The same is true for Plaintiffs Florida NAACP and Common Cause. Mr.

Brown testified that Florida NAACP has had to divert resources to educate its

members and voters about the effects of SB 90. However, Plaintiffs’ counsel only

elicited testimony that the organization sought to inform members and voters how

they can “matriculate through this process”—presumably referring to new VBM

request requirements—and the risk that members could be “criminalized”—again

presumably referring to the solicitation definition. Tr. at 532. Mr. Brown also

testified that the organization would disseminate flyers to educate voters, but he

makes no mention of the content of the flyers, leaving the Court to speculate whether

they address the drop box provision. Id. at 532.

      Plaintiff Common Cause similarly introduced generalized testimony that it

will divert resources to educate voters, but counsel elicited no testimony to help this

Court understand whether those materials or programs address changes to drop

boxes. Id. at 544–45, 556–58. This Court is not empowered to speculate as to

whether the diversion of resources these parties suffer will be redressed by an




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injunction against the drop box provision. As such, no Plaintiff has established

standing, under any theory, to challenge the provision.

                                         C

      Finally, Plaintiffs argue that the solicitation definition of SB 90 violates the

ADA because it will make in-person voting less accessible for individuals with

disabilities by prohibiting third-party organizations from providing line relief

support. ECF No. 652 at 397–98. Plaintiffs point to the number of voters with

disabilities limiting their mobility and who benefit from receiving chairs or water

while waiting in line to vote. Id. 398. They further explain that the assistance

provided by third-party organizations such as Florida NAACP is not as reliably

supplied by SOEs. Id. Intervenor-Defendants respond by arguing that Plaintiffs have

not shown that any SOE has refused reasonable accommodations to those who

request them. ECF No. 648 at 87.

      As addressed earlier in this Order, (1) Common Cause has abandoned its

claims as to the solicitation definition, and (2) Disability Rights Florida failed to

prove standing to challenge the Solicitation Definition. Additionally, the Florida

NAACP has only proved that it has standing to challenge the solicitation definition

under the First, Fourteenth, and Fifteenth Amendments and the VRA. However,

Florida NAACP has not alleged that any of its members in Volusia County are




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disabled voters who would be harmed by the solicitation definition. As such, no

Plaintiff has standing to challenge the solicitation definition under the ADA.

      But even assuming arguendo a First Amendment injury was sufficient to give

the Florida NAACP standing to challenge the solicitation definition under the ADA,

it has failed to state a claim under the first prong of the three part test, that it—or its

members—are qualified individuals with a disability. Ms. Slater testified that her

local branch has volunteers who are trained to do “line warming,” but not that any

of her members are disabled voters. Tr. at 1956–57. And Mr. Brown testified that his

local branch has assisted voters with disabilities in line to vote, but he makes no

mention that these voters are members of Florida NAACP. Id. at 515–16. Therefore,

Plaintiffs’ counsel has not established a violation of the ADA.

                                     *       *      *

       At trial, this Court heard deeply troubling testimony from Floridians with

disabilities about how much effort they must go through to vote, and I struggle to

see how Secretary Lee and the Defendant Supervisors are not moved by the

testimony of these citizens. And Ms. Slaughter is right, it is apparent the Legislature

did not think about its disabled constituents when it passed SB 90, resulting in bad

policy. However, this Court is not empowered to strike down every barrier to

accessible voting. This is especially true given that Plaintiffs’ counsel has not done

the legwork necessary to prove that they either have standing under the ADA to

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challenge the laws, or to propose reasonable modifications. Indeed, rather than

propose a legally tenable modification that would actually help disabled Floridians,

Plaintiffs’ counsel appears to have treated this claim as an afterthought or as another

tool to strike down SB 90 in toto. Consequently, this Court is left with no choice,

and enters judgment in favor of Defendants, as to all provisions, on Count III in Case

No. 4:21cv187.

                                         VIII

      Next, this Court considers Plaintiffs’ claims that several provisions under SB

90 unduly burden the right to vote and fail the Supreme Court’s Anderson-Burdick

test under the First and Fourteenth Amendments. Specifically, the League Plaintiffs

challenge the drop box restrictions, the VBM request provision, and the solicitation

definition. The NAACP Plaintiffs challenge the drop box restrictions, the VBM

request provision, and the solicitation definition. And the Florida Rising Plaintiffs

challenge the drop box restrictions, the VBM request identification provision, the

registration delivery requirements, and the solicitation definition.

                                          A

      Here, given the myriad constitutional infirmities discussed at length above

with respect to the drop box restrictions, the solicitation definition, and the

registration delivery requirements, this Court need not reach the constitutional

question of whether these provisions also violate the Constitution under Anderson-

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Burdick. See, e.g., Williamson, 928 F.3d at 1316–17; Green Party of Tenn., 791 F.3d

at 695 (“Because we find that the ballot retention statute is facially unconstitutional

under the Equal Protection Clause, we need not decide whether it also violates the

First Amendment.”); Cates, 535 F. Supp. 3d at 1231 (“The Court need not address

the preemption question because Defendant is already entitled to summary judgment

on alternative grounds.”).

      Accordingly, this Court turns to the remaining challenged provisions—the

VBM request provisions—to determine if it survives constitutional scrutiny under

the Anderson-Burdick test.

                                          B

                                          1

      As with all claims, this Court first considers whether at least one Plaintiff from

each of the relevant consolidated cases has standing to challenge the VBM

provisions. See CAMP, 451 F.3d at 1273; FAIR, 547 U.S. at 53; Hall, 138 S. Ct. at

1127–29. As addressed above in the discussion of Arlington Heights, the NAACP

Plaintiffs have standing to challenge the VBM request provision and the Florida

Rising Plaintiffs both have standing to challenge the VBM request identification

provision. This Court also found that Ms. Scoon—both a member of the Bay County

NAACP and an individual League Plaintiff—has standing to challenge the VBM

request provision. Additionally, in its discussion on the ADA, this Court found that

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Ms. Rogers—also an individual League Plaintiff—has standing to challenge the

VBM request provision. As such, the League Plaintiffs, too, have standing.

                                          2

      Next, this Court applies the Anderson-Burdick test to the VBM provisions.

Challenges to election laws are evaluated using the sliding scale standard set out in

Anderson v. Celebrezze, 460 U.S. 780 (1983), and Burdick v. Takushi, 504 U.S. 428

(1992). The Anderson-Burdick test is designed to balance the fundamental right to

vote against the reality that “there must be a substantial regulation of elections if

they are to be fair and honest and if some sort of order, rather than chaos, is to

accompany the democratic processes.” Storer v. Brown, 415 U.S. 724, 730 (1974).

The test requires this Court to “weigh the character and magnitude of the asserted

First and Fourteenth Amendment injury against the state’s proffered justifications

for the burdens imposed by the rule” while “taking into consideration the extent to

which those justifications require the burden to plaintiffs’ rights.” Lee, 915 F.3d at

1318. The greater the burden the law imposes on the right to vote, the greater the

scrutiny this Court must apply.

      Laws that impose “ ‘severe’ restrictions . . . must be ‘narrowly drawn to

advance a state interest of compelling importance.’ ” Burdick, 504 U.S. at 434

(quoting Norman v. Reed, 502 U.S. 279, 289 (1992)). Laws that impose “reasonable,

nondiscriminatory restrictions,” on the other hand, are subject to a more forgiving

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review, under which the “state’s important regulatory interests” will generally justify

the restrictions. Anderson, 460 U.S. at 788. But no matter how slight the burden, “it

must be justified by relevant and legitimate state interests ‘sufficiently weighty to

justify the limitation.’ ” Crawford v. Marion Cnty. Election Bd., 553 U.S. 181, 191

(2008) (controlling op.) (quoting Norman, 502 U.S. at 288–89). The Anderson-

Burdick test “emphasizes the relevance of context and specific circumstances.”

Cowen v. Ga. Sec’y of State, 960 F.3d 1339, 1346 (11th Cir. 2020); see also Duke v.

Cleland, 5 F.3d 1399, 1405 (11th Cir. 1993); Bergland v. Harris, 767 F.2d 1551,

1555 (11th Cir. 1985). “Given the fact that [Plaintiffs] have advanced a broad attack

on the constitutionality of [SB 90], seeking relief that would invalidate the statute in

all its applications, they bear a heavy burden of persuasion.” Crawford, 553 U.S. at

200.

                                           a

       This Court begins its analysis by identifying the burden that Florida’s VBM

provisions impose on the right to vote. As addressed elsewhere, the VBM provisions

have two main impacts: (1) the VBM request provision reduces the duration of a

voter’s VBM ballot request from two election cycles to one general election cycle,

and (2) the VBM request identification provision requires any voter seeking to vote

by mail to provide their Florida driver’s license number, Florida identification card

number, or the last four digits of their social security number. This means that voters

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have to request ballots twice as often and eliminates VBM enrollment opportunities

like the reenrollment check box on VBM ballots.

      Here, the burden falls, not directly on the voter’s ability to cast their vote, but

rather on their ability to request a VBM ballot. However, it is important to keep in

mind that while some voters are fortunate enough to be able to make use of all three

methods of voting (election day, early in-person, and by mail), others, particularly

the elderly or those with disabilities, rely on VBM ballots exclusively to exercise the

fundamental right to vote. That means that for some voters, denial of the ability to

request a VBM ballot may effectively prevent them from voting.

      To assess the significance of the burden placed on voters by the VBM

provisions, this Court first considers the severity of the impact on individual voters.

The relevant burdens are those imposed on any person who would enroll to receive

a VBM ballot. For most voters, the inconvenience of requesting a ballot every two

years, rather than every four, and providing the SOE with a valid ID number is not

likely to qualify as a severe burden on the right to vote. However, there are some

populations which may be burdened more significantly than others.

                                           b

      The first group of people who may be disproportionately impacted by the

VBM provisions are those who have no valid form of ID. The VBM request

identification provision requires voters to both have a valid ID associated with their

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voter registration and to provide that same ID when enrolling in VBM. According

to Plaintiffs’ expert, Dr. Smith, there are roughly 681,481 registered voters who do

not currently have a valid ID associated with their voter registration. ECF No. 467-

7. Director Matthews confirms that this number was accurate in early February 2021,

but she currently estimates this number to be around 480,000 voters. ECF No. 571-

10; Tr. at 2785. Whichever number is more accurate, there is evidence that hundreds

of thousands of voters have no valid ID number on their voter record, and therefore

will not be able to request a VBM ballot without going through steps in addition to

those required by SB 90. Voters who possess a valid ID even though it is not on file

with their voter registration will have to re-register to vote with their updated

information. For those voters who do not already have a valid ID, they will need to

acquire valid ID, then re-register to vote.

      While Plaintiffs have provided a broad number of registered voters who do

not currently have an ID on file with the Division of Elections, they have not (1)

identified how many of those voters vote by mail, (2) identified how many of those

voters do not possess a valid ID and would need to acquire one, nor have they (3)

provided a witness who does not possess a valid ID to testify to the impact this

provision would have on them. From this limited evidence, this Court cannot assess

the magnitude of SB 90’s impact on voters who do not have ID but would like to

vote by mail.

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      Additionally, any burden on the ability to request a VBM ballot is mitigated

by the fact that voters may vote in person. Even if voters do not have a valid ID, they

may cast a provisional ballot, minimizing the burden on their ability to vote. See

Crawford, 553 U.S. at 199–200. As such, this Court cannot conclude that the statute

imposes a severe burden on voters who do not have a valid ID associated with their

voter registration.

                                            c

      The second group of people who may be disproportionately impacted by the

VBM enrollment provisions includes the disabled and elderly who are unable to vote

in person. Multiple witnesses testified as to the individual burden the provisions

would have on their ability to vote. For example, Susan Rogers testified how

significantly the VBM provisions would burden her ability to vote. As discussed in

the ADA section, Ms. Rogers is a blind woman who votes in Hillsborough County.

She is unable to transport herself to vote in person, and she relies on assistive devices

to fill out her ballot, so she has little choice but to vote by mail. Ms. Rogers testified

that in the past she has been able to simply check a box on her VBM ballot to

reenroll, the simplicity of which made her “gleeful.” Because she also signed her

VBM ballot, the SOE had a signature verification to verify the identity of Ms.

Rogers’s VBM request.




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       Now, because of SB 90, Ms. Rogers has to go through a trying process to

request her VBM ballot every two years. It might not be difficult for a voter who is

not disabled to locate their ID, download a form on a website, fill it out, and mail it

to their local SOE, but it is like running a gauntlet for Ms. Rogers and other similarly

disabled voters. It is easy to imagine how much more difficult requesting a VBM

ballot will be for those who have disabilities but do not have internet access or

accessibility tools.

       However, Plaintiffs have not provided evidence to establish how many

Floridians with disabilities will be impacted by the VBM provisions. According to

statewide data provided by the Division of Elections, about 4.5 million people voted

by mail in 2020, ECF No. 467-7 at tbl. 5, but this number does not account for how

many people will struggle to request a VBM ballot under SB 90. Based on this

record, this Court cannot conclude that the statute imposes a severe restriction on

any class of voters. See Crawford, 553 U.S. at 202 (asking whether “the statute

imposes ‘excessively burdensome requirements’ on any class of voters”).71

                                             d

       Ultimately, then, this Court cannot conclude that the VBM provisions impose

a severe burden on the right to vote. Contrast this case with other cases where this


       71
          In Greater Birmingham Ministries, the Eleventh Circuit recognized Justice Stevens’s
opinion in Crawford as controlling. 992 F.3d at 1319 n.31.

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Court found a severe burden. For example, in Florida Democratic Party v. Scott,

this Court considered whether to enter an injunction extending the voter registration

deadline in the wake of Hurricane Matthew. 215 F. Supp. 3d at 1254. 72 When it came

to the burden on the right to vote under Anderson-Burdick, the state argued that “the

right to vote is not severely burdened because other opportunities to vote are

available. For example, voters instead could vote early, by mail, or on Election Day.”

Id. at 1257. “But that argument [was] a nonsequitur. Those options are available only

if the voter has already registered. It does absolutely nothing for those aspiring

eligible voters who have yet to register.” Id. Thus, because Florida’s action—or lack

thereof—completely barred those unable to register from voting, the burden was

severe.

       Similarly, in Florida Democratic Party v. Detzner, this Court enjoined the

enforcement of a statute that did not offer those whose signature on their vote-by-

mail ballots did not match their signature on file any opportunity to cure the issue.

2016 WL 6090943, at *2. This Court recognized that the statute severely burdened

the right to vote; those affected were completely disenfranchised.




       72
           While, at first blush, Florida Democratic Party v. Scott may appear similar to Namphy,
in which this Court declined to extend the registration deadline, the two cases are quite different.
For one, in Namphy, the state took some, albeit imperfect, measures to remedy the burden on
would-be registrants. See 493 F. Supp. 3d at 1135. In Scott, the state had taken no such measures.
Plus, in Scott, the state ultimately did not oppose an injunction extending the registration deadline.
2016 WL 6080225, at *1.
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      Here, for the majority of Florida’s electorate, the VBM provisions certainly

impose a burden, but that burden is mitigated by the availability of other modalities

of voting. See New Ga. Project v. Raffensperger, 976 F.3d 1278, 1281 (11th Cir.

2020).

      That said, this Court recognizes that “[d]isparate impact matters under

Anderson-Burdick.” League of Women Voters of Fla., 314 F. Supp. 3d at 1216. But

as this Court explained above, based on the evidence before it, it cannot conclude

that the statute imposes a severe restriction on any class of voters. In sum, then, the

burden the VBM provision imposes on the right to vote is moderate.

                                          3

      Next this Court weighs the burden caused by the VBM provisions against

Defendants’ proffered justifications. Note that Anderson-Burdick is different from

Arlington Heights in that this Court need not determine what the Legislature’s

underlying intent was when it passed the law. Rather, in most cases, this Court need

only consider the state’s “proffered justifications for the burdens imposed by the

rule” while “taking into consideration the extent to which those justifications require

the burden to plaintiffs’ rights.” Lee, 915 F.3d at 1318 (emphasis added). Thus, this

Court’s analysis is limited to the justifications furthered by Defendants’ post-trial

briefing, and whether they justify the burden placed on voters by the VBM

provisions.

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      Defendants argue that the state’s interest in helping SOEs have “more current

information” on file justifies the VBM request provision. ECF No. 648 at 29.

Defendants explain that, before SB 90, a VBM request could remain on file for four

years, during which time voters may have changed their address. Id. at 30. Now,

voters must request a VBM ballot every two years, and in doing so, must update or

confirm their address information. In Crawford, the Supreme Court held that

cleaning up a bloated voter registration file provides a “nondiscriminatory reason

supporting the State’s decision to require [identification].” Crawford, 553 U.S. at

196. Thus, the state has a valid interest in keeping VBM records up to date.

      For the VBM request identification provision, Defendants proffer the

justification of adding another layer of authentication to VBM requests. ECF No.

648 at 28. Again, the Supreme Court held in Crawford that “[t]here is no question

about the legitimacy or importance of the State’s interest in counting only the votes

of eligible voters.” 553 U.S. at 196. As such, requiring that voters provide an ID

number with their VBM request, similar to the type of IDs a polling location would

require to vote in person, serves a “legitimate and important” interest.

      Given that access to other modalities of voting mitigates the burdens SB 90

imposes, and that the state has proffered legitimate interests, the VBM provisions

are constitutional under Anderson-Burdick. Again, this Court is seriously troubled

by Ms. Rogers’s testimony, and by the impact SB 90 will have on voters with

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disabilities. Plainly, the Legislature failed to even consider—or worse, failed to

care—how this law would harm voters with disabilities. However, which methods

the Legislature uses to achieve legitimate ends are a matter of policy, which is

outside this Court’s purview. Because this Court cannot say the burdens placed on

voters generally are severe, and because Defendants have proffered legitimate

interests justifying those burdens, this Court must enter judgement in favor of

Defendants as to Plaintiff’s challenge to the VBM provisions under the Anderson-

Burdick test.73

                                                  IX

       The Florida Rising and NAACP Plaintiffs also bring discriminatory results

claims under section 2 of the VRA against the VBM request provision, the VBM

request identification provision, the drop-box provisions, the registration delivery

provision, and the solicitation definition. See ECF No. 45 ¶¶ 125–41, in Case No.

4:21cv187; ECF No. 59 ¶¶ 165–72, in Case No. 4:21cv201.




       73
          This Court previously noted, in another context in this case, that “the Eleventh Circuit
has expressed a willingness to permit parties to change their focus from a facial to an as-applied
challenge.” See ECF No. 380 at 13. Here, although Plaintiffs labeled their claims as both “facial”
and “as-applied” in their pretrial stipulation, ECF No. 402, they have not changed their focus from
the facial nature of their Anderson-Burdick claims in their amended complaints to the written
closing arguments filed at the conclusion of the bench trial. Plaintiffs have sought only facial relief
with respect to this particular claim without developing any “as-applied” theory. See John Doe No.
1., 561 U.S. at 194 (“The label is not what matters. The important point is that plaintiffs’ claim
and the relief that would follow . . . reach beyond the particular circumstances of these plaintiffs.”).
Accordingly, Plaintiffs have not established that they are entitled to any relief “as applied” to any
individual Plaintiff.
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Section 2 provides:

          (a) No voting qualification or prerequisite to voting or standard,
      practice, or procedure shall be imposed or applied by any State or
      political subdivision in a manner which results in a denial or
      abridgement of the right of any citizen of the United States to vote on
      account of race or color, or in contravention of the guarantees set forth
      in section 10303(f)(2) of this title, as provided in subsection (b).
          (b) A violation of subsection (a) is established if, based on the
      totality of circumstances, it is shown that the political processes leading
      to nomination or election in the State or political subdivision are not
      equally open to participation by members of a class of citizens protected
      by subsection (a) in that its members have less opportunity than other
      members of the electorate to participate in the political process and to
      elect representatives of their choice. The extent to which members of a
      protected class have been elected to office in the State or political
      subdivision is one circumstance which may be considered: Provided,
      That nothing in this section establishes a right to have members of a
      protected class elected in numbers equal to their proportion in the
      population.

52 U.S.C. § 10301.

      “Unlike discrimination claims brought pursuant to the Fourteenth and

Fifteenth Amendments, which require proof of both discriminatory intent and actual

discriminatory effect, the language of section 2(a) of the VRA requires only proof of

discriminatory ‘results,’ not of discriminatory intent.” GBM, 992 F.3d at 1328–29.

Further, the Supreme Court, in Brnovich v. Democratic National Committee, 141 S.

Ct. 2321 (2021), made plain that section 2 commands “consideration of ‘the totality

of circumstances’ that have a bearing on whether a State makes voting ‘equally open’

to all and gives everyone an equal ‘opportunity’ to vote.” Id. at 2341.



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      In light of the conclusions above, however, this Court need not conduct the

full analysis enunciated in Brnovich and its forebears. First, this Court rejected

Plaintiffs’ intentional discrimination challenge to the VBM provisions partly because

Plaintiffs failed to show a disparate impact under Arlington Heights, and a section 2

results claim requires an even greater showing of impact:

             Interpreting Arlington Heights to require a more onerous impact
      showing would eliminate the distinction between discriminatory results
      claims under section 2 of the Voting Rights Act and discriminatory
      intent claims under section 2 and the Constitution. When plaintiffs
      contend that a law has a discriminatory result under section 2, they need
      prove only impact. In that context, of course plaintiffs must make a
      greater showing of disproportionate impact. Otherwise, plaintiffs could
      prevail in any and every case in which they proved any impact.

McCrory, 831 F.3d at 231 n.8. Accordingly, because Plaintiffs could not make the

lesser impact showing under Arlington Heights for the VBM provisions, they

likewise cannot meet the higher threshold for their section 2 discriminatory results

claims against those provisions. Plaintiffs have thus failed to demonstrate that the

VBM request provision and the VBM request identification provision cause

discriminatory results in violation of section 2 of the VRA.

      Second, this Court has already determined that the drop-box provisions, the

registration delivery provision, and the solicitation definition are intentionally

discriminatory in violation of the VRA, Fourteenth Amendment, and Fifteenth

Amendment. As such, this Court need not address Plaintiffs’ remaining section 2

challenges to those provisions.
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                                          X

      As to the remaining claims, the Florida Rising Plaintiffs claim the registration

delivery provision violates the First Amendment as applied to their voter-registration

activities. See ECF No. 59 ¶¶ 219–36, in Case No. 4:21cv201. In addition, the HTFF

Plaintiffs claim the registration disclaimer provision is unconstitutionally vague with

respect to specific penalties imposed for violating it. See ECF No. 44 ¶¶ 111–20, in

Case No. 4:21cv242.

      As to both claims, again, this Court need not reach the constitutional questions

they raise given the myriad constitutional infirmities discussed at length above with

respect to both the registration delivery provision and the registration disclaimer

provision. See, e.g., Williamson, 928 F.3d at 1316–17; Green Party of Tenn., 791

F.3d at 695; Cates, 535 F. Supp. 3d at 1231. Moreover, as this Court noted above

with respect to Plaintiffs’ compelled speech claims, Plaintiffs’ claims challenging the

registration disclaimer provision appear likely to become moot if Governor DeSantis

signs SB 524 into law. See ECF Nos. 661 & 662.

                                          XI

                                          A

      All Plaintiffs request an injunction barring Defendants from enforcing SB 90’s

challenged provisions. See generally ECF No. 160; ECF No. 45, in Case No.

4:21cv187; ECF No. 59, in Case No. 4:21cv201; ECF No. 44, in Case No.

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4:21cv242. To obtain a permanent injunction, Plaintiffs “must satisfy a four-factor

test.” Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 159 (2010) (internal

quotation marks omitted). Plaintiffs must show (1) that they have “suffered an

irreparable injury; (2) remedies available at law, such as monetary damages, are

inadequate to compensate for that injury; (3) considering the balance of hardships

between the plaintiff and defendant, a remedy in equity is warranted; and (4) the

public interest would not be disserved by a permanent injunction.” Ga. Advoc. Off.

v. Jackson, 4 F.4th 1200, 1208 (11th Cir. 2021).

      Here Plaintiffs have suffered—and continue to suffer—irreparable injuries.

“Courts routinely deem restrictions on fundamental voting rights irreparable injury”

because “once the election occurs, there can be no do-over and no redress.” League

of Women Voters of N.C. v. North Carolina, 769 F.3d 224, 247 (4th Cir. 2014). And

as it relates to the Plaintiff organizations, “conduct that limits an organization’s

ability to conduct voter registration activities constitutes an irreparable injury.”

Project Vote, Inc. v. Kemp, 208 F. Supp. 3d 1320, 1350 (N.D. Ga. 2016). Likewise,

Plaintiffs have proved that they are suffering ongoing First Amendment injuries. See

FF Cosms. FL, Inc. v. City of Miami Beach, 866 F.3d 1290, 1298 (11th Cir. 2017)

(“An ongoing violation of the First Amendment constitutes an irreparable injury.”).

Plus, on the second factor, monetary damages are no substitute for the exercise of

fundamental rights.

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       The final two factors likewise favor a permanent injunction. “The public has

no interest in enforcing an unconstitutional” law—especially one that intentionally

discriminates based on race. KH Outdoor, LLC v. City of Trussville, 458 F.3d 1261,

1272 (11th Cir. 2006). On the other side of the ledger sits the fundamental rights of

Plaintiffs and their constituents. There is no comparison. Plaintiffs are entitled to an

injunction.

       Now, a brief remark on the scope of the injunction. Although this Court

engaged in a county-by-county approach to standing with respect to the claims

against the Defendant Supervisors of Elections—particularly as to Plaintiffs’

vagueness and overbreadth claims regarding the solicitation definition—any remedy

as to the intentionally discriminatory provisions in violation of the Fourteenth and

Fifteenth Amendments and section 2 of the VRA shall run to all Defendants

responsible for such provisions’ enforcement. This is so, because when an official

action is taken for racially discriminatory purposes, it “has no legitimacy at all under

our Constitution.” City of Richmond, Va. v. United States, 422 U.S. 358, 378 (1975)

(emphasis added). Thus, those provisions found to be intentionally racially

discriminatory are a nullity under the law and no Defendant shall enforce them.74



       74
          To the extent a reviewing court disagrees with this scope of the injunction to follow, this
Court finds, as set out at length above, that Plaintiffs proved specific injuries that are traceable to
certain Supervisors of Elections and redressable by an injunction against them, including the
following—namely, (a) with respect to the drop box provision, Supervisors of Elections for
Orange, Osceola, Seminole, Lake, Polk, Lee, Palm Beach, and Volusia Counties, and (b) with
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See McCrory, 831 F.3d at 239 (“[T]he proper remedy for a legal provision enacted

with discriminatory intent is invalidation” (citing City of Richmond, 422 U.S. at 378-

79)). Indeed, this Court is obligated in this instance “to grant a complete remedy,”

which “must reflect [the] finding that the challenged provisions were motivated by

an impermissible discriminatory intent and must ensure that those provisions do not

impose any lingering burden on African American voters.” Id. at 240.

                                                B

       Briefly, this Court pauses to address the so-called “Purcell principle.” “In

2004, Arizona voters approved Proposition 200,” which required voters to prove that

they were US citizens when registering to vote and to present identification when

casting their ballots. Purcell v. Gonzalez, 549 U.S. 1, 2 (2006). On September 11,

2006, a district court denied a motion to enjoin Proposition 200’s enforcement but

made no findings of fact or conclusions of law. Id. at 3. On October 5, and with an

election scheduled on November 7, a motions panel of the Ninth Circuit enjoined

Arizona from enforcing Proposition 200. Id. at 3. “The Court of Appeals offered no

explanation or justification for its order.” Id. Then, on October 12, the district court

issued findings of fact and conclusion of law, explaining that “the balance of the

harms and the public interest counseled in favor of denying the injunction.” Id. at 4.




respect to the solicitation definition provision, Supervisors of Elections for Broward, Palm Beach,
Duval, Orange, Osceola, Pinellas, Miami-Dade, Seminole, and Volusia Counties.
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      On October 20, in a five-page per curiam opinion, the Supreme Court

reversed. See id. at 2. The Court explained that “[c]ourt orders affecting elections,

especially conflicting orders, can themselves result in voter confusion and

consequent incentive to remain away from the polls. As an election draws closer,

that risk will increase.” Id. at 4–5. The Court also held that the Ninth Circuit’s failure

to “give deference to the discretion of the District Court . . . was error.” Id. at 5.

      In the last election cycle, the Supreme Court took Purcell’s narrow ruling and

recast it as an all-powerful “principle” that “lower federal courts should ordinarily

not alter the election rules on the eve of an election.” Republican Nat’l Comm. v.

Democratic Nat’l Comm., 140 S. Ct. 1205, 1207 (2020). But this new “principle’s”

contours remain undefined. For example, what counts as the “eve” of an election?

In Purcell, the Ninth Circuit enjoined an election law’s enforcement 33 days before

an election. On the other hand, the Supreme Court recently stayed an injunction

issued roughly nine months before a general election and four months before the

primary. See Milligan, 142 S. Ct. at 888 (2022) (Kagan, J., dissenting). And if courts

“should not ordinarily alter election rules on the eve of an election,” Republican

Nat’l Comm., 140 S. Ct. at 1207, what constitutes an extraordinary case? A poll tax?

A literacy test? Even the Justices have struggled to consistently answer this question.

      For example, in Milligan, the Court stayed an injunction entered by a three-

judge district court panel after the panel found that Alabama’s redistricting plan

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“unlawfully diluted the votes of the State’s Black population.” 142 S. Ct. at 883

(Kagan, J., dissenting). The Court apparently relied on Purcell, even though the

nearest election was four months away. Id. at 881 (Kavanaugh, J., concurring).

Justice Alito joined Justice Kavanaugh’s concurrence to that effect. Yet, only one

month later, when the Court declined to enter an order “requiring North Carolina to

change its existing congressional election districts for the upcoming 2022 primary

and general elections” roughly two months before the next election, Moore v.

Harper, 142 S. Ct. 1089, 1089 (2022) (Kavanaugh, J., concurring), Justice Alito

dissented, arguing that roughly two months from a primary was not too close to

change the legislative maps, id. at 1091–92 (2022) (Alito, J., dissenting). And even

more recently, and roughly five months before the next election, the Supreme Court

reversed the Wisconsin Supreme Court’s adoption of a legislative map that

“increased the number of majority-Black Assembly districts in Milwaukee” with

nary a mention of Purcell. Wis. Legislature v. Wis. Elections Comm’n, No. 21A471,

slip op. at 1 (U.S. Mar. 23, 2022) (Sotomayor, J., dissenting). How can this Court

reconcile these competing applications of the “Purcell principle?”

      Worse yet, the Court has often applied this so-called principle with little to no

exposition. See, e.g., Merrill v. People First of Ala., 141 S. Ct. 25 (2020); Democratic

Nat’l Comm. v. Wis. State Legislature, 141 S. Ct. 28 (2020). In short, without




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explaining itself, the Court has allowed its wholly judge-made prudential rule to

trump some of our most precious constitutional rights.

      Not that this Court disagrees that sometimes, on the eve of an election, the

balance of the equities weighs against injunctive relief. Last election cycle, this

Court declined to grant a preliminary injunction for just that reason. Only weeks

before the 2020 general election, and on the last day that Floridians could register to

vote, Florida’s voter registration website crashed. Namphy, 493 F. Supp. 3d at 1135.

Several voting rights organizations sued, asking this Court to enter an injunction

extending the registration deadline. Id. at 1136.

      Though the plaintiffs did little to develop the record, the evidence before this

Court suggested that up to 20,000 Floridians may have been deprived of their

opportunity to register. Id. at 1144. On the other side of the ledger, however, were

the significant collateral effects an injunction would have. All during a pandemic,

thousands of voters could show up to vote, having registered but not yet on the rolls,

and be forced to cast provisional ballots—leading to long lines and chaos at polling

places. Id. at 1145. And processing new registrations after the book closing deadline

would draw Supervisors’ resources away from other pressing pre-election tasks,

“such as processing vote-by-mail requests and ballots, and administering early

voting.” Id.




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      Ultimately, this Court ruled that “Florida’s interest in preventing chaos in its

already precarious—and perennially chaotic—election outweighs the substantial

burden imposed on the right to vote” and declined to issue an injunction. Id. In other

words, sometimes the cure is worse than the disease. That is the sensible rule Purcell

used to stand for.

      Still, this Court is duty bound to follow the Supreme Court’s pronouncements,

including its reworked Purcell principle. But the question remains, what is the

Purcell principle? In his concurring opinion in Milligan, Justice Kavanaugh

suggested a set of factors to consider in deciding both if an injunction comes too

close to an election and if an injunction is warranted even when an election is

imminent.

      Under Justice Kavanaugh’s rubric, what qualifies as “too close” to an election

varies depending on “the nature of the election law at issue, and how easily the State

could make the change without undue collateral effects.” Milligan, 142 S. Ct. at 881

n.1 (Kavanaugh, J., concurring). “Changes that require complex or disruptive

implementation must be ordered earlier than changes that are easy to implement.”

Id. Florida’s primary election is set for August 23, 2022, and the general is set for

November 8, 2022. Tr. at 3495. So the closest election is roughly five months away.

Plaintiffs ask for an injunction preventing changes to Florida’s election law from

going into effect; namely, Plaintiffs ask this Court to enjoin Defendants from

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enforcing new limitations on drop boxes, enforcing a new solicitation definition,

enforcing new restrictions on 3PVROs.

      Supervisor Earley put on evidence showing that an injunction would not have

negative collateral effects. First, he testified that enjoining SB 90’s requirement that

drop boxes be continuously manned “would have little impact” on his office. Id. at

3496; see also id. at 3156 (testimony by Supervisor White that if this Court enjoined

the drop-box provisions “tomorrow” nothing would change for her office). He added

that enjoining the $25,000 fine “would be a help.” Id. Indeed, he explained, “it would

have a pretty significant impact in a positive way.” Id. at 3499. This is because

enjoining the fine would relieve staffing concerns and allow Supervisor Earley to

keep a small drop box at his office that he would otherwise remove. Id. at 3496. He

also testified that “[f]or the most part,” enjoining the provision barring most drop

boxes outside of early voting hours “would not” affect his operations. Id. at 3496–

97.

      For the solicitation definition, Supervisor Earley remarked that an injunction

would not “have any impact.” Id. at 3499. And for the registration return

requirement, Supervisor Earley testified that it might “tend to impact us a little bit

in an adverse way” but that 3PVROs are important and that “we value that

partnership.” Id. at 3501. Similarly, Supervisor White testified that it would be “just




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. . . more burdensome” for her office if this Court enjoined the registration return

requirement. Id. at 3168.

       In short, then, Supervisors Earley and White explained that, on the whole,

enjoining the challenged provisions would not have undue collateral effects on their

preparation for the 2022 election. Rather, an injunction would improve election

administration in Florida. This Court heard no testimony to the contrary. Thus, this

Court’s injunction—coming roughly five months before the next election—presents

no Purcell issue. 75

       And even if five months were too close, this Court’s injunction would still

meet Justice Kavanaugh’s second test. That test requires the plaintiff to show “(i) the

underlying merits are entirely clear-cut in favor of the plaintiff; (ii) the plaintiff

would suffer irreparable harm absent the injunction; (iii) the plaintiff has not unduly

delayed bringing the complaint to court; and (iv) the changes in question are at least

feasible before the election without significant cost, confusion, or hardship.”

Milligan, 142 S. Ct. at 881 (Kavanaugh, J., concurring).

       On the first factor, Plaintiffs have already succeeded on the merits. On the

second, as explained above, Plaintiffs will suffer irreparable harm absent an




       75
           Contrast this Court’s decision in Namphy discussed above. There, the changes the
plaintiffs sought would be very disruptive, and thus must come at a greater distance from the
election. Milligan, 142 S. Ct. at 881 n.1 (Kavanaugh, J., concurring).

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injunction. On the third factor, Plaintiffs have not delayed, indeed, the League

Plaintiffs sued the same day Governor DeSantis signed SB 90 into law—with the

other Plaintiffs following soon after. See, e.g., ECF No. 1. Finally, an injunction bars

changes, it requires no one to do anything differently from what they did before SB

90 was enacted. Thus, it is feasible to implement an injunction before the next

election without hardship. 76

       In short, under any set of equitable factors that might apply, Plaintiffs are

entitled to a permanent injunction.

                                               XII

       Having determined that a permanent injunction is warranted, this Court next

addresses whether it will stay that injunction pending appeal. Stays pending appeal

are governed by a four-part test: “(1) whether the stay applicant has made a strong

showing that he is likely to succeed on the merits; (2) whether the applicant will be

irreparably injured absent a stay; (3) whether issuance of the stay will substantially

injure the other parties interested in the proceeding; and (4) where the public interest



       76
           Again, contrast this case with Namphy. In Namphy, the plaintiffs introduced little
evidence, and so their likelihood of success on the merits was not clear-cut. 493 F. Supp. 3d at
1145 (weighing the plaintiffs’ scant evidence against that offered by the defendant, “which
paint[ed] a disturbing picture of overworked elections staff, incomplete voter rolls, and election
day mayhem”). On the other hand, the plaintiffs would suffer irreparable harm and had not unduly
delayed. But the changes the plaintiffs requested were not “feasible before the election without
significant cost, confusion, or hardship.” Milligan, 142 S. Ct. at 881 (Kavanaugh, J., concurring).
Thus, as this Court recognized, it faced an “incredibly close call.” Namphy, 494 F. Supp. 3d at
1145. In end, however, the fourth factor proved decisive. Id.
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lies.” Hilton v. Braunskill, 481 U.S. 770, 776 (1987); see also Venues Lines Agency

v. CVG Industria Venezolana De Aluminio, C.A., 210 F.3d 1309, 1313 (11th Cir.

2000) (applying the same test). Because these factors substantially overlap with the

factors this Court applies in deciding whether to grant an injunction, stays pending

appeal “are disfavored and granted only in exceptional circumstances.” Garcia–Mir

v. Meese, 781 F.2d 1450, 1453 (11th Cir. 1986). Here, this Court finds Defendants

are not entitled to a stay of this Court’s injunction. Accordingly, this Court will not

entertain motions to stay. Defendants have every right to appeal, and this Court sees

no reason to delay Defendants in seeking an appeal by requiring them to move to

stay with this Court under Rule 62.

                                         XIII

      On top of injunctive relief, the NAACP and Florida Rising Plaintiffs seek bail-

in relief under section 3(c) of the VRA. ECF No. 45 ¶ 239, in Case No. 4:21cv187;

ECF No. 59 ¶¶ 162–64, in Case No. 4:21cv201.

      Titled “Retention of jurisdiction to prevent commencement of new devices to

deny or abridge the right to vote,” section 3(c) provides additional remedies for

Plaintiffs who have successfully challenged voting restrictions under the Fourteenth

or Fifteenth Amendments. Under section 3(c), if this Court finds that a “political

subdivision” has committed intentional race discrimination in voting, it “shall retain

jurisdiction for such period as it may deem appropriate.” 52 U.S.C. § 10302(c).

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During that period no voting regulations enacted by the guilty political subdivision

will go into effect unless the subdivision preclears them with either this Court or the

Attorney General. Id. After careful consideration, this Court determines that

Plaintiffs are entitled to such relief.

       The parties treat this issue as an afterthought. Defendants devote less than one

page to it; Plaintiffs devote five. But this Court finds that a more expansive

discussion is necessary. This is because preclearance is “strong medicine” and “a

drastic departure from basic principles of federalism.” Shelby Cnty., 570 U.S. at 535.

This Court begins its analysis with section 3(c)’s history, and its place in the VRA’s

broader preclearance scheme.

                                          A

                                           1

       The VRA is an extraordinary solution to an extraordinary problem. Congress

passed the VRA because it “felt itself confronted by an insidious and pervasive evil

which had been perpetuated in certain parts of our country through unremitting and

ingenious defiance of the Constitution.” South Carolina v. Katzenbach, 383 U.S.

301, 309 (1966). Congress also concluded that previous remedies for voting

discrimination had fallen short and “would have to be replaced by sterner and more

elaborate measures in order to satisfy the clear commands of the Fifteenth

Amendment.” Id.

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      Before the VRA, Congress fought racial discrimination in voting by

facilitating “case-by-case litigation against voting discrimination.” Id. at 313. But as

the Supreme Court explained, that approach “proved ineffective for a number of

reasons.” Id. at 314. Drawing on the congressional record, Katzenbach identified

four reasons why a case-by-case approach had failed to get the job done.

      First, “[v]oting suits are unusually onerous to prepare, sometimes requiring

as many as 6,000 man-hours spent combing through . . . records in preparation for

trial.” Id. Second, “[l]itigation ha[d] been exceedingly slow, in part because of the

ample opportunities for delay afforded” defendants in such proceedings. Id. Third,

“[e]ven when favorable decisions [were] finally . . . obtained,” states merely

switched their method of discrimination to evade the court’s ruling. Id.; see also H.R.

Rep. No. 89-439, at 10 (1965) (“Barring one contrivance too often has caused no

change in result, only in methods.”). And fourth, local officials refused to obey

unfavorable court orders. Katzenbach, 383 U.S. at 314.

      Congress’s solution was preclearance. Section 4 of the VRA laid “down a

formula for defining the States and political subdivisions to which” preclearance

applied. Id. at 315. And section 5 set out preclearance itself: “the suspension of all

new voting regulations pending review by federal authorities to determine whether

their use would perpetuate voting discrimination.” Id. at 315–16. Section 4 also

permitted jurisdictions to seek relief from section 5 scrutiny by showing that they

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had not discriminated in the past five years, a process known as “bail[ing] out” of

preclearance. Shelby Cnty., 570 U.S. at 537. These two provisions made up the

preclearance scheme’s backbone.

       But Congress also included section 3(c) as a part of that scheme. Some have

described section 3(c) as “[a] hybrid of sections 2 and 5” of the VRA. Travis Crum,

The Voting Rights Act’s Secret Weapon: Pocket Trigger Litigation and Dynamic

Preclearance, 119 Yale. L. J. 1992, 2006 (2010). As explained above, “section 3

authorizes courts to impose preclearance in response to violations of the Fourteenth

and Fifteenth Amendments.” Id.; see also Pub. L. No. 89-110, § 3(c), 79 Stat. 437,

437–38 (1965). 77 Congress designed section 3(c) “to deal with denials or

abridgments of the right to vote in so-called ‘pockets of discrimination’—that is,

areas outside the States and subdivisions to which the prohibitions of section 4(a)

are in effect.” H.R. Rep. No. 80-439, at 23 (1965). As Congress explained, section

3(c) was intended to supplement sections 4 and 5 “by providing for judicial scrutiny

of new or changed voting requirements, [and] to insure against the erection of new

and onerous discriminatory voting barriers by State or political subdivisions which

had been found to have discriminated.” Id. In other words, just as courts can “bail




       77
         Section 3 does differ from section 5 in that it permits this Court—rather than a three-
judge panel of District Court for the District of Columbia—to preclear election regulations. See
Crum supra, at 2009.
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out” states that have stopped discriminating, they can “bail in” states who have

recently discriminated, but who were not already subject to preclearance.

                                           2

      Not all of the VRA’s preclearance regime remains in effect. In Katzenbach,

the Court found the VRA’s preclearance scheme constitutional. But nearly 50 years

later, the Court invalidated section 4 because, in reenacting section 4, Congress

focused “on decades-old data relevant to decades-old problems, rather than current

data reflecting current needs.” See Shelby Cnty., 570 U.S. at 553. That said, the Court

explicitly declined to pass on the constitutionality of other VRA sections, including

section 3(c). Id. at 557.

      Section 3(c) allows preclearance; in that way, it resembles sections 4 and 5.

But section 3(c) does not raise the same constitutional concerns that animated the

Court in Shelby County. Unlike section 4, section 3(c) does not sort jurisdictions into

categories based on their long-past history of discrimination. While “section 4’s

coverage formula . . . required[] preclearance in jurisdictions with histories of racial

discrimination in voting dating back to the 1960s and 1970s,” section 3(c) “requires

a court to find—or a jurisdiction to admit—a constitutional violation.” Crum supra,

at 2009. Put another way, rather than rely “on decades-old data relevant to decades-

old problems” section 3(c) relies on the most up-to-date data possible. Shelby Cnty.,

570 U.S. at 553.

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       In short, “any ‘disparate geographic coverage’ must be ‘sufficiently related to

the problem that it targets.’ ” Id. at 551 (quoting Nw. Austin Mun. Util. Dist. No. One

v. Holder, 557 U.S. 193, 203 (2009)). Section 3(c) ensures that it is. Thus, Shelby

County presents no bar to relief under section 3(c).

                                               B

       Courts have applied section 3(c) “sparingly.” Crum, supra at 2010. Indeed,

section 3(c) has been “invoked fewer than twenty times in forty-eight years.” See

Edward K. Olds, More Than ‘Rarely-Used: A Post-Shelby Judicial Standard For

Section 3 Preclearance, 117 Colum. L. Rev. 2185, 2188 (2017). 78 There is therefore

a dearth of authority from the Supreme Court and the various circuit courts as to

when relief under section 3(c) is appropriate. See id. (“Section 3 preclearance

garnered little . . . judicial attention from the time it was enacted . . . until the

Supreme Court’s decision in Shelby County v. Holder.”). Even those cases that have

considered section 3(c) offer little guidance. In McCrory, for example, the Fourth

Circuit remarked only that “[s]uch remedies “[are] rarely used” before summarily

declining to grant relief under section 3(c). 831 F.3d at 241. Similarly, in Patino v.

City of Pasadena, the court granted section 3(c) relief after an exhaustive analysis




       78
         This Court, however, has granted section 3(c) relief at least once. See NAACP v. Gadsden
Cnty. Sch. Bd., 589 F. Supp. 953, 958 (N.D. Fla. 1984).
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of the plaintiffs’ claims but devoted no analysis to section 3(c) itself. 230 F. Supp.

3d 667, 730 (S.D. Tex. 2017).

      The only case to devote substantial analysis to section 3(c), Jeffers v. Clinton,

740 F. Supp. 585 (E.D. Ark. 1990), remains the seminal case interpreting the section.

There, a three-judge district court panel imposed a preclearance requirement on

Arkansas after determining that it “ha[d] committed a number of constitutional

violations of the voting rights of black citizens.” Id. at 586. With a few caveats, this

Court finds the Jeffers court’s well-reasoned opinion persuasive, and thus applies the

same analysis here.

      Under Jeffers, courts first ask “whether violations of the Fourteenth or

Fifteenth Amendments justifying equitable relief have occurred within the State.”

Perez v. Abbott, 390 F. Supp. 3d 803, 813 (W.D. Tex. 2019). On this point, Jeffers

explained that “more than one violation must be shown.” 740 F. Supp. at 600. But

there are reasons to doubt this conclusion. For one, it “runs counter to statutorily

mandated rules of construction.” Crum supra, at 2007 n.88; 1 U.S.C. § 1 (“In

determining the meaning of any Act of Congress, unless the context indicates

otherwise . . . words importing the plural include the singular . . . .”). Plus, “any

statute that violates the Fifteenth Amendment necessarily violates countless citizens’

Fifteenth Amendment rights.” Crum supra, at 2007 n.88. At any rate, because this

Court already found that, over the past 20 years, Florida has repeatedly targeted

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Black voters because of their affiliation with the Democratic party, this Court need

not resolve this issue. The first Jeffers factor is met.

         Next, under Jeffers, courts ask whether “the remedy of preclearance should

be imposed.” Perez, 390 F. Supp. 3d at 813. Recall that the statute says that this

Court, upon finding a Fifteenth Amendment violation, “shall retain jurisdiction for

such period as it may deem appropriate.” 52 U.S.C. § 10302(c) (emphasis added).

Jeffers reasoned that the word “shall” in section 3(c) does not strip courts of their

discretion. 740 F. Supp. at 600 (stating that “[i]t is standard doctrine that statutes

stating that courts ‘shall’ grant equitable relief upon the occurrence of a certain state

of affairs are not literally construed”). This Court questions whether courts may so

casually disregard an express directive from Congress. See Kingdomware Techs.,

Inc. v. United States, 579 U.S. 162, 171 (2016) (“Unlike the word ‘may,’ which

implies discretion, the word ‘shall’ usually connotes a requirement.”); Lexecon Inc.

v. Milberg Weiss Bershad Hynes & Lerach, 523 U.S. 26, 35 (1998) (“The . . .

instruction comes in terms of the mandatory ‘shall,’ which normally creates an

obligation impervious to judicial discretion.”). Still, because this Court finds that

equity favors imposing preclearance, it need not decide whether “shall” really means

shall.

         Having determined that courts may exercise discretion in deciding whether to

award 3(c) relief, Jeffers set out a series of non-exhaustive factors to guide that

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discretion. 740 F. Supp. at 601. These factors include (1) whether “the violations

[have] been persistent and repeated,” (2) whether the violations are “recent or distant

in time,” (3) whether preclearance would prevent future violations, (4) whether the

violations have “been remedied by judicial decree or otherwise,” (5) whether the

violations are likely to recur, and (6) whether “political developments, independent

of this litigation, make recurrence more or less likely.” Id.

      On the first and second factors, as detailed above, Florida has repeatedly,

recently, and persistently acted to deny Black Floridians access to the franchise. This

Court also finds that preclearance would prevent future violations. The fourth factor,

however, weighs against imposing preclearance requirements because this Order

remedies the discrimination at issue before this Court. And on the fifth and sixth

factors, this Court finds that violations are likely to recur, because political

developments, if anything, make recurrence more likely. Both the Governor’s

Mansion and the Legislature are controlled by a party that, in the words of its own

expert witness, stands to gain “if voting were to decrease among African-

Americans.” Tr. at 3362.

      This Court also finds guidance in the Supreme Court’s decision in

Katzenbach. See Olds supra, at 2208–12 (arguing that Katzenbach should guide

courts in applying section 3(c)). As explained above, Congress and the Katzenbach

Court identified four problems with enforcing the Fifteenth Amendment on a case-

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by-case basis: (1) litigation is expensive, (2) litigation takes time, (3) jurisdictions

quickly change tactics in the face of unfavorable rulings, and (4) jurisdictions may

disobey unfavorable rulings.

       On the first point, Plaintiffs have challenged SB 90 at great cost—given the

number of lawyers who have appeared here, and the amount of papers filed, this

Court shudders to think how much.79 And, on the second point, despite this Court’s

best efforts, it has taken a year to litigate this case. As to the third point, now that

this case is on the cusp of resolution, Florida is poised to change tack, repealing some

of SB 90’s most obviously unconstitutional provisions and introducing new

regulations on the franchise. SB 524, which is now awaiting Governor DeSantis’s

signature, deletes the registration disclaimer added by SB 90 and challenged in this

case. See Fla. CS for SB 524, § 6 (2022) (proposed amendment to § 97.057(3)(a),

Fla. Stat.). As explained above, the registration disclaimer that SB 524 proposes to

repeal violates the First Amendment. Worse still, the Legislature enacted the

registration disclaimer with the intent to discriminate against Black voters—who

disproportionately rely on 3PVROs.




       79
         In comparison to the great cost of challenging election laws—sometime millions of
dollars—“[t]he average cost of preclearing a voting change is a few hundred dollars.” Crum supra,
at 2016.
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      Having determined that three of the four problems with case-by-case

adjudication discussed in Katzenbach are present here, this Court need not address

the more nuanced, but equally troubling, fourth problem.

      In sum, without preclearance, Florida can pass unconstitutional restrictions

like the registration disclaimer with impunity. Litigation takes time; here, it has taken

a year. And so, before litigation can run its course, the Legislature can merely change

the law—as it has done here. The result is that Floridians have been forced to live

under a law that violates their rights on multiple fronts for over a year. Without

preclearance, Florida could continue to enact such laws, replacing them every

legislative session if courts view them with skepticism. Such a scheme makes a

mockery of the rule of law.

      Under any metric, preclearance is needed.

                                           C

      Having determined that section 3(c) relief is warranted, a final word is in order

about Defendants’ argument—made in passing in a footnote—that section 3(c)

“appears to” violate the Constitution. See ECF No. 648 at 65 n.18. Defendants claim

that section 3(c) is “an improper delegation of authority under Article I, § 4 of the

U.S. Constitution.” Id.

      On this point, this Court’s analysis starts, and ends, with the text: “The Times,

Places and Manner of holding Elections for Senators and Representatives, shall be

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prescribed in each State by the Legislature thereof; but the Congress may at any time

by Law make or alter such Regulations, except as to the Places of chusing Senators.”

U.S. Const. art. I, § 4, cl. 1 (emphasis added).

      The Constitution’s text could not be clearer: Congress gets the final word. This

principle is nearly old as the Union itself. See Martin v. Hunter’s Lessee, 14 U.S. (1

Wheat) 304, 343 (1816) (“It is imperative upon the state legislatures to make laws

prescribing the time, places, and manner of holding elections for senators and

representatives, and for electors of president and vice-president. And in these, as

well as some other cases, congress have a right to revise, amend, or supercede the

laws which may be passed by state legislatures.”). Article I, the Court recognized,

places state legislatures, “in some respects, under the control of congress.” Id. And

Congress has determined that, at times, preclearance is necessary. See 52 U.S.C.

§ 10302(c). Defendants’ argument lacks merit.

                                           D

      So section 3(c) relief is warranted and constitutional. But the question

remains: what does that relief look like? On the one hand, this Court confesses

reticence to order preclearance at all, given the drastic nature of such relief and the

great federalism costs it imposes. On the other hand, section 3(c) represents a direct

command from Congress that Fifteenth Amendment violations warrant preclearance.




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Ultimately, this Court is not at liberty to ignore duly enacted federal law based on its

own discomfort with the outcome.

      But section 3(c) does afford this Court some wiggle room. As many scholars

have recognized, a key advantage of section 3(c) over sections 4 and 5 is that section

3(c) allows courts to order preclearance that is both targeted and limited in duration.

See Olds supra, at 2214; Crum supra, at 2016. And though, based on the evidence

above, a strong argument could be made in favor of requiring Florida to preclear all

changes to its election code, this Court—recognizing that preclearance of any form

is a drastic remedy—finds a more tailored remedy appropriate.

      Pursuant to section 3(c) of the VRA, this Court retains jurisdiction for a period

of ten years following the date this Order is entered. During that time, Florida may

enact no law or regulation governing 3PVROs, 80 drop boxes, or “line warming”

activities81 without submitting such law or regulation for preclearance.

                                                XIV

      On August 28, 1963, Martin Luther King Jr. delivered his famous “I Have a

Dream” speech on the steps of the Lincoln Memorial. In its most memorable

passage, he said, “I have a dream that my four little children will one day live in a

nation where they will not be judged by the color of their skin but by the content of


      80
           As that term is defined in section 97.021(40), Florida Statutes.
      81
           Meaning the non-partisan provision of aid to those waiting in line to vote.
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their character.” Read Martin Luther King Jr.’s “I Have a Dream’ Speech in its

Entirety, NPR (Jan. 14, 2022, 1:53 PM), https://tinyurl.com/5n7j5cuj.

       Many know and celebrate Dr. King’s speech—or at least its second half, given

extemporaneously after Mahalia Jackson called on Dr. King to tell the crowd about

his dream. But most do not know that, only three years later, Dr. King told NBC

News “that dream that I had that day has in many points turned into a nightmare.”

Kirsten West Savali, Martin Luther King Jr: “My Dream Has Turned Into a

Nightmare,” The Root (Jan. 16, 2017, 1:36 PM) https://tinyurl.com/2uxm94h9. As

he explained, Dr. King had “come to see that we have many more difficulties ahead

and some of the old optimism was a little superficial and now it must be tempered

with a solid realism. And I think the realistic fact is that we still have a long, long

way to go . . . .” Id.

       Likewise, while this Court lauds the idealism of Dr. King’s dream in 1963,

this Court is not so naïve to believe that the Florida Legislature would not pass an

intentionally discriminatory law in 2021. We do not live in a colorblind society—

not that this was ever Dr. King’s point. See Tanner Colby, Politicians have Abused

Martin     Luther    King   Jr’s   Dream,      The   Guardian    (Aug.    23,   2013),

https://tinyurl.com/ycksnvpj; Donna Murch, Five Myths About Martin Luther King,

The Washington Post (Jan. 15, 2016); https://tinyurl.com/36shpaez.




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      The evidence bears that out. In Florida, White Floridians outpace Black

Floridians in almost every socioeconomic metric. In Florida, since the end of the

Civil War, politicians have attacked the political rights of Black citizens. In Florida,

though we have come far, “the realistic fact is that we still have a long, long way to

go.” For the past 20 years, the majority in the Florida Legislature has attacked the

voting rights of its Black constituents. They have done so not as, in the words of Dr.

King, “vicious racists, with [the] governor having his lips dripping with the words

of interposition and nullification,” but as part of a cynical effort to suppress turnout

among their opponents’ supporters. That, the law does not permit.

      Accordingly,

      IT IS ORDERED:

1. This Court declares that § 101.69(2), Florida Statutes (2021), as amended by SB

   90, is unconstitutional.

2. This Court declares that § 97.0575(3)(a), Florida Statutes (2021), as amended by

   SB 90, is unconstitutional.

3. This Court declares that the prohibition against “engaging in any activity with the

   intent to influence or effect of influencing a voter” under § 102.031(4)(a)–(b),

   Florida Statutes (2021), as amended by SB 90, is unconstitutional.

4. In Case No. 4:21cv187, Plaintiffs are entitled to no relief under the Americans

   with Disabilities Act on Count III of their amended complaint, ECF No. 45.

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5. In Case No. 4:21cv186, the Clerk shall enter judgment stating:

             This Court hereby DECLARES that the registration disclaimer
      provision described in section 97.0575(3)(a), Florida Statutes (2021),
      as amended by SB 90, violates Plaintiffs’ rights under the First
      Amendment of the United States Constitution. This Court GRANTS
      Plaintiffs’ request for a permanent injunction. Neither Defendant Lee
      nor Defendant Moody, nor their successors in office, deputies, officers,
      employees, agents, nor any person in active participation or concert
      with Defendants Lee and Moody shall enforce, nor permit enforcement
      of, the registration disclaimer provision described in section
      97.0575(3)(a), Florida Statutes (2021), as amended by SB 90.
      Defendants Lee and Moody, and their successors in office, as well as
      their deputies, officers, employees, agents, and any other person in
      active participation and concert with Defendants Lee and Moody shall
      take all practicable measures within the scope of their official authority
      to ensure compliance with the terms of this Order. In addition, this
      Court DECLARES that the prohibition against “engaging in any
      activity with the intent to influence or effect of influencing a voter”
      under § 102.031(4)(a)–(b), Florida Statutes (2021), as amended by SB
      90, violates Plaintiff Scoon and the League Entities’ rights under the
      First and Fourteenth Amendments of the United States Constitution.
      This Court GRANTS Plaintiffs’ request for a permanent injunction.
      Neither Defendant Supervisor of Elections for Bay County, nor his
      successors in office, deputies, officers, employees, agents, nor any
      person in active participation or concert with Defendant Supervisor of
      Elections for Bay County shall enforce, nor permit enforcement of, the
      prohibition against “engaging in any activity with the intent to influence
      or effect of influencing a voter” as described in section 102.031(4)(a)-
      (b), Florida Statutes (2021), as amended by SB 90. Defendant
      Supervisor of Elections for Bay County and his successors in office, as
      well as his deputies, officers, employees, agents, and any other person
      in active participation and concert with Defendant Supervisor of
      Elections for Bay County shall take all practicable measures within the
      scope of their official authority to ensure compliance with the terms of
      this Order.

6. In Case No. 4:21cv187, the Clerk shall enter judgment stating:


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             This Court hereby DECLARES that the drop box provision
      described in section 101.69(2)-(3), Florida Statutes (2021), as amended
      by SB 90, violates Plaintiffs’ rights under the Fourteenth and Fifteenth
      Amendments of the United States Constitution and section 2 of the
      Voting Rights Act. This Court GRANTS Plaintiffs’ request for a
      permanent injunction. Neither Defendant Lee nor the Defendant
      Supervisors of Elections, nor their successors in office, deputies,
      officers, employees, agents, nor any person in active participation or
      concert with Defendants Lee and the Supervisors of Elections shall
      enforce, nor permit enforcement of, the drop box provision described
      in section 101.69(2)-(3), Florida Statutes (2021), as amended by SB 90.
      Defendants Lee and the Supervisors of Elections, and their successors
      in office, as well as their deputies, officers, employees, agents, and any
      other person in active participation and concert with Defendants Lee
      and the Supervisors of Elections shall take all practicable measures
      within the scope of their official authority to ensure compliance with
      the terms of this Order. In addition, this Court DECLARES that the
      prohibition against “engaging in any activity with the intent to influence
      or effect of influencing a voter” under section 102.031(4)(a)–(b),
      Florida Statutes (2021), as amended by SB 90, violates Plaintiffs’ rights
      under the First, Fourteenth, and Fifteenth Amendments of the United
      States Constitution and section 2 of the Voting Rights Act. This Court
      GRANTS Plaintiffs’ request for a permanent injunction. Neither
      Defendant Supervisors of Elections, nor their successors in office,
      deputies, officers, employees, agents, nor any person in active
      participation or concert with Defendant Supervisors of Elections shall
      enforce, nor permit enforcement of, the prohibition against “engaging
      in any activity with the intent to influence or effect of influencing a
      voter” as described in section 102.031(4)(a)-(b), Florida Statutes
      (2021), as amended by SB 90. Defendant Supervisors of Elections and
      their successors in office, as well as their deputies, officers, employees,
      agents, and any other person in active participation and concert with
      Defendant Supervisors of Elections shall take all practicable measures
      within the scope of their official authority to ensure compliance with
      the terms of this Order.

7. In Case No. 4:21cv201, the Clerk shall enter judgment stating:

            This Court hereby DECLARES that the drop box provision
      described in section 101.69(2)-(3), Florida Statutes (2021), as amended
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   by SB 90, violates Plaintiffs’ rights under the Fourteenth and Fifteenth
   Amendments of the United States Constitution and section 2 of the
   Voting Rights Act. This Court GRANTS Plaintiffs’ request for a
   permanent injunction. Neither Defendant Lee nor the Defendant
   Supervisors of Elections, nor their successors in office, deputies,
   officers, employees, agents, nor any person in active participation or
   concert with Defendants Lee and the Supervisors of Elections shall
   enforce, nor permit enforcement of, the drop box provision described
   in section 101.69(2)-(3), Florida Statutes (2021), as amended by SB 90.
   Defendants Lee and the Supervisors of Elections, and their successors
   in office, as well as their deputies, officers, employees, agents, and any
   other person in active participation and concert with Defendants Lee
   and the Supervisors of Elections shall take all practicable measures
   within the scope of their official authority to ensure compliance with
   the terms of this Order. In addition, this Court DECLARES that the
   prohibition against “engaging in any activity with the intent to influence
   or effect of influencing a voter” under section 102.031(4)(a)–(b),
   Florida Statutes (2021), as amended by SB 90, violates Plaintiffs’ rights
   under the First, Fourteenth, and Fifteenth Amendments of the United
   States Constitution and section 2 of the Voting Rights Act. This Court
   GRANTS Plaintiffs’ request for a permanent injunction. Neither
   Defendant Supervisors of Elections, nor their successors in office,
   deputies, officers, employees, agents, nor any person in active
   participation or concert with Defendant Supervisors of Elections shall
   enforce, nor permit enforcement of, the prohibition against “engaging
   in any activity with the intent to influence or effect of influencing a
   voter” as described in section 102.031(4)(a)-(b), Florida Statutes
   (2021), as amended by SB 90. Defendant Supervisors of Elections and
   their successors in office, as well as their deputies, officers, employees,
   agents, and any other person in active participation and concert with
   Defendant Supervisors of Elections shall take all practicable measures
   within the scope of their official authority to ensure compliance with
   the terms of this Order. In addition, this Court DECLARES that the
   registration delivery provision described in section 97.0575(3)(a), Fla.
   Stat. (2021), as amended by SB 90, violates Plaintiffs’ rights under the
   Fourteenth, and Fifteenth Amendments of the United States
   Constitution and section 2 of the Voting Rights Act. This Court
   GRANTS Plaintiffs’ request for a permanent injunction. Neither
   Defendant Lee nor Defendant Moody, nor their successors in office,
   deputies, officers, employees, agents, nor any person in active
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   participation or concert with Defendants Lee and Moody shall enforce,
   nor permit enforcement of, the registration delivery provision described
   in section 97.0575(3)(a), Florida Statutes (2021), as amended by SB 90.
   Defendants Lee and Moody, and their successors in office, as well as
   their deputies, officers, employees, agents, and any other person in
   active participation and concert with Defendants Lee and Moody shall
   take all practicable measures within the scope of their official authority
   to ensure compliance with the terms of this Order. Finally, this Court
   DECLARES that the registration disclaimer provision described in
   section 97.0575(3)(a), Fla. Stat. (2021), as amended by SB 90, violates
   Plaintiffs’ rights under the First Amendment of the United States
   Constitution. This Court GRANTS Plaintiffs’ request for a permanent
   injunction. Neither Defendant Lee nor Defendant Moody, nor their
   successors in office, deputies, officers, employees, agents, nor any
   person in active participation or concert with Defendants Lee and
   Moody shall enforce, nor permit enforcement of, the registration
   disclaimer provision described in section 97.0575(3)(a), Florida
   Statutes (2021), as amended by SB 90. Defendants Lee and Moody, and
   their successors in office, as well as their deputies, officers, employees,
   agents, and any other person in active participation and concert with
   Defendants Lee and Moody shall take all practicable measures within
   the scope of their official authority to ensure compliance with the terms
   of this Order.

8. In Case No. 4:21cv242, the Clerk shall enter judgment stating:

          This Court hereby DECLARES that the registration disclaimer
   provision described in section 97.0575(3)(a), Florida Statutes (2021),
   as amended by SB 90, violates Plaintiffs’ rights under the First
   Amendment of the United States Constitution. This Court GRANTS
   Plaintiffs’ request for a permanent injunction. Neither Defendant Lee
   nor Defendant Moody, nor their successors in office, deputies, officers,
   employees, agents, nor any person in active participation or concert
   with Defendants Lee and Moody shall enforce, nor permit enforcement
   of, the registration disclaimer provision described in section
   97.0575(3)(a), Florida Statutes (2021), as amended by SB 90.
   Defendants Lee and Moody, and their successors in office, as well as
   their deputies, officers, employees, agents, and any other person in
   active participation and concert with Defendants Lee and Moody shall

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   take all practicable measures within the scope of their official authority
   to ensure compliance with the terms of this Order.

9. This Order incorporates all prior rulings in this case on motions to dismiss and

   motions for summary judgment.

10. Pursuant to 52 U.S.C. § 10302(c), this Court retains jurisdiction for a period

   of ten years following the date of this Order. During that time, Florida may

   enact no law or regulation governing 3PVROs, drop boxes, or “line warming”

   activities, as those terms are defined in this Order, without submitting such

   law or regulation for preclearance.

11. This Court also retains jurisdiction in these four cases for purposes of

   determining entitlement to and amount, if any, of attorneys’ fees.

12. The Clerk shall close the file.

   SO ORDERED on March 31, 2022.

                                      s/Mark E. Walker
                                      Chief United States District Judge




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